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                                              Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 1 of 200 PageID #: 2084
                                                 TENNESSEE DEPARTMENT OF CORRECTION
                                             TRANSFER/DISCHA RGE HEALTH SUMMARY

Name of Inmate:         11ffi3:A.x\,_ -                             oCt-Z.                      Inmate Number (TDOC/IDN)-                              D
Inmate DOB:     _ _____,,lo"--'--'---'--'-'-=--..,,,3.,.__ _ _ Sex: ,......ErMale D Female
Current Institution/County/Facility: ----'-                 _.~ ~--- -- - Receiving Institution/County/Facility:
                                                        N_E_O
Reason for Transfer/Discharge: ~~.,__.......,__ _~ - - - - - - - - - - - - - - - - - - - - - - - - - - -
Requires Chronic Illness Monitoring :              o  Requires Mental Health/Psychiatric Monitoring? D Yes . ~ o
                                           HEALTH HISTORY Check(✓) all  conditions present

•    HIV/AIDS                                •     Depression               •        Hernia                     D      Prosthesis (specify)

•    Alcoholism                              •     Diabetes                 •        High Cholesterol           D
                                                                                                                D
                                                                                                                       Rheumatoid Arthritis

•    Anemia                                  •     Emphysema                •        Hypertension                      Stroke

•    Asthma                                  •     Epilepsy                 •        Kidney Disease             D      Suicide AttempVGesture/ldeation

•    Cancer (specify)                        •     Heart Disease            •        Liver Disease              D      Tuberculosis

•    Chemical Dependency                     •     Hepatitis C              •        Multiple Sclerosis         D      Venereal Disease

•    COPD                                    •     Other (specify):

MH Diagnosis(s):                Luc -:r:..
                                                                      MEDICATION ORDERS
                                                                                  LAST DOSE                      MEDICATION            AMOUNTS                    KOP
        NAME OF DRUG                  STRENGTH/ROUTE                 FREQUENCY     DATEfTI~                     SENT(Circle YIN/         SENT                 (Cirde YIN)

                                                                    o<           \                  /'           Yes     No                                  Yes       No
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                                                           'V                    /                               Yes     No                                  Yes       No
                                                  /            ,     /                                           Yes     No                                  Yes       No
                                                                '- ~                                             Yes     No                                  Yes       No
                                                                                                                 Yes     No                                  Yes       No

Brief Summary of Current Problems/Diagnosis(s):                     --'U C _________ _________ ________
                                                                       ~~+..__
Special Instructions (e.g. Allergies, Diet, Impairments, Medical Appointments, etc.):                      -~N~\L~D~f\~------------- -
Referred to Community Resources:                 D Yes .,Qefo            Specify:
                                                                        TB INFORMATION

TB Clearance     ~•    N;   BCG     • Y•   No:     PPD Completed:        {p /~           I f   'f    Results:   tt>m rY)           CXR Completed - - - - ' - - - ' - - - - - - -

Health Authority Clearance:              3             I   18'
                                                                                                                                                       311}18"
                                 Name                                                                                                                       Date
                                                      SPECIAL INSTRUCTIONS/PRECA UTIONS
Inmate is on Suicide Monitoring or Special Mental Health Observation:                D Yes 01ilo                          Dates:
Is Inmate medically  able to travel by BUS, CAR,  or VAN?                                                                 ...ErYes         0 No
Does the inmate require medication during transport?                                                                        •  Yes       ,..B-No
Does the inmate require medical equipment during transport?                                                                 •  Yes         B-No
Does the inmate have communicable disease clearance to travel?                                                            .--ErYes         •No
Is the Transport Officer required to use universal precautions and the use of masks or gloves?                              • Yes          ~o
Conservator:     D Yes (list information below)       ia,r::Jo ( If no, list Emergency Contact)
Name:          J)((:1.()r\e, rY'\ \'oe.O                       Address: -    -       -1.=4---"'f-.---'-- - - - -- -- - - - Phone :                      _ tJ~ t\_ _ __
Report prepared by:               ~                   ~\..U.)\"'(\.,\\I)('
                                     Health Signature/Professiona *ie                                                                               Date

Report prepared by:
                            ~           eotal Health Sigoaloce/Pmfessiooal TIiie (ff app#cable)                                                     Date

Receiving Institution:               L~ignature
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CR-1895 (Rev . 04-17)                                                Duplicate as Needed                                                           RDA '1458




                                                                CCI 000402
Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 2 of 200 PageID #: 2085
                                            TENNESSEE DEPARTMENT OF CORkECTION

                                       CONSENT/ REFUSAL OF INFLUENZA VACCINE


                                                             NECX
                                                          INSTITUTION

 Name:               , ~rs~ 15oAz: . Middle
            Plccva,J~-                                   TOMIS#:      4·15 I) 0                  Date of Birth :   .f. .3
             Last
                                                                                                                      --~.
  O   I agree to rece ive the influenza vaccination at the Tennessee Department of Correction.

 I have received the Vaccine Information Sheet (VIS) from the nurse administering the vaccine and had the op
 ask questions. I attest that I am not allergic to eggs and have not experienced serious side effects in the past to
 receiving the Influenza Vaccine (if allergic to eggs or has experienced serious side effects refer to physician bE.
 administering the vaccine) . I understand the possible side effects of this vaccine. I understand that I may expe1
 side effects symptoms such as soreness/redness at the injection site . I agree that if I experience any of the listEI
 moderate or severe side effects from this vaccine as explained to me, I will seek immediate medical attention fro.
 clinical service staff as soon as possible.


 Date:
                                                                                                    NA
                                    Time:

 Witness:
                                                                                                                             Date




_;g:(1 refuse to receive the Influenza vaccine
I understand that if I do not receive the vaccine, the consequences may include increased risk of: getting sick from the
illness the vaccine could prevent; spreading the disease to others , who could become ill, be hospitalized , or die as a
result; being hospitalized for heart disease, stroke, and pneumonia . I also acknowledge that the Influenza vaccine will be
made available to me in the future by utilizing the institution' sick call procedure.


Date:      _1_0!\
               _~_2_0_
                     17_ _ _ _ Time :       03oo
Witness :
              ~0Bm~ - - -~                                                  Professional Title
                                                                                                                    1.0_: 13-/'1
                                                                                                                            Date


Witness:    ~ rt /I A O I - ~OJ.,LDJ\,ol ~
                         ,4                              - - - -5-'i _d _ne_y_ B_a_lla_r_d_, _N_P_-c_·_ __           /0- /3-11
            ~~                                                              Professional Title                              Date




CR -3894                                             Dupli cate as Needed                                                   RDA 1458




                                                                      CCI 000403
      Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 3 of 200 PageID #: 2086
                                           TENNESSEE DEPARTMENT OF CORRECTION
                                                     HEALTH SERVICES
                                                  REFUSAL OF MEDICAL SERVICES


                         INSTITUTION


                                                 '1 Ii i?] 20 n
                                                          Date                                             Time   O(i ?0 AM/PM
  This is to cemfy thatl      Be       OcaV/,t- ~ '0oa:z._..
                                                         (Inmate's   amel
                                                                                                           4' 7 3 / /(J
                                                                                                              (TDOC Number)
  have been advised that I have been scheduled for the following medical services and/or have been advised to have

  the following evaluations, treatment, or surgical/other procedures:

                              U}J)$- C~ . I                          CM~      f L-<J, llA-          I ()   DS


           I am refusing the above listed medical services against the advice of the attending physician and/or the
  Health Services staff. I acknowledge that I have been informed of the risks involved by my refusal and hereby
  release the State of Tennessee, Department of Correction, and their employees from all responsibility for any ill
  effects which may be experienced as a result of this refusal. I also acknowledge this medical service may not be
  made readily available to me in the future unless an attending physician certifies my medical problem as a medical
  emergency. ~


  Signed: K
          /7
                   ~~                  nmate)        /
                                                                                  4?3Jl-O                          7-/q-/1
                                                                                   (TDOC number)                      (Date)




  Witness~~
                                                                                       (Title)
                                                                                                                  1-,~~,1
                                                                                                                      (Date)



  Witness : _    ___,,_J
                                     ~
                                      ,'t-
                                        -+ ~-------
                    __~ L--= - - --"'''-1-'---=
                                                                                       (Title)
                                                                                                                  7-/q -
                                                                                                                      (Date)

               The above information has been read and explained to,


                                                                              _ _ _ _ _ _ _ ___ but has refused to sign
                             (Inmate's Name)                                       (TDOC number)
  the form .



  Witness: _ _ _ __ _ _ _ _ _ _ _ _ _ _ __
                      (Signature)                                                      (Title)                        (Date)


  Witness: _ _ _ _ _ __ _ _ _ _ _ _ _ _ __
                      (Signature)                                                      (Title)                        (Date)




      CR-1984 (Rev. 4-00)                          Original - Health Record         Canary - File                    RDA 1458



                                                                CCI 000404
Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 4 of 200 PageID #: 2087
                                   1{t~il~)]          TENNESSEE DEPARTMEN T OF CORRECTIO N
                                    ·\;z,,;~¥
                                       •.-,..~_,:.,
                                                             HEALTH QUESTIONN AIRE


       INMATE NAME-=i=lmsant--beg I:Et;a..:z_                                              TD0C NUMBER   Y7:3UO        DOB (p-lt-g,-

       RECEIVING INSTITUTION· 't-JEY X.                                                     DATE ·     1171 J~-
                                                                                                   --"---'-- 7 -- TIME     :~ <!E¥'
       INITIAL INTAKE                                 TEMPORARY TRANSFER :                 _ __ _ _       PERMANENT TRANSFER:   V
                                                                                                                              ------
  INQUIRE:

      1.
      2
             Do you have any barriers to learning?

             Do you speak/read English?                Speak:
                                                                     l\b
                                                                     ovyon
                                                                     rn,,<{es       O No
                                                                                                      • ieading
                                                                                                      Read:   ~s
                                                                                                                        •
                                                                                                                        "writing

                                                                                                                        D   No
      3.     Have you ever had a positive TB \es\?               •    Yes       ~               If yes, describe            NA
      4     Are you being treated for any illness or health problem (including dental, venereal disease, or other infectious
                                                                                                                             diseases)?
              0     Yes         o/ No                   If yes, describe;              '
                                                                                        - ---'--"--A-- - -- - -- - - - - - - - -- - - -
     5.     Do you have any ph}1sical, menta! or dental complaints at this time?                  D '(es           No
            If yes, describe:
     6      Are you currently taking any medication(s)?                         0   Yes         No
            If yes, was the medication transferred with the inmate?                     rj\es     f1~o
            If yes, describe (what used, how much, how often, date of last use, and any problems)


     7      Have you recently or in the past. used alcohol or other drugs, including,,pres cription drugs?              D   Yes        No
     8.     Have you ever been hospitalized for using alcohol or other drugs, ;;eluding prescription drugs?
            If yes, when?
                                                                                                                                   •   Yes

     q
                                                                                     !f ve~. describe


            (For women)
     10.    a) LMP                                                                         Number of months

                                                                                           Date
                                                                OYes            0   No
                                                                 D Yes          0   No
     11      Screening fo1· MRSA Infections·

             a) Do you have any lesions, sores or insect bites? D Yes ~ o
             If so, do you have any open/draining lesions, sores, or insect bites?                D   Yes
             If 'f'!S whF;re Bn:: these lesions·>      ,   ~A.                                        - - - - - - --------·- - - ----
OBSEl'.;(VE :

  1.       13e h- 1or (inciuding stale of awareness , menial status, appearance, conduct, tremor and sweating):
                             0   Abnormal                  If abnormal , describe:          NY
 2         Skin Assessme_;)Yffl1c/11dmg needle marks, trauma markings, bruises. lesions, jaundice, rashes, tattoos,
                                                                                                                    and infestation(s)
                      10'No
           OYes
            If yes , describe    ___,_______
                                       ~    _________________________________
 3         Is there evidence of Abuse or Trauma?                OYes                0



                                                                                Page 1 of 2
rn-2178 (Rev. 09-16)                                                        Duplicate as Needed                                              RDA 1100


                                                                     CCI 000405
     Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 5 of 200 PageID #: 2088
                                     A
                                     w                       TENNE SSEE DEPAR TMEN T OF CORRECTION
                                                         TRAN SFER /DISC HARG E HEAL TH SUMM ARY
     Name of Inmate :                j   l~'i'>W -           Bo1.1        1
                                                                              'R0t?'L-
                                                                                    Inmate Numbe r (TD0C/ IDN):
     Inmate DOB:          ~ - 18       ·8~
     Curren t Instituti on/Cou nty/Fac ility:
                                                               r:CCV- Sex:,ljoMal e O Female
                                                         _ _ v~l ,--_
                                                                    A_ __ _ __ Receiving Institution/Cou
     Reason for Transfe r/Disch arge:
                                                                                                         nty/Facility                          JJEC.X
                                                                                                                                               I

     Require s Chronic Illness Monitoring:                                 No   Requires Mental Health/Psychiatric Monitoring?
                                                    HEALTH HISTO RY Check(✓) all conditions pre~en
                                                                                                                                   Yes       ONo   •
                                                                                                                    t
   O HIV/AID S                    O Depression                                O Hernia
   0 Alcoholism                                                                                         0 Prosthesis /specify)
                                  O Diabetes                                  O High Cholesterol
   0 Anemia                       O Emphysema                                 O Hypertension                          •
                                                                                                              Rheumatoid Arthritis
   D Asthma                       O Epilepsy                                  O Kidney Disease
                                                                                                              Stroke  •
   0 Cancer (specify! _ _ _ _ _ _      Heart Disease     •                    O Liver Disease                         •
                                                                                                              Suicide Attempt/Gesture/Ideation

   0 Chemic al Depend ency        O Hepatitis C                               O Multiple Sclerosis                    •
                                                                                                             Tuberculosis
                                                                                                        D Venereal Disease
   0 C0PD                         O ___::_
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                                                        {s"""p"-
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                                                                                                                      __ _ _ _ _ _ _ _ __
   MH Diagno sis(s):

                                                                                  MEDIC ATION ORDERS

           NAME OF DRUG                                                                           LAST DOSE           MEDICATION           AMOUNTS

                  --
                                             STRENG TH/ROU TE                     FREQUENCY        DATEfTIME                                                      KOP
                                                                                                                   SENT(Ci n:la YINJ         SENT            (Circle YIN)
                                 /                                                                                    Yes   No
            /            )
                                                                                                                      Yes   No
                                                                                                                                                            Yes     No
           /    / I                                                                                                   Yes
                                                                                                                                                            Yes    No
                   r                                                                                                        No
          I   /                                                                                                                                             Yes    No
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                                                                                                                                                            Yes
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                                                                                                                                                                   No
        /                                                                                                                                                  Yos     No
                                                                                                                      Yes   No                             Yes     No
                                                                              .                                    Ye&      No                             Yes     No       I

  Brief Summa ry of Curren t Problem s/Diagn osis(s):

  Specia l Instructions (e.g. Allergies, Diet, Impairments,
                                                            Medical Appoin1ments, etc.):                   _A..,/...ll~\) t\~-- ---- - - - -- - - -
  Referre d to Commu nity Resources:                     0   Yes     }7JNo          Specify:
                                                                                   TB INFORMATION
 TB Clearance   '/J Y D N;       BCG     D Y ~ No;           PPO Completed;         "1 ,. I LI I l '")                                 Cli:R Complete d ,_
                                                                                                                                                        . -----'----
 Health Author ity Clearance:                (.          113       I I)


                                     Name                                                                  Tille                                          Date
                                                               SPECIAL JNSTRUCJIQNS/PRECAUJIQNS
 Inmate Is on Suicide Monito ring or Specla l'Menta
                                                         l Health Observ ation:  D Yoa        No Dates:         1)g
 Is Inmate medica lly able to travel by BUS, CAR,
Does the inmate require medica tion duri~ transpo
                                                    or VAN?
                                                                                                  i&1Yes      No.                          •
                                                                                                                            ••
                                                      rt?
Does the Inmate require medica l equipm ent during
                                                       transport?
                                                                                                     Yes   ~No'
Does the inmate have commu nicable disease clearan                                                   Yes   SNo
                                                          ce lo travel?                          ,ll9Yes
Is the Transp ort Officer required to use universal
                                                    precautions and the use of masks or gloves?
                                                                                                           0No
                                                                                                 "gYes     0No
Conservator:       0 Yes j&No
Name: _ _ _ _ _ _ _ _ _ _ _ _ _ Address
                                                            : ________________
                                                                                                        _ _ Phone: _ _ _ _ __
Report prepared by:
                                             Yltbo Hcl< i?-J
                                         Health Signaturo/Professlonal lille                                                       '7- /fo-) 2
                                                                                                                                                   Date
Report prepared by:


Receiv ing Institution:
                                                                                                                                  ,J;              Date
                                                                                                                                 ~1 /17        Date
CR-18~ (Rev. 07-16)
                                                                          Duplicate as Needed
                                                                                                                                               RDA 1458




                                                                 CCI 000406
 Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 6 of 200 PageID #: 2089
                                                 A,
                                                 w             TENNESSEE DEPA RTME NT OF CORRECTIO
                                                                      HEAL TH QUES TIONN AIRE
                                                                                                   N


            INMATE NAME: ~                 \   (,Q~an.±"j\2,cu I ~                                     TDOC NUMBER           413 tl O                DOB   lo/18/<!33
                                                                              \
            RECEIVING INSTITUTION:                      Ml....,--F,-
                                                      ...__--=. C'f, - - --          -----              DATE:    _ J_.___t_
                                                                                                                          l 'f--=-1_Q
                                                                                                                                    ___._ _ _   TIME: _ _ _ a.m./p.m .
            INITIAL INTAKE:                                    TEMPORARY TRAN SFER : _ _ _ __
                                                                                                                              PERMANENT TRANSFER: _ _ _ __
       INQU IRE:




        3..
            1.
           2.
                      Do you have any barriers to learning?
                      Do you speak/read English?
                      Have you ever had a positive TB test?
                                                                Speak :
                                                                          0
                                                                              0
                                                                              ~0 ~
                                                                               Yes
                                                                                  Vision


                                                                                        B1To
                                                                                              • ,Hearing         O Reading
                                                                                                                 Read:   r:t'Yes No
                                                                                                                                   •
                                                                                                                                       -
                                                                                                                                       Writing
                                                                                                                                       •
                                                                                                         If yes, describe _ _ _ _ _ _ _ _ _ _ _
                                                                                                                                                _ _ __

        4.            Are you being treated for any illness or health proble
                                                                             m (including dental, venereal disease, or other
                       0      Yes        ~                       If yes, describe: _ _ _ _ _ _ _ _ _ _
                                                                                                                             infectious diseases)?
                                                                                                                  _ _ _ _ _ _ _ _ _ _ _ __

       5.            Do you have any physical, mental or dental compl
                                                                      aints at this time?                    0   Yes     ~
                     If yes, describe:
       6.            Are you currently taking any medication(s)?
                     If yes, was the medication transferred with the
                                                                                       •   Yes        ~
                                                                     inmate?                  0   Yes     O No
                     If yes, describe (what used, how much, how often,
                                                                        date             of last use, and any problems)

       7.            Have you recently or in the past, used alcohol or
                                                                       other drugs, including prescription drugs? 0
                                                                                                                       Yes
       8.            Have you ever'been h~spitalized for using alcoho
                                                                       l or othe1cfr~~s. ih~luding prescription drugs?
                     If yes, when?
                                                                                                                                                 0   Y~;--~

      9.          Do you have any allergies?               •   Yes                         If yes, describe: _ _ _ _ _ _ _ _ _ _
                                                                                                                                 _ _ _ _ _ __                       _

                  (For women)

                                                                     • Yes             O No           Number of months _ _ __
                  c) Have yo:nui7l!ter'ltl¥..d.e.fu
                                                                     • Yes             O No           Date: _ _ _ _ _ _ _ _ _ _ __ __
                 d) Are you on birth control pills?
                  e) Any gynecological problems?
   11 .              Screening for MRSA Infections:
                                                                                   ~ /
                     a) Do you have any lesions, sores or insect bites?
                                                                         D Yes IE'No
                     If so, do you have any open/draining lesions, sores,
                     If yes, where are these lesions?
                                                                          or insect bites?               0   Yes·        •   No

 OBS E RVE:

  1.             Behavior (including state of awareness, mental
                                                                status~ appearance, conduct, tremor and sweati
                                                                                                               ng):
                 ~rrn al         O Abnormal           If abnonnal, describe: _ _ _ _ _ _ _ _
                                                                                                     _ _ _ _ _ _ _ _ _ _ _ _ _ __

  2.             Skin Assessment j!Pefuding needle marks, trauma
                                                                 markings, bruises, lesions, jaundice, rashes, tattoos
                 • Yes     [9-1fo
                                                                                                                      , and infestation(s)

                  If yes, describe:


 3.             Is there evidence of Abuse or Trauma?                •   Yes       ~              -

                                                                                      Page 1 of 2
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                                                                                  Duplicate as Needed
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                                                                            CCI 000407
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                                                            .




                               ,~1~, T;:~~:::~i ;;::N;E:L~~R:i~:~~y
                                                        ;

                                                                                                                            (




                                ·'<l<ls>~ame of Inmate,                     (j/ 1~ k                                        .i~lnm ate N"mbe, (TDOC/ION),4 6 / / l )
_ _ _ _ _ __ _ _ Sex:           KMale          O Female                                                      --;J'
                                ~     -            Current Institution/County/Facility:
                                                   Reason for Trans(er/Discharge:
       Requires Chronic Illness Monitoring·                     O Yes             No   Requires Mental Health/Psychiatric Monitoring?
                                                                      HEA        H HISTORY        Check(✓) all conditions present
      O     HIV/AIDS                                O           Depression             O       Hernia                   O       Prosthesis (specify)
      D     Alcoholism                              D           Diabetes               D       High Cholesterol         O       Rheumatoid Arthritis
      0     Anemia                                  O           Emphysema              O       Hypertension             O       Stroke
      0     Asthma                                  O           Epilepsy               O       Kidney Disease           O       Suicide Attempt/Ges ture/Ideation
      0     Cancer (specify) _ _ _ _ _ _            0           Heart Disease          O       Liver Disease            O       Tuberculosis
      0     Chemical Dependency                     D           Hepatitis C            O       Multiple Sclerosis       O       Venereal Disease
      0     COPD                                    O           Other (specify):
      MH Diagnosis(s):       -=-/..-~-=-../. ____ ____ ___ ___ ___ ____ __ ___ _______ _
                                                                                 MEDICATION ORDERS

  I                                                                                                                  MEDICATION I
           NAME OF DRUG             I     STRENGTH/R OUTE              I   FREQUENCY       I    LAST DOSE
                                                                                                 DATE/TIME        I SENT Circle   YIN)
                                                                                                                                                AMOUNTS
                                                                                                                                                  SENT        I t:V,M I
                                                                                                                                Yes        No                         Yes   No
                                                                                                                        '       Yes        No                         Yes   No
                                                                                                                                Yes        No                         Yes   No
                                                                                                                                Yes        No                         Yes   No
                                                                                                                                Yes        No                         Yes   No
                                                                                                                                Yes        No                         Yes   No
                                                                                                                                Yes        No                         Yes   No
                                                                                                                                Yes        No                         Yes   No
      Brief Summary of Current Problems/Dia gnosis(s):

      Special Instructions (e.g . Allergies, Diet, lmpainnents, Medical Appointment s, etc.):

      Referred to Community Resources:               0          Yes    D    No     Specify:
                                                                                  TB IN FORMATION
      T8 Clearanc.e   O YON;    BCG

      Health Authority Clearance:
                                          O YO No;

                                             (I>     t~ fjr/7
                                                                PPO Compleled:     4 4, /7
                                                                                       I                   R<!Sults:   -fL------                CXR Completed - - ~ ~ --    -




                                    Name                                                    Title                                                                  Date
                                                     SPECIAL INSTRUCTIO NS/PRECAUT IONS
      Inmate is on Suicide Monitoring or Special Mental Health Observation :          D Yes ktNo                                        tes:
      Is Inmate medically able to travel by BUS, CAR, or VAN?
      Does the inm ate require medication during transport?
      Does the Inmate require medical equipment during transport?
      Does the inmate have communicab le disease clearance to travel?
                                                                                                                                      i•  Yes
                                                                                                                                         Yes
                                                                                                                                          Yes
                                                                                                                                      At'Yes
      Is the Transport Officer required to use universal precautions and the use of masks or gloves?
                                                                                                                                      ITYes
       Conservator:     0 Yes ~No
      Name: - - - - - - - - - - - n " f ' - - - - - Address:                      - -----=- - - - - - - - - - - - - - - -                               Phone: _..,,..._ _ _ __
      Reportprep aredby:                    ~ //~/4 . · /
                                           l~ a11itfu c:::=57
                                                                                                 ( ./                                               7//ft-
                                                                                                                                                    7r
                                                                                                                                                             /lZ
                                                                                                                                                        "'Dlte
      Report prepared by:

                                                                                                                                                    /       Oate
      Receiving Institution :
                                                                                                                                                7       /fflJ
                                                                                                                                                            Date

      CR-1895 (Rev. 07-1G)                                                  Duplicate as Need ed                                                           RDA 1458




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  ,·-..D                              ;~f~,.'~~;J     TEI~! '"SS[E D     /,RTIV1HH Of= COF<RECTI0N
~~v\                                   ~/f;,;:}_::V             HEA L 7 H 0UESTI0lmAll~E


    INIV,tJINAIJEQl.t~__:%)                                             ~%                      lDOCNIJMBER                 l.f1311Q~~             DOB~

    RECEIVl!-~G ll~STl1UTION:                 w \.S~ L--                                          DATI::·        ~         ra, \1             TIME       \2,      a.1,- 6)
     INITIAL INTAKE:                                   TEMPORARY TRANSFER: ___                          V
                                                                                                        ___                    PERMANENT TRANSr=ER:

   INQUIRE:

     1.           Do you have any barriers lo learning?                • Vision        0   Hearing               D       Reading       D Writing
     2.           Do you speak/read English?               Speak:~                 0    No                   Read:~                      •   No
     3 ..         Have you ever had a positive TB test?            0    Yes   ~                        If yes. describe


     -4.          Are you being treated for any illness or health problem (including dental, venereal disease, or other infectious diseases)?
                    D       Yes y N o                             lfyes,describe: _ __ __ _ _ _ _ __ _ _ _ _ __ _ _ _ _ __ _


     5.           Do you have any physical, mental or dental complaints at this time?                        0    Yes ftNo
                  If yes, describe:
     6.           Are you currently taking any medication(s)?                     • Yes              ~
                  If yes, was the medication transferred with the inmate?                  0     Yes         O      No
                   If yes, describe (what used, how much, how often, date of last use, and any problems)


      7.           Have you recently or in the past. used alcohol or other drugs, including prescription drugs? 0 Yes                              ~
      8.           Have you ever been hospitalized for using alcohol or other drugs, including prescription drugs?                                   •   Yes   )2t'No
                   If yes, when?

       9.          Do you have any allergies?              •   Yes ~                       tf yes, describe: _ __ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _



                   (For women)
                   a)LMP _ _                                                               0           Number of mon
                   c) Have you recently deli
                   d) Are                 control pills?               • Yes       ONo
                    e) Any gynecological problems?                     • Yes       ONo
           11 .      Screening for MRSA Infections:
                      a) Do you have any lesions, sores or insect bites?          0    Ye~
                      If so·, do you have any open/draining lesions, sores, or insect bites?                      0      Yes       •   No
                      If yes, where are these lesions?

      OBSERVE:

            1.      Behavior (including state of awareness, mental status, appearance, conduct, tremor and sweating):

                 -~ & m al            O Abnormal                 If abnormal, describe:


            2.      Skin Assessment (including needle marks, trauma markings, bruises, lesions, jaundice, rashes, tattoos, and infeslation(s)

                    OYes      ~
                      If yes. describe:


            3.                , v1dence of Abuse ~1: . • • •             []Yes     y ~
                                                                                                ..
           CR-2'11, ,
                                                                                           [·
                                                                                      Oup:i; ~'        . '       , •.J                                            ,~,v


                                                                              CCI 000409
              Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 9 of 200 PageID #: 2092
                                          li~~~t··j       TEN,       _.::;SEE DEPNnl\/lENT OF CORRECTIOh!

N~l{                                       -~'?';°;:::Y                    HEALTH QUESTIONNAIRE



1Nlv1ATE NAME:                  - -~---"l-'"e=ac.:. .s=a.=n~±..___--_..,,,b:-:e=-'j-l---'8=-=-._    TDOC NUMBER
                                                                                                                                     lf13J)()
RECEIVING INSTITUTION                                               \V--CSP                             DATE :     ~-,,,8,
                                                                                                                  --  ---  ( /- - -             TIME:

INITIAL INTAKE:                                              TEMPORARY TRANSFER:                       "'----
                                                                                                    --'✓                             PERMANENT TRANSFER:
                                                                                                                                                           - - -- --
INOUIR                 :

 1.          Do yo, ha,e aoy ba"ie,s to leamiog ? ~ o o                                     O Heariog               0     ReadingO Writing
 2.           Do you speak/read English?                        Spe<1k:       0Yes         O No                    Read:        ~ 0No
 3 ..           Have you ever had a positive TB test?                     •   Yes       ~                     If yes, describe _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


 4.             Are you being treated for any illness or health problem (including dental, venereal disease, or other infectious diseases)?
                  0          Yes          ~    No                         lfyes,describe: _ _ _ _ __ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


  5.             Do you have any physical, mental or dental complaints at this time?                              0    Yes           No
                 If yes, describe:
  6.             Are you currently taking any medication(s)?                              0   Yes
                 If yes, was the medication transferred with the inmate?                           0    Yes
                 If yes, describe (what used, how mtJch, how often, date of last use, and any problems)


   7.            Have you recently or in the past, used alcohol or other drugs, including prescription drugs?                               0   Yes

      8.         Have you ever been hospitalized for using alcohol or other drugs, including prescription drugs?                                        • Yes ~
                  If yes, when?

      9.          Do you have any allergies?                  •    Yes        ~                    If yes. describe:


                  (For women)
      10.         a) LMP _ _ b) Are you pregnant?                             • Yes •              No         Number of months _ _ __

                                             tw-1~'1efed?                     • Yes                           Date: _ _ _ _ _ _ _ _ _ _ _ _ _ __




        11 .
                      a) Do you have any lesions, sores or insect bites?
                      If so: do you have any open/draining lesions, sores, or insect bites?                             0      Yes
                      If yes, where are these lesions?

      OBSERVE:

           1.      Beha~(including state of awareness, mental status, appearance, conduct, tremor and sweating):
                   ~rmal                    D Abnormal                    If abnormal, describe:


           2.                                   including needle marks, trauma markings, bruises, lesions, jaundice, rashes, tattoos, and infestation(s)
                    • Yes
                           If yes, describe:


            3.        '~- ·,here evicic11. c :·,i Abuse ~11 I! ,,uma?


                                                                                                   JO,,:-.,· 'i o! 7
           cr,.7·,7,; ,; .c"    QS-ir,)                                                        Dup:ir :/ ·: ', l~,,<•ci,:-,,



                                                                        CCI 000410
        Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 10 of 200 PageID #: 2093
                                                        TENNESSEE DEPARTMENT OF CORRECTION
                             ·.,~                   TRANSFER/DISCHARGE HEAL TH SUMMARY
                              ··~·,i
   Name of Inmate:                  · · ea5ClJ1.;I- - &tj)              Bro.-z..                     Inmate Number (TDOC/IDN):                              4"1'3110
   Inmate DOB:          le) / 5{ / E, 3                                   Sex:     -El1v'lale  D Female
   Current Institution/County/Facility:                 N €&                                Receiving Institution/County/Facility:

   Reason for Transfer/Discharge:             __r--O).,l(  L_Y2'f=..!._~=--- ------------- ----==-----::----
                                                    ~~t!___-.~
   Requires Chronic Illness Monitoring:                     D Yes        B"f\fo        Requires Mental Health/Psychiatric Monitoring?                                0   Yes      _Q-lqo
                                                                  HEALTH HISTORY                  Che-ck(✓) all conditions present

  0    HIV/AIDS                                     0       Depression             D           Hernia                      O          Prosthesis (specify)
  D    Alcoholism                                   D       Diabetes               O           High Cholesterol            O          Rheumatoid Arthritis
  D    Anemia                                       O       Emphysema              O           Hypertension                D          Stroke

  •    Asthma                                       O       Epilepsy               O           Kidney Disease              O          Suicide AttempVGesture/ldeation

  •    Cancer (specify) _ _ _ _ _ _                 0       Heart Disease          O           Liver Disease               D          Tuberculosis

  •    Chemical Dependency                          O       Hepatitis C            O           Multiple Sclerosis          O          Venereal Disease

  •    COPD                                         O       Other (specify):

   MH Diagnosis(s):
                                                                             MEDICATION ORDERS
                                                                                                    LAST DOSE                  MEDICATION                      AMOUNTS                 KOP
          NAME OF DRUG                      STRENGTH/ROUTE                FREQUENCY                 DATE/TIME                 SENT(Cirde YIN)                    SENT               (Circle YIN)

                                                                                                                              Yes          No                                     Yes      No
                                                            r
                                                    I
                                                    I
                                                        /
                                                                          ~
                                                                                 ~
                                                                                       ~
                                                                                           \
                                                                                                   ----                       Yes
                                                                                                                              Yes
                                                                                                                              Yes
                                                                                                                                           No
                                                                                                                                           No
                                                                                                                                           No
                                                                                                                                                                                  Yes
                                                                                                                                                                                  Yes
                                                                                                                                                                                  Yes
                                                                                                                                                                                           No
                                                                                                                                                                                           No
                                                                                                                                                                                           No
                                                                  ./                       I                                   Yes         No                                     Yes      No
                                                         _/                                I                                   Yes         No                                     Yes      No

                                         ,_
                                              ./\                                  /                                           Yes         No                                     Yes      No

                                                        "- .....____..       /                                                 Yes         No                                     Yes      No

  Brief Summary of Current Problems/Diagnosis(s):

  Special Instructions (e.g. Allergies, Diet, lmpainnents, Medical Appointments, etc.):
  Referred to Community Resources:                      D   Yes     O    No      Specify:
                                                                                 TB INFORMATION

  TB Clearance   D   YD N;      BCG     D   YO No;          PPD Completed:       lR    I       &I I7       Results:    --F-¢:::..<.fY'..:....:..:...fYI~-   CXR Completed - - - ' - -'---          -

  Health Authority Clearance:                 lei       /~~       / It
      ~~cc CL r3J Wl'>'t.$                                                                                                                                                 l.//;>, /n
                                      Name                                                                            Title                                                       Date
                                                 SPECIAL INSTRUCTIONS/PRECAUTIONS
  Inmate is on Suicide Monitoring or Special Mental Health Observation:           O Yes ~ o                                                 Dates:
  Is Inmate medically able to travel by BUS, CAR, or VAN?                                                                                   ---rjYes             •   No
  Does the inmate require medication during transport?                                                                                       •   Yes            --e'.rNo
  Does the inmate require medical equipment during transport?                                                                                •   Yes             B-No
  Does the inmate have communicable disease clearance to travel?
  Is the Transport Officer required to use universal precautions and the use of masks or gloves?
                                                                                                                                            -a-Yes
                                                                                                                                             • Yes                • No
                                                                                                                                                                 .Q-No
  Conservator:        0   Yes ---r:::fNo
  Name;

  Report prepared by:
                                         Health Signature/Professional Title                                                                                               Date

  Report prepared by:
                                                                                                                                                                         Date

  Receiving Institution:
                                                                                                                                                                         Date

  CR-1895 (Rev. 07-16)                                                   Duplicate as Needed                                                                             RDA 1458




                                                                CCI 000411
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                                      TENNESSEE DEPARTMENT OF CORRECTION
                                                HEALTH SERVICES
                                             REFUSAL OF MEDICAL SERVICES


                        INSTITUTION


                                                       Date _ _ _ __ _ 20                        Time _ _ _ _ AM/PM


   This Is to certtty thal I   '"j)\ W...'ia.n±- ~mate'sJ Name)
                                                          kz..                                   l/13  ll 0
                                                                                                    (TDOC Number)
   have been advised that I have been scheduled for the following medical services and/or have been advised to have

   the following evaluations, treatment, or surgical/other,-rocedures:

          Rtf'ww P..ecw fXAlYl                              tD ~       Pny, uJ.,

            I am refusing the above listed medical services against the advice of the attending physician and/or the
   Health Services staff. I acknowledge that I have been informed of the risks involved by my refusal and hereby
   release the State of Tennessee, Department of Correction, and their employees from all responsibility for any ill
   effects which may be experienced as a result of this refusal. I also acknowledge this medical service may not be
   made readily available to me in the future unless an attending physician certifies my medical problem as a medical




   ::::~ ------~ ::>                                                       4731/Q,
                                                                                (TDOC nuttr)



   Wltnes;,, 0~~ ;f)c_
                                                                     Sidney Ballard, NP·C
                                                                                                     vQ3-l1
                                    1gnature)                                       (Title)                 (Date)




                                                                                    (Title)
                                                                                                       l o-a~/7
                                                                                                            (Date)




                                                                           _ _ _ _ _ _ _ _ _ _ but has refused to sign
                           (Inmate's Name)                                      (TDOC number)
   the form .



   Witness: _ _ _ _ _ _ _ __ _ _ _ _ _ _ __
                       (Signature)                                                  (Title)                 (Date)


   Witness : _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                  (Signature)                                       (Title)                 (Date)




       CR-1984 (Rev. 4-00)                      Original - Health Record         Canary - File             RDA 1458


                                                                CCI 000412
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                                           TENNESSEE DEPARTMENT OF CORRECTION

                                     CONSENT/ REFUSAL OF INFLUENZA VACCINE



                                                       JNSTITUTtN

Name:      Pje,asqJf--~J '30A~                .        TOMIS#:      -4 731 I Q                  Date ofBirth :   b / LY{ )I 5
           Last                             Middle

b   I agree to receive the influenza vaccination at the Tennessee Department of Correction .

I have received the Vaccine Information Sheet (VIS) from the nurse administering the vaccine and had the opportunity to
ask questions. I attest that I am not allergic to eggs and have not experienced serious side effects in the past after
receiving the Influenza Vaccine (if allergic to eggs or has experienced serious side effects refer to physician before
administering the vaccine). I understand the possible side effects of this vaccine. I understand that I may experience mild
side effects symptoms such as soreness/redness at the injection site. I agree that if I experience any of the listed mild,
moderate or severe side effects from this vaccine as explained to me, I will seek immediate medical attention from the
clinical service staff as soon as possible.


Date:                             Time :
          - - -- - - - --
                                                                                            (Signature of Patient)
Witness:
                                                                           Professional Title                          Date




~ I refuse to receive the Influenza vaccine

I understand that if I do not receive the vaccine, the consequences may include increased risk of: getting sick from the
illness the vaccine could prevent; spreading the disease to others, who could become ill, be hospitalized, or die as a
result; being hospitalized for heart disease, stroke, and pneumonia. I also acknowledge that the Influenza vaccine will be
made available to me in the future by utilizing the institution' sick call procedure.


Date :


Witness:                                                              f3wlt>:.r~1
                                                                           Professional Title
                                                                                                                     JZ>OO
                                                                                                                      Date
                                                                                                                              o
Witness:
                  ~ / +{Q6tfbl'1-----Pr-of~-
                                          sion~alT-itle - -                                                           Date




CR-3894                                              Duplicate as Needed                                              RDA 1458




                                                                CCI 000413
Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 13 of 200 PageID #: 2096
                                           TENNESSEE DEPARTMENT OF CORRECTION
                                                     HEALTH SERVICES
                                                  REFUSAL OF MEDICAL SERVICES


                        INSTITUTION              ----dJ----1Y~~c:'f~,.,,_....________
                                                                Date        f{;J . ~ 9      20   _.16~     Tlme(:)/L/      @     tPM

   This is to certify !hall           ea 1-- Pi (lascJ        (lnmate's Name)
                                                                                 -~<!;.~                    4(TDOC  JI 0-
                                                                                                                Z3Number)
   have been advised hat I have been scheduled for the following medical services and/or have been adivsed to have

   the following evaluations, treatment, or surg ical/other procedures:

                         Fb-0 Sf(()1

            I am refusing the above listed medical services against the advice of the attending physician and/or the
   Health Services staff. I acknowledge that I have been informed of the risks Involved by my refusal and hereby
   release the State of Tennessee, Department of Correction, and their employees from all responsibility for any ill
   effects which may be experienced as a result of this refusal. I also acknowledge this medical service may not be
   made readily available to me in the future unless an attending physician certifies my medical problem as a medical
   emergency.


   Signed~~~
                   ·o~
                                                                                         4T~I ID
                                                                                           (TDOC number)               (Date)



   Witness: ___      (j_rr~•~...i,r;,,1~R._
                                       . ........,'l'ff'+A\X-t'c=-'-----"ff.___ __                                m~f)-lb
                     UCJ~                                                                        (Title)          •    (Date)



                                                                                                                      /0-z,7-~ /b
                                                                                                 (Title)               (Date)

               The a 0ve information has been read and explained to,


                                                                                     _ _ _ _ _ _ _ _ _ _ but has refused to sign
                              (Inmate's Name)                                              (TDOC number)
   the form.



   Witness : _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                     (Signature)                                                 (Title)               (Date)


   Witness : _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                     (Signature)                                                 (Title)               (Date)




      CR-1984 (Rev. 4-00)                             Original - Health Record             Canary - Fite              RDA 1458



                                                                CCI 000414
Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 14 of 200 PageID #: 2097
                       TENNESSEE DEPARTMENT OF CORRECTION
              Standing Orders for Administering Inactivated Influenza Vaccines
Protocol: Under these standing orders, qualified healthcare personnel where allowed by state law, may
vaccinate TDOC inmates who meet any of the criteria below.
Procedure:
    1.   Identify inmates and health care workers in need of influenza vaccination based on the following priority
         groups:
         a) All clinic health care workers;
         b) Pregnant inmates
         c) Inmates aged 2:50 years;
         d) Inmates with chronic pulmonary (including asthma), cardiovascular (excluding hypertension); renal;
             hepatic, neurologic, hematologic, or metabolic disorders (including diabetes mellilus);
         e) Inmates aged ::,18 years and receiving long-term aspirin therapy and who therefore might be at risk for
             experiencing Reye's syndrome after influenza virus infection
         f) Morbidly obese (body-mass index=:! 40)
         g) All other inmates
    2.   Screen all inmates and healthcare workers for contraindications and precautions lo the influenza
         vaccine:
         a. Contraindications: serious reaction (e.g., anaphylaxis) after ingesting eggs or after receiving a
         previous dose of influenza vaccine or an influenza vaccine component.
         b. Precautions: moderate or severe acute illness with or without fever; history of Guillain-Barre syndrome
         within 6 weeks of a previous influenza vaccination
    3.   Provide all patients (or, in the case of a minor, their parent or legal representative) with a copy of the
         most current federal Vaccine Information Statement (VIS). Document in the patient's medical record or
         office log, the VIS publication dale and the dale it was given to the patient (parenUlegal representative).
         Provide non-English speaking patients with a copy of the VIS in their native language, if available and
         preferred; these can be found at www.immuni ze.or /vis.
    4.   Follow the Center for Disease Control's recommendations for vaccine dosage, administration and
         storage:
                •   Multidose vials contain a small amount of thimerosal as a preservative. Preservative-free
                    vaccines are single dose. Vaccines must be stored in a refrigerator at temperatures between
                    35°F-46°F (2°C-8°C) and should not be frozen. Adults should be vaccinated in the deltoid
                    muscle using a 22-259, 1-1½ inch needle. An adult dose is 0.5 ml. IM.
                    A% inch needle may be used for adults weighing less than 130 lbs (<60 kg) for the injection in
                    the deltoid muscle only if the skin is stretched tight, subcutaneous tissue is not bunched, and
                    the injection is made at a 90 degree angle.
    5.   Document each inmate's vaccine administration information and follow up in the following places:
         a. Health Record: record the date the vaccine was administered, the manufacturer and lot number, the
         vaccination site and route, and the name and title of the person administering the vaccine.
         b. Personal immunization record card: Record the date of vaccination and the name/location of the
         administering clinic.

This standing order shall remain in effect for all patients of th e   Lv'adhcro.d Carn.i..c·f~o/1cJ
                                                                                       (Facility)
until rescinded or until _ __ _    C/,__-_ 3_ -_-_)_t_____.
                                                      e)
Facility Medical Director's signatureQ / - ~ ~ec tive Oate:_~/~ 0_ -_ 3__
                                                                        - _ /_·                       b=
                                                                                                       ;'----------
                                                           Oement liemard, MD, NECX
2016-2017 TDOC Influenza Preparedness Plan
Revised: August 2016                                           OCT Oa 2016                             Page 11




                                                                CCI 000415
Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 15 of 200 PageID #: 2098
                                                      Tl::1\INESSEE DEPARTMENT OF CORRECTION
                                                                 HEALTH QUESTIONNAIRE


                                                                                                                                    DOB


                                                                                           DATE: _    _._?_~_,·=-'-='----'~"--- TIME:                 a.m./p.m.
         INITIAL INTAKE:                              TEMPORARY TRANSFER: _ _ _ __                             PERMANENT TRANSFER:               ._./"
                                                                                                                                                -~-----
     INQUIRE:

         1.      Have you ever had a positive TB test?       •   Yes      X-o                   If yes, describe ---~+:-_.__ _ _ _ _ _ _ __ __


         2       Are you being treated for any illness or health problem (including dental, venere~ disease, or other infectious diseases)?
                  •       Yes    ~        No                If yes, describe: _ _ _ __ _....L:.LJ-1-V_
                                                                                                     \ -_ _ _ _ __ __ _ _ _ _ _ _ __


     3.         Do you have any physical, mental or dental complaints at this time?               0 Yes       No
                If yes, describe :

                Are you currently taking any medication(s)?                  0   Yes      ~
                                                                                          ~o(t
                If yes, was the medication transferred with the inmate?              0   Yes     ~o
                If yes, describe (what used, how much, how often, date of last use~f ;ny problems)


     5.         Have you recently or in the past, used alcohol or other drugs, in duding prescription drugs?              Yes     D     No
     6.         Have you ever been hospitalized for using alcohol or other drugs, including prescription drugs?
                If yes, when?
                                                                                                                                  D     Yes      P(,No
     7.         Do you have any allergies?        0   Yes        No               !f yes, describe: _ _ _\_v_________________


     8

                                                            0 Yes          0     No       Numberofmonths _ _ __
                                                            0 Yes          •     No       Date:   - -- +-~--- - - - - - - - - - -

               e) Any gynecological riroblP.ms?
                                                                           0     No                   tJ df
 9.            Screening for lvlRSA Infections:

                 a) Do you have any lesions, sores or insect bites?      0     Yes    '&Ct-Jo
                 Ifs o, do you have any ope n/draining lesions, ores, or inselt ~les?             0 Yes     ~o
                                                                 11
                 If yes, where are tl1   se 1-• sions? _ _ ___:tJ:_J~\\'t~- - - - -- - - - - - -- - - - - - - - - -- -- - - - -
OBSERVE:

               Behavior (including state of awareness, menial status, appearance conduct, tremor and sweating) :

             4   Normal         O    Abnormal          If abnormal, describe:         _JN~\l!.r-1?(_ _________________ _____

2 _.~ kin Asse~cluding needle marks, trauma markings, bruises, lesions, jaundice, rashes, tattoos, and infestation{s)

     Wkifcs ~   ii yes, describe:                 Nj fr"
3.            Is there evidence of Abuse or Trauma?         0 Yes        "flNo

               CR-2178 (Rev. 08-1<1)                                  W11i!e - lnmale's HealU1 Record                                         l~DA 1100
                                                                             ,age ~ 2




                                                                                CCI 000416
                Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 16 of 200 PageID #: 2099
                                                 ... .
                                                               I ~H·Ji '.;~; I I Ill I '!\Ii I rvll : N I 01'
                                                                                                              COlf f/._         I l u, ..J
                                                                                HEJ\ L rH QUE S1 IONN AIRE :


           INMACC NAM E            ~ -~                                           P6DO-Z-~              TDOC NU MIJ Ll,4 1;// D _ _
                                                                                                                                                                (f- {f±·B?
           !~EC EIVIN G INST ITUT ION

          INITI AL INTA KE:          ____
                                               _nlQe/ __ __
                                                              TEMP ORAR Y TRAN SFER : _ _ _
                                                                                            __
                                                                                                          DATE     _u                    t~
                                                                                                                                                      000

                                                                                                                                                   llME

                                                                                                                                   PERM ANEN T TRANSf'"ER:
                                                                                                                                                               3 ? fj
         INQ UIR E:

          1.      Have you ever had a posit ive TB lest?
                                                                           •    Yes~                        If yes, descr ibe

          2.

                   0     Yes     r\Jo
                  Are you being treate d for any illnes s
                                                          or lleall h probl em (including dental, vener

                                                                If yes, descr ibe: _ _ _ _ _ _ _ _
                                                                                                        eal disease, or other infectious diseases)?
                                                                                                          _ _ __ _ _ _ _ _ _ _ _ _ _
                                                                                                                                                 __                    __

         3.      Do you have any physi cal, ment al or
                                                       denta l comp laints at this time?                       D   Yes
                 If yes, desc ribe ·
         4.      Are you curre ntly taking any medi catio
                                                           n(s)?            D Yes           N'\ /
                 If yes, was the medi catio n trans ferred
                                                           with the inmate?        0 Yes [D No
                 If yes, desc ribe (wha t used , l1ow much
                                                           , how often , dale of last use, and any
                                                                                                   probl ems)

     5.         Have you recen tly or in thfl past, used
                                                         alcoh ol or other drugs , including presc
                                                                                                   ription drugs ?                            cs
     6.         Have you ever been hosp italize d for
                                                       using alcoh ol or other drugs , including
                                                                                                 prescription drugs ?
                If yes, when ?
     7.         Do you have any allerg ies?              0   Yes


     8.         (For wom en)
                a)LM P _ _
                                                                                       D   No        Numb er of mont hs
                                                                       D   Yes        0    No        Dale: _ _ __ __ _ _ _ _ _ _
                                                                                                                                 _ __
               d) Are you on birth c
                                                                       0   Yes        D    No
               e) Any gyncc:o       u1cal probl ems?                   D   Yes        D    No
    9.         Ser             or MRS A Infec tions
                a) Do you have any lesion s, sores or
                                                       insec t biles ? D Yes tflNo
                If so, do you have any open /drain ing
                                                       lesion s. sores, or insect bites?                   0   Yes
                If yes, wher e are these lesion s?

OBS E RV E:

. 1 .·        B ha vior (inclu oing slate of awar enes
                                                       s,       ment al ·s\atus, appe aranc e, condu ct:
                                                                                                         tremo r·and sw.eatlng):
                 N orni;:i l         Abno rmal               lf abno rmal, descr ibe:
                                                                                                - -- -- -- -- --- - --- - -- -- -- --
                                                                                                                           .

2.         Skin Ass ~ss m~nclt1<!11iu need le
                                              marks, lraum a markings, bruise s, lesion
                                                                                        s, jaund ice, rashes, ta/loos, and infesl
          •  Yes   ~o
                                                                                                                                  ation(s)

               If yes, desc ribe


3         Is there evide nce of Abus e or Traum
                                               c1'}                D   Yes              No

               CR-21 78 (Rev 10-14 )
                                                                               While •- lnrnatc ·s H ealit, r,ccnrcJ
                                                                                    P il\JC 1 of 2                                                        l<D/\ 1100




                                                                CCI 000417
Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 17 of 200 PageID #: 2100
                                          TEt- 1NEr    '=.E DEPARTMENT OF CORRECTION
                                                            HE/..i_LTH SERVICES
                                          Tf-<,.,J✓ SFER / DISCHARGE HE/'-.LTH SUfv'iMAR,




Reason for Trnnsfor/Discharge:

Requires Chronic Illness Monitoring:

Requires Mental Health/Psychiatric Monitoring:         0   yes      ~
 HEALTH HISTORY
 Check(✓) all conditiqns present

 0    HIV/AIDS                                                                    rnia                    D    Prosthesis (specify)
 0    Alcoholism                                                           0    High Cholesterol          0    Rheumatoid Arthritis
 D    Anemia                                           mphysema             0   Hypertension              0    Stroke
 D    Asthma                                    0     Epilepsy              0   Kidney Disease            0    Suicide Attempt
 D    ·Cancer (specify) _._·" " " ' - - - - -   0     Heart Disease         0   Liver Disease '           -0   Tuberculosis , ·
 -•    t hen~         endency                   D     Hepatitis C    '    ' 0   Multiple Sclerosis         O' Venereal Disease
  0    COPD                                                                                                D    Other (specify)

                                          - CURRENT PHYSICIAN/DENTIST MEDICATION ORDERS -

                                                    _§tre119lh/                    Last Dose            Modication
                        Name of Drug                                Frequency                                                Amounts
                                                      Route                        Date/Time             Sent(✓)
      ,.
             - - - -- - - - - ----1-----l-- - - - --1----- --1
                                                                                                   'y    D ND            I
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      5.
      6.
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             - - - - --~\==-~/c,__---4-_ _ _+ - - -- - - l - - - - - - l y
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                                                                                                                                           DY ON
                                                                                                                                           DY ON
      7. - - - -- - - -- - - l - - - - - - - - 4 - - -- --+------
      8.
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                                                                                                     YON .
                                                                                                          D     N   •0                     DY ON
                                                                                                                                           DY ON

      Brief Summary of Current Health Problems:




      SPECIAL INSTRUCTIONS (e.g., Allergies, Diet, Impairments, Medical Appointments, etc.):

      (VtA                                                                         -
      Referred to Community Resources:                  • Yes                            Specify Below:




       Report Pr pare                                                                                                Dalee    q/4;j;~
          Receiving Institution Review:                                                                              Dale :   tf:<t/t
           CR-189_5 (Rev 9-03)                                                                                                      RDA 1458




                                                                  CCI 000418
  Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 18 of 200 PageID #: 2101
                                                 "T        "S EE DEPARTMENT OF CORRECT'
                                                              HEALTH QUESTIONNAIRE


1NMATENAME:      Pie ilS:avt+: Fs:< ~ 1 &                                             TDOC NUMBER          l(?=?/j_Q_ ooo !e_-/r-?3
RECEIVING INSTITUTION:    vJ 15 f - 2                                                    DATE:       '11 (91 (~         TIME:       3     a.m.16)
INITIAL INTAKE:                                       TEMPORARY TRANSFER: _\.\,,__./.,__
                                                                                       __                     PERMANENT TRANSFER: _ _ _ __

INQUIRE:

 1.         Have you ever had a positive TB test?            0   Yes                       If yes, describe _ _ _ __ _ _ __ _ _ _ _ __ _


 2.         Are you being treated ~r any illness or health problem (including dental, venereal disease, or other infectious diseases)?
                 D      Yes      GJ/No                       lfyes,describe: _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


 3.             Do you have any physical, mental or dental complaints at this time?              0   Yes
                If yes, describe:
  4.            Are you currently laking any rnedicalion(s)?                D Yes          -~
                If yes, was the medication transferred with the inmate? ..           0   Yes     ~
                If yes. describe (what used, how much, how often, date of last use, and any problems)


  5.            Have you recently or in the past, used alcohol or other drugs • including prescription drugs?       D   Yes         No
      6.         Have you ever been hospitalized for using alcohol or other drugs. including prescription drugs?                •   Yes
                 If yes, when?
      7.         Do you have afy allergies?                                          U yes, describe: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


      8.         (For women)




                  e) Any gynecological problems?
       9.         Screening for MRSA Infections:
                     a) Do you have any lesions, sores or insect bites?          0   Yes   ~
                     If so, do you have any open/draining lesions, sores, or insect bites?            0 Yes    ~o
                     If yes, where are these lesions?

      OGSERVE:

           1.      Behfatior (including state of awareness, mental status, appearance, conduct, tremor and sweating):
                   ,S:VNormal        D     Abnormal          lf abnormal, describe: _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ __ _ __


           2.      Skin Asses s!T~nl (including needle marks, trauma markings, bruises, lesions, jaundice, rashes, tattoos, and infes/a tic
                   • Yes        ZNo                               ·
                      If yes. describe .


           3.        Is there evidence o! /\buse or T1auma?           0   Ye s


                       CR-2178 (Rev 08-14)                                       While - lnmale's Health Recoid                            HOP
                                                                                      Page 1 ol 2




                                                                                CCI 000419
                Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 19 of 200 PageID #: 2102
                                           1 ENNESSEE DEPARTMENT OF CORREC IION
                                                      HEALTH SERVICES
                                           TRANSFER/ DISCHARGE HEALTH SUMMARY

 Name of Inmate:         Plea.sen,,.J-1:~
                        Last
                                        u,u_ , 13oa.~
                                                   First      lriUidl
                                                                              TDOC #   -----"'-'~'-=3"-'-/_/O
                                                                                                            ~-   DOB:            -/S"-f3
 Current Institution:    NI,; (!,,,'f. -----
                        --~~                                                                      Transfer Date:         _ q_--'-/_q_-_l_lJ;
                                                                                                                                          ______
                                             ------ ----
                                      -)A.rr5P
 Receiving Institution (if applicable):
                                          ----~-----------
 Re ason for Transfer/Discharge: __Cmvu:
                                       """'"'-"-"''-=__._/_/.:e....~....:.....:.--''--'- - - - - - - - - - - - - - - - - - - - - - - - -
 Requires Chronic Illness Monitoring:         Dyes               ld'no                         Last TB Screening/PPD: -~(.p             ~ __Q
                                                                                                                         ~-_-_/_/_-~/~l.p  -=----
 Requires Mental Health/Psychiatric Monitoring:        D yes       ..9'1i"o       Last Periodic Health Appraisal:        _ LI_-_/_J_- _I 'I
                                                                                                                                          ..;__ _ _ _ __
 HEALTH HISTORY
 Check(✓) all conditions present

 0     HIV/AIDS                               D    Depression                 D   Hernia                     D       Prosthesis (specify)
 D     Alcoholism                             D    Diabetes                   D   High Cholesterol           D       Rheumatoid Arthritis
 D     Anemia                                 D    Emphysema                  D   Hypertension               D       Stroke
 D     Asthma                                 D    Epilepsy                   D   Kidney Disease             D       Suicide Attempt
 D     Cancer (specify)                       D    Heart Disease              D   Liver Disease              D       Tuberculosis
 D     Chemical Dependency                    D    HepatitisC                 D   Multiple Sclerosis         D       Venereal Disease
 0     COPD                                                                                                  D       Other (specify)



                   Name of Drug
                                                                                                                                                 ~
  1.
  2.
                                                                                                                                            DY      • N
  3.
                                                                                                                                            DY      ON
  4.
                                                                                                                                            DY      ON
  5.
                                                                                                                 N                          DY      ON
  6.
                                                                                                                 N                          DY      ON
  7.
                                                                                                                 N                          DY      ON
  8.
                                                                                                                                            DY      ON
                                                                                                                                                     N
Brief Summary of Current Health Problem .




SPECIAL INSTRUCTIONS (e.g., Allergles, Diet, Impairments, Medlcal Appointments, etc.) :


              1'-JJ<DA
Referred to Community Resources:               • Yes                ,%No           Specify Below:




Report Prepared By:                                                                                              Date:   _ q.:.,_.__,_. /-=8'_-.:.,_IL--..--- -
Receiving Institution Review:     _-W~
                                     ~ =------=-----=-
                                                   -ffyw
                                                      .:.________~- -
                                                                    ';J _ _ Date: _
                                                  Signature/Professional Title
                                                                                                                             Cf..__._
                                                                                                                                  -- f-'------'q•/-'"'--/,?_ _


CR-1895 (Rev. ~08)
                                                                                                                            RDA 1458


                                                                     CCI 000420
     Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 20 of 200 PageID #: 2103
                                                  TENNESSEE DEPARTMENT OF CORRECTION
                                                         HEALTH QUESTIONNAIRE


          INMATE NAME :      Plfasao±                   Boaz                            TDOC NUMBER                Lt '1311 0           DOB

          RECEIVING , NSTITUTION:        __,_)__.V___,
                                                  _ 0,'---'C
                                                           ~X,,____ _ _ _ __                 DATE:          LO   r'if r   Ile       TIME:   _:Jt) 2. 2 a.m.tr€)
          INITIAL INTAKE·                          TEMPORARY TRANSFER:
                                                                                       - - -- -                       PERMANENTTRANSFER:             _.\.._
                                                                                                                                                          L ____
     INQUIRE:

      1.      Have you ever had a posi\ive TB tes\?         D   Yes                              If yes, describe    -------'~'----,~'M. .L. . ._____________
      2       Are you being treatepor any illness or health problem (including dental, venereal disease, or other infectious diseases)?

                 D     Yes       cY     No               If yes, dcscrib:____                              IYjlJ-:                           .
      3.      Do you have any physical, men\al or dental complaints at this time?                   D      Yes
              If yes, describe :                                             /JI/ff                 ,c
      4.      Are you currently taking any medication(s)?                 D   Yes           cit1:io
              If yes, was the medication transferred with the inmate?            0     Yes          ~o
              If yes, describe (what used, how much, how often, date of last use, and any problems)

                                                                       ~
     5.      Have you recently or in the past, used alcohol or other drugs, induding prescription drugs?                    D     Yes       No
     6.      Have you ever been hospitalized for using alcohol or other drugs, includ in prescription drugs?                            D   Yes
             If yes, when?                                                              ,~
     7.      Do you have any allergies?                  •      No


     8.      (Forwomen)

             a) LMP   D          b) Are you pregnant?                                       140 1110 , ,   ur 111011trur-_ _ __
             c) Have you recently delivered?                                                Date:
                                                         0      Yes    •      No
            e)
 9.         Screening for MRSA Infections:                                                   /
              a) Do you have any les ions, sores or insect bites?     0    Yes ~ o
              If so, do you have any open/draining lesions, sores, or insect bites?                 0
              If yes, where are these lesions?                                   /1//        ~
                                                                                                           Yes


OBSERVE :

 1.         13eh,vior (including s late of awareness, menla I status, appea rance, conduct, tr~m~:-~d sweating):
           1%orma l          O     AbllOrmal        If ab norm al, describe: _____A/,_--Jbr..,.:....1/~
                                                                                                    / _____________                                    _____
                                                                                        7,

2.         Skin Assessmer;;,-(includ,ng needle marks, trauma markings, bruises, lesions, jaundice, rashes, tattoos, and infestation(s)
           • Yes      ~      o
             if yes, describe:                                        .;i;;~
3.         Is tllere evidence of Abuse or Trauma?       D    Yes

            CR·2178 (Rev. 08-1-4)                                  White - Inmate's Health Record                                                 l~DA 1100
                                                                          _age   t   of ?
                                                                       ':,



                                                                             CCI 000421
             Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 21 of 200 PageID #: 2104
                                                    TF    :.SSEE DEPARTMENT OF CORRECTIO"-'
                                                                 HEALTH SERVICES
                                                    1 K.ANSFER / DISCHARGE HEALTH SUMMAk r


Name of Inmate:        fla,.san± . .:~ •
                        Last                        ~
                                                           t     J :-::B&1:z_.
                                                               Flrsl      Initial
                                                                                        TD0C #       'i73JID               DOB:

Current Institution:    _ ..,Iµ    K ____________ __ _
                              ,____._.,_,,,f
Receiving Institution (if applicable):
Reason for Transfer/Discharge:

 Requires Chronic Illness Monitoring:                    0     yes       [¥no
 Requires Mental Health/Psychiatric Monitoring:                        D yes        QA(o
  HEALTH HISTORY
  Check(✓) all conditions present

  0   HIV/AIDS                                            D Depression                     D    Hernia                      0    Prosthesis (specify)
  D Alcoholism                                            D Diabetes                       0     High Cholesterol           0    Rheumatoid Arthritis
  D Anemia                                                D Emphysema                      0     Hypertension               0     Stroke
  D Asthma                                                D Epilepsy                        D    Kidney Disease             0     Suicide Attempt
  D _-Cancer (specify) .                                     0    Heart Disea~_e.           0    Liver Disease '            -0    Tuberculosis •
  D Chemical Dependency                                      0     Hepatitis C              D    Multiple Sclerosis         0     Venereal Disease
  D COPD                                                                                                                     0    Other (specify)

                                                -       CURRENT PHYSICIAN/DENTIST MEDICATION ORDERS -

                                                                 Strength{                          Last Dose          Medication
                        Name of Drug                                                Frequency                                                Amounts
                                                                  Route                             Datemme                Sent(✓)

      1.                                                                                                              YONO                               DY ON
      2.                                                                                                              y
                                                                                                                         • ND     N   D                  • YON
      3.
      4.                       /
                                   /A
                                       /        n
                                                                                                                      y
                                                                                                                      y
                                                                                                                         •n N 0                          DY ON
                                                                                                                                                         • Y nN
      5.                   I       I           JI                                                                      y
                                                                                                                          • NN DD                         DY   ON
      6.                   \ I             /                                                                           y
                                                                                                                          • ND                            DY   ON
      7.                       "f...--./                                                                               y
                                                                                                                          •                               DY   ON
       8.                                                                                                              y D N
                                                                                                                                •                         DY   ON

      Brief Summary of Current Health Problems:




      SPECIA"9INSTRUCTIONS (e.g., Allergies, Diet, Impairments, Medical Appointments, etc.) :
      /1)K/)rr                         ·


       Referred to Community Resources:                                OYes                81'-Jo        Specify Below:




       Report Prepared By:                                                                                                             Dale:   _~/4~/4~/(o,,.___
           Receiving Institution Review:                                                                                                       l O~
                                                                                                                                                  ·- <[_,__
                                                                                                                                          Dale: ___          --t----
                                                                                                                                                       . . / lp

           CR-1895 (Rev. 9-08)                                                                                                                      RDA 1458




                                                                  CCI 000422
  Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 22 of 200 PageID #: 2105
NI\/\ATE NAME :                                                                                                                           D08   {_q. {t ·~'3
=<ECEIVING INSTITUTION:                                                                      DATE:    _ l__·;_,.(~' ~(~(p~ _ TIME:'-..__.,~-                 r<::::-J
                                                                                                                                                          a.m'C.7

INITIAL INTAKE:                                    TElviPORARY TRAN SFER                 - -~L~-                     PERMANENTTRANSf-ER:
                                                                                                                                                     - -----
N O U\R E:
                                                                                               f vv. ~
1.         Have you ever hacl a positive TB test?              •   Yes      ~o                   If yes, describe


 2.         At e you being treated      fo: any illness or health problem (including dental, venereal dis ea
                -~          s    O       No                    lfyes,d~scribe: - ~.....!'l~lL...LJL.!..:!....,~c.......JJ-S,IL,.--   ~-l-V--V.N1---MAM....W~l.lJ-~,


  3.          Do you have any physical, mental or dental complaints at this time?                     0    Yes       ~
              If yes, describe:

  -4 .          Are you currenlly taking any medication(s)?                                     •     No
                1{ yes, was th~ _medicat}qn tr~nsf.E:r.red with th,e. inmate?            0    '(~s.    -~--                                                             ' · ·.
                If yes, describe (what used. how much, how often, date of last use, and any problems)


      5.         Have you recently ot in the past. used alcohol Of other dmgs, including prescription drugs?                         0   Yes
      G.           Have you eve.- been t.osp!tatized fo< ~ alooho1 0< other dwgs. including txesaiption drugs?                                  •   Yes
                   tf yes. when?
       7.          Oo you l\alte aoy allergies?       •      Yes                          \f yes. describe: _ _ _ _ _ __ _ _ __ _ _ _ _ __ .:.......__


         8.          (For women)

                                         Are you pregnant?                          •     No          Number ot months _ _ __
                                   recent!~   elivere~?

                                                                      _• Yes
                     e) fl,ny Q'}Reeetogica~ pcob\ett1s?t.
           9.         Screening for MRSA Infections:

                       a) Do you have any lesions, sores or insect bites?            0    Yes     ~
                        If so, do you have any open/draining lesions, sores, or insect biles?                    0   Yes
                        If yes, where are these lesions?

       · OBSERVE:

              1.      Behavior (including slate of awareness·. mental status, appearance, conduct, tremor and sweating):
                      G:tilormal        O     Abnormal             If abnonnal, describe:
                                                                                                      - - -- - -- -- - - - - - - -- - - - - - - --
              2.       Skin Assessment (including needle marks, trauma markings, bruises, lesions , jaundice, rashes, tattoos, and infeslation(s)
                       • Yes       Q-1(o
                         If yes, describ e:



                3.      Is there evidenc e o1 A b u se or Trauma?           []Yes             ~

                          CR-2178 (Rev . 06-14)                                          \/\Jhile - lnm3\e's Hea\lh H eco1d                                         RDA'
                                                                                                 Page 1 o{ 2



                                                                                CCI 000423
                Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 23 of 200 PageID #: 2106
                                                1 ENNESSEE
                                                         DEPARTMENT OF CORREC I ION
                                                         HEALTH SERVICES
                                               TRANSFER/ DISCHARGE HEALTH SUMMARY

  Name of Inmate:     ? if. u,)i ill l2.t 1 60tt 1-
                         Last                    I      First      Initial
                                                                                   TDOC #    _l):...._              0__
                                                                                                    1_ 3...-.:.J-=-----
                                                                                                                 /                 DOB:      (p -) ;f - ft3
                                                                                                                                              /            /   •
  Current Institution: _ _,_(}-~.... {'-/t-1---- --- --- --- --- -                                                Transfer Date: _ __..lj).._-"""')_-.,,--'J
                                                                                                                                                           '---r_r
                                                                                                                                                                ...;__ __
  Receiving Institution (if applicable):     --=-U)~J~J_.;_p___---,,: :;1,-- ------ -
  Reason for Transfer/Discharge:       _ _______;:C,_~
                                                  _     _.{'-l/'-J:e--+-"!_,f21
                                                                             _,~ f-- --- --- --- --- --- --- -
   Requires Chronic Illness Monitoring:          •     yes      .c;;r no                  Last TB Screening/PPD:                       (,p -)I- ) '?   ¢mm
  Requires Mental Health/Psychiatric Monitoring:             D yes     .7"0             Last Periodic Health Appraisal :                  {p ., / ~ - Jl } /1
   HEALTH HISTORY
   Check (✓) all conditions present

  0     HIV/AIDS                                0      Depression                  D    Hernia                                 0    Prosthesis (specify)
  0     Alcoholism                              0      Diabetes                    D
  0     Anemia
                                                                                        High Cholesterol                       D    Rheumatoid Arthritis
                                                0      Emphysema                   0    Hypertension                           0    Stroke
  0     Asthma                                  0      Epilepsy                    0
  0     Cancer (specify)
                                                                                        Kidney Disease                         0    Suicide Attempt
                                                0      Heart Disease               0    Liver Disease                          0    Tuberculosis
  0     Chemical Dependency                     0      Hepatitis C                 0
  0     COPD
                                                                                        Multiple Sclerosis                     O    Venereal Disease
                                                                                                                               0    Other (specify)
                                           - CURRENT PHYSICIAN/DENTIST MEDICATION ORDERS -

                      Name of Drug               Strength/                               Last Dose                        Medication
                                                                     Frequency                                                              Amounts
                                                  Route                                  Date/Time                         Sent(✓)
   1.
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  5.                      IJ)                                                                                              • •                          DY         ON
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 Brief Summary of Current Health Problems:              L,OC -:;:,,



 SPECIAL INSTRUCTIONS (e.g., Aller/ }~pf Impairments, Medical Appointm
                                                                      ents, etc.) :




Referred to Community Resources:                 • Yes                     efNo        ' Specify Below:




Report Prepared By:
                                                     Slgna ure/ rofesslonal Title
                                                                                                                               Date:      !J-3 /-)L{
Receiving lnotitution Revklw.       4v , diL f4.'tJ!ffh L
                                                     Signature/Pro e s onal Titl
                                                                                                                               Dati.o ££ (;~

CR-1895 (Rev. 9-08)
                                                                                                                                          RDA 1458


                                                                        CCI 000424
        Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 24 of 200 PageID #: 2107
                                                     ,-          ' '"'t=:E DEPARTMENT OF CORRECr
                                                                        ,EALTH QUESTIONNAIR E


INMATE NAME                 1?I eo.so.v.:r,. ~ ,\ wci11                                   TDOC NUMBER          Lf7 6 ~ I 0
RECEIVING INSTITUTION :                                   ~                                DATE:

INITIAL INTAKE:                                           TEMPORARY TRANSFER:
                                                                                          - - ---
INQUIRE:

1.         Have you ever had a positive TB test?                 0   Yes                     If yes, describe - - - - -- - , - - - - - - - - - - - - - -


2.         Are you being treated for any illness or health problem (including dental, venereal disease, or other infectious diseases)?
               0        Yes      • po                            If yes, describe: _ __ _ _ __ __ _ _ _ _ _ _ _ _ _ _ _ _ _ __


 3.        Do you have any physical, mental or del)tal complaints at this time?                 0   Yes             o
           lfyes,describe:                                 S     V\.Lt, \...
 4.        Are you currently taking any medication(s)?                         •    Yes ~ o
           If yes, was the medication transfer.red with the inmate?                  D Yes     ~o
           If yes, describe (what used, how much, how often, date of last use, and any problems)


 5.        Have you recently or in the past, used alcohol or other drugs, including prescription drugs?                      0   Yes   ~
 6.        Have you ever been hospitalized for using alcohol or other drugs, including prescription drugs?                             •   Yes
           If yes, when?
 7.         Do you have any allergies?
                                .~                    •    Yes                       If yes, describe: _ _ _ _ __ _ __ _ _ _ _ _ _ _ _ __


 8.
                                                                                                    et.0f..ma,Rn*\Rt!'Sb-_-_-_-_____




               e) A }!..gyne cologica l problems?
  9.           Screening for MRSA Infections:
                a) Do you have any lesions, sores or insect bites?              0   Yes   ~·
                 If s o, do you have any open/draining lesions, sores, or insect bites?             0   Yes
                 If yes, where are these lesions?

 OBSERVE:
     ...
  1.        _Behavior (including state of awareness, mental status, appearance, conduct, tremor and sweating):
           ~            rmal         O    Abnormal             If abnormal, describe: _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ __


  2.           Skin Assessment (including needle marks, trauma markings, bruises, lesions, jaundice, rashes, tattoos, and infestation(s)

               • Yes           ~
                   If yes, ct ekcrib e:


  3.           Is there evidence of Abuse or Trauma?
                                                                     •   Ye~

                   CR-2178 (Rev. 08-14)                                        White - Inmate's Health Record                                    RDA 1100
                                                                                    Page 1 of 2




                                                                           CCI 000425
           Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 25 of 200 PageID #: 2108
                                                     TENNESSEE DEPARTMENT OF CORRECTION
                                                            HEALTH QUESTIONNAIRE


          INMATE NAME          ?\eus:in-\-       I       13c:o.C                            TDOC NUMBER       YT~ l Io                    DOB    lv} I g / g3
          RECEIVING INSTITUTION:                 NE,.C X                                     DATE:    I( [){) \S                      TIME:    tJQQ a_:.,Q
         INITIAL INTAKE:                                 TEMPORARY TRANSFER:
                                                                                        - -- - -
                                                                                                                  PERMANENT TRANSFER:                     V
                                                                                                                                                      - - - - ''--- --

     INQUIRE:

         1.      Have you ever had a positive TB test?          D   Yes                        If yes, describe   _.. .:N. _-1-/-~~-------- -- -
      2.        Are you being treate d _!9P"any illness or health problem (including dental, venereal disease, or other infectious diseases)?
                  D      Yes        a./" No                                                         A_._________ ___
                                                                                                  / ._
                                                               If yes, describe: _ _ _ _NJ-..'!'-f-                                                    _ ___ _
                                                                                                 f

      3.        Do you have any physical, mental or dental complaints at this time?              D   Yes           0

                If yes, describe:               Nj A                                            /
      4.        Are you currently taking any medication(s)?                   D   Yes       €No

                If yes, was the medication transferred with the inmate?             D   Yes      ~
                If yes, describe (what used, how much, how often, d~atr of last use, and any problems)
                                              . .                         NA
     5.         Have you recently or in the past, used alcohol or other drugs, including prescription drugs?              D   Yes             No
     6          Have you ever been l1 ospilaliz~dl for using alcohol or other drugs, including prescription drugs?                       0    Yes     ~o
                If yes, when?                  ~     {   A:          /
     7.         Do you have any allergies?       0       Yes   ~o                 If yes, describe:    _....1..N...::...+/...Q=----    --------- --

     8.




 9.            Screening for MRSA Infections:                                           /

                a) Do you have any lesions, sores or insect bites?        0   Yes   -6" No
                If so, do you have any open/draining lesions,_s?res , or insect bites?           0   Yes

                If yes, where are these lesions?                            ~ - -- -- - - - - - -- --
                                                         _ _ ____.:N:___-+l.!.A'                                            - - - -- -- -- - - - - -
0 BS ERV E:

 1.           Beyw1o r (including stale of awareness, mental status, appearance, conduct, tremor and sweating) :
           \0"Norm al           O Abnormal                If abnormal, describe:
                                                                                    -----------f "-,::--"t--- ----------

2.            S krn l\ssessm7 t (including needle marks, trauma markings, bruises, lesions, jaundice, rashes, tattoos, and infestation(s)
              • Yes     'f f No
               If yes, describe:


3.         Is there evidence of Abuse or Trauma?               0 Yes

               CR-2178 (Rev. 08-14)                                    White - Inmate's Health Record                                               RDA 1100
                                                                            Page 1 of 2




                                                                                CCI 000426
                Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 26 of 200 PageID #: 2109
                                                  TRANSFER / DISCHARGE HEAL TH SU~'""ARY


  Name of Inmate:        eLe.0vs ~ bevi
                         Last        J
                                        _ ;6~-z..._   ·       Firs l           Initial
                                                                                                       TOOC #       Yr 2:31 m            DOB   _£- / r.- g::s
  Current Institution:                           C..,. C >(                                                                 Transfer Date: / / -    :2.D-;:s:
  Receiving Institution (if applicable):                  t! &- CX_ ___ _____ __
 Reason for Transfer/Discharge:

  Requires Chronic Illness Monitoring:                                     D     no                          Last TB Screening/PPD :     b - / / - l,L -e-,-
  Requires Mental Health/Psychiatric Monitoring:

  HEAL TH HISTORY
                                                                   0       yes      fao                    Last Periodic Health Appraisal: b - / 6 - / 1/"


  Check(✓) all conditions present

 0
 D
       HIV/AIDS
                                                          •   Depression
                                                                                                       •   Hernia                    D Prosthesis (specify)
 D
       Alcoholism
                                                          •   Diabetes
                                                                                                       •   High Cholesterol          D Rheumatoid Arthritis
 D
       Anemia
                                                          •   Emphysema
                                                                                                       •   Hypertension              D Stroke
 D
       Asthma
                                                          •   Epilepsy
                                                                                                       •   Kidney Disease            D Suicide Attempt
 D
       Cancer (specify)
                                                          •   Heart Disease
                                                                                                       •   Liver Disease             0   Tuberculosis

 0
       Chemical Dependency
       COPD
                                                          •   Hepatitis C
                                                                                                       •   Multiple Sclerosis        D Venereal Disease
                                                                                                                                     D Other (specify)
                                           -   CURRENT PHYSICIAN/D ENTIST MEDICATION ORDERS -

                      Name of Drug                        Strength/                                         Last Dose            Medication
                                                                                   Frequency                                                       Amounts
                                                           Route                                            Date/Time             Sent( ✓)
  1.
  2.
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                                                                                                                                                              DY ON
                                                                                                                                                              D Y ON
 B'rief Summary of Current Health Problems:




SPECIAL INSTRUCTIO NS (e.g.,                          , Diet, Impairments, Medical Appointment s, etc.) :

                                pj             ¼
Referred to Community Resources:                          •   Yes                                           Specify Below:




Report Prepared By:        --H,,flC--,L--L+-.~c..w:;..___----L~'N__                                                                   Date:    //   ~ /9 -/5    --
Receiving Institution Review:
                                  -+-""-"-- "-~~+±-~                                     ~        ~ ~~ -- ~ - -
                                                                                                                            IM        Date:    1   l/~D
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CR-1895 (Rev. 9-08)                                                                                                                            RDA 1458




                                                                     CCI 000427
     Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 27 of 200 PageID #: 2110
                                                                    TEN NES SEE o -r ART MEN
                                                                                              T OF COR RE CTION
                                                                             HEA L TH QU EST ION NAI RE

                           INMATE NAME:         £\.QQ<:('}(ij - ~                  P:,oofy                                   lJ ')L31 to
                         RECEIVING INSTITUTION:

                         INITIAL INTAKE:
                                                                    ~c!cx                           TDOC NUMBER

                                                                                                      DATE:       I( I'd I ( <;
                                                                                                                                               DOB

                                                                                                                                           TIME:
                                                                                                                                                      wl! B / 'a3
                                                                                                                                                         I


                                                                                                                                                   (ttJ,~'D   a.m./p.m.


                      INQ UIR E:
                                                                    TEMPORARY TRANSFER:
                                                                                                      X                       PERMANENT TRANSFER:


                       1.      Have you ever had a positive
                                                              TB test?
                                                                                                          If yes, describe
                                                                                                                             -- -- -- -- -- -- -- -
                      2.      Are you being treated for any illne
                                                                  ss or health  problem (including dental, vene
                                D      Yes       fl   No                   If yes, describe: _ _ _ _ _
                                                                                                                real disease, or othe r infectious
                                                                                                           ___________
                                                                                                                                                   diseases)?
                                                                                                                                             _ _ _ __ _         _ __
                      3.      Do you have any physical, men
                                                            tal or dental complaints at \his
                              If yes, describe:
                                                                                             time?         0    Yes          o

                    4.        Are you currently taking any
                                                           medication(s)?           0 Yes efN o
                             If yes, was the medication tran
                             If yes, describe (what used, how
                                                             sferred with the inmate?
                                                                                          D Yes           ~
                                                               much, how often, date of last
                                                                                             use, and any problems)

                 5.          Have you recently or in the past
                                                             , used alcohol or other drugs,
                                                                                             including prescription drugs?
                 6.         Have you ever been hospitalized                                                                   D Yes
                                                               for using alcohol or other drug
                                                                                               s , including prescription drugs
                            If yes, when?                                                                                       ?
                 7.         Do you have any allergies?
                                                              0 Yes      ~N o             If yes, describe: _ _ _ _ _
                                                                                                                      ______                  _ _ _ _ _ _ __
                 8.         (Fo r wom en)
                            a) LMP _ _ b) Are you preg
                                                       nant?
                                                                                                 Number of months _ _ __
                                                                                                 Date: _ __ _ __ _ __
                           d) Are you on birth control                                                                   _ _ _ _ __

                           e) Any gyn ecologic
               9.          Screening for MRSA Infection
                                                          s:
                            a) Do you have any lesions,
                                                          sores or insect bites? 0 Ye
                                                                                           s~ o
                            If so, do you have any open/dr
                                                            aining lesions, sores, or inse
                            If yes, where are these lesio
                                                                                          ct bites?   0    Yes
                                                          ns?
           OB SE RV E:

            1.         1:__e~o r (including state of awa
                                                           reness, mental status, appeara
                                                                                          nce, conduct. tremor and swe
                    _.yl' Nor mal           O   Abnormal                                                              ating):
                                                                If abn orm al, describe: _ _
                                                                                             ___________
                                                                                                                           _ _ _ __ _ __ _ __
- - - -2 . ·-s 1<Tn Assess1           - · - •- - --··· -
                            ""l (!~eluding nee             dle marks, trauma markings,
                                                                                       bruises, lesions, jaundice, rash
                      • Yes J?f No                                                                                     es, tattoos, and infestation(s)

                         If yes , describe:


          3.        Is there evid enc e of Abuse or
                                                    Trauma?          0 Yes          No

                       CR-2 178 (Rev . 10-1 4)
                                                                             While - Inma te's Health Reco
                                                                                                           rd
                                                                                  Page 1 of 2                                                 RDA 1100




                                                                             CCI 000428
             Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 28 of 200 PageID #: 2111
                                                                ffSSEE DEPARTMENT OF CORRECT!
                                                                        HEALTH SERVICES.
                                                             TRANSFER / DISCHARGE HEALTH SUMMARY


Name of Inmate:        _J..._._,.
                         Last
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                                                                                 Initial
                                                                                                              LIJ3 llO             DOB:        ~    18/8'3
Current Institution:         llmi                                                                                      Transfer Date: _._J.._,
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                                                                                                                                                 l 8'
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Receiving Institution (if applicable):
                                                                                                                                             /       '
Reason for Transfer/Discharge:

Requires Chronic Illness Monitoring:                              ~es          D   no                      Last TB Screening/PPD :          &(11/L'r @,,JY7
Requires Mental Health/Psychiatric Monitoring:                             Dyes                      Last Periodic Health Appraisal:               {p,/ti/t'f
 HEALTH HISTORY
 Check(✓) all conditions present

D    HIV/AIDS                                                     D    Depression              D       Hernia                      D   Prosthesis (specify)
D    Alcoholism                                                   D    Diabetes                D       High Cholesterol            D   Rheumatoid Arthritis
D    Anemia                                                       D    Emphysema               D       Hypertension                D   Stroke
D    Asthma                                                       D    Epilepsy                D       Kidney Disease              0   Suicide Attempt
D    Cancer (specify)                                             0    Heart Disease           0       Liver Disease              -0   Tuberculosis
D      Chemical Dependency                                        D    Hepatitis C             0       Multiple Sclerosis          D   Venereal Disease
 D     COPD                                                                                                                        ~Other (specify)      It/le~
                                                         - CURRENT PHYSICIAN/DENTIST MEDICATION ORDERS -

                       Name of Drug                                  Strength(                             Last Dose            Medication
                                                                                       Frequency                                                   Amounts
                                                                       Route                               Datemme               Sent I✓)
  1.                                                                                                                       y     D     N   D                   DY     ON
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  8.                                                                                                                        y
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                                                                                                                                           •                   DY     ON
 Brief Summary of Current Health Problems:




  SPECIAL INSTRUCTIONS (e.g., Allergies, Diet, Impairments, Medical Appointments, etc.) :
  fJKbA                                   ·


  Referred to Community Resources:                                    • Yes                                  Specify Below:




  Report Prepared By:
                                                                 4~                                                                        Date:    lljlf/lS
  Receiving Institution Review:                    - ~~~~-Signature/Profe
                                                            --'~---,c-=-~""=     ' LL.~
                                                                                     ~~~ ~-                                                Date:    /; //;J//J-
                                                                         ssional                   Title                                             ~


  CR-1895 (Rev. 9-08)                                                                                                                               RDA 1458




                                                                  CCI 000429
  Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 29 of 200 PageID #: 2112
                     V

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                                . ~1~1!-,
                                       ~~

                                                :       --c:sEE DEPARTMENT OF CORRECT
                                                             HEALTH QUESTIONNAIRE


INMATE NAME:                        e~~s"---.:a:!.1.n~•-- --~~--=13.._,_=-B-=-o=.::a_._z<--10oc NUMBER    __   lf_.__7_'3~//_o_     DOB
                                                                 7
RECEIVING INSTITUTION:                       w-rsP                                        DATE:                               TIME:                    a.m.€3)

INITIAL INTAKE:                                     TEMPORARX TRANSFER:                ---"'-✓---              PERMANENT TRANSFER:
                                                                                                                                                 ------
INQUIRE:                                                                                       'lC r-f--
1.         Have you ever had a positive TB lest?             •   Yes                        If yes, describe _ _ __ _ _ _ _ _ __ __ _ __


 2.         Are you being treatedy          ny illness or health problem (including dental, venereal disease, or other inf~ctious diseases)?
                 D       Yes    ~ No                         If yes, describe:
                                                                                    -------------------- - - - --
 3.            Do you have any physical, mental or dental complaints at this time?                0 Yes
               If yes, describe:

 4.             Are you currently taking any medication(s)?                 •    Yes       rd7No
                If yes, was the medication transfer.red with the inmate?            0    Yes          o
                If yes, describe (what used, how much, how often, date of last use, and any problems)


  5.            Have you recently or in the past, used alcohol or other drugs, including prescription drugs?              D   Yes       0   No ·
     6.         Have you ever been hospitalized for using alcohol or other drugs, including prescription drugs?
                If yes, when?
      7.         Oo you have a!1y allergies?        ~            0    No            lf yes, describe:     B
                                                                                                          ..
                                                                                                          -=el::..-i-t.....::'e=-:....(_,___1_ __ _ __ _- - - ' - - - - -



      8.         (Forwomen)




                 d) Are you on birth control pills?              .•   Yes       O   No
                 'e) Any gynecological problems?
      9.          Screening for MRSA Infections:                                                  ~
                     a) Do you have any lesions, sores or insect bites?         0   Yes    ~                              /
                     If so, do you have any open/draining lesions, sores, or insect bites?           0 Yes         ~
                     If yes, where are these lesions?

      OBSERVE:

          1.      Be~or (including state of awareness, mental status, appearance, conduct, tremor and sweating) :
                  BNormal           O    Abnormal           ·1fabnormal, describe:
                                                                                            --------- - - - - -----------
          2.      Skin Assessment (including needle marks, trauma markings, bruises, lesions, jaundice, rashes, tattoos, and infestation(s)
                  • Yes            No
                     If yes, describe:


           3.      Is there evidence of Abuse or Trauma?              0 Yes

                      CR-2178 (Rev. 08-14)                                      While - lnm:ite·s Health Record                                          RDA 1100
                                                                                     Page 1 of 2




                                                                               CCI 000430
               Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 30 of 200 PageID #: 2113
                                                     ~NNESSEE DEPARTMENT OF CORREC 1, JN
                                                              HEALTH SERVICES
                                                    TRANSFER/ DISCHARGE HEALTH SUMMARY

 Name of Inmate:            P)fQSO ot                 13-eu    Boa2-          TDOC#        4'15110              DOB:           LP-13-Z-:>
                            Las~   ~C   Al              FliitJ    Initial
 Current Institution:          ~    c_ '-'1--                                                        Transfer Date:         I 1- I O- (S
 Receiving Institution (if applicable):         l=(..:........,)-6.-=:_.f
                                                                       ___ ___ ___ ____
 Reason for Transfer/Discharge:            ~c__fL-..J__~_kl...l,,..'1nJU-Jl,p~-----------------------
 Requires Chronic Illness Monitoring:                 D yes    )2rno                    Last TB Screening/PPD:          (   0~ ({~ IS Cp t'.Y'Mc
                                                              D yes                                                         ( Q ·-1 i - l 4 fl
 Requires Mental Health/Psychiatric Monitoring:                        %no            Last Periodic Health Appraisal:
 HEALTH HISTORY
 Check (✓) all conditions present

0      HIV/AIDS                                      0    Depression              0   Hernia                    0   Prosthesis (specify)
0      Alcoholism                                    O    Diabetes                0   High Cholesterol          0   Rheumatoid Arthritis
0      Anemia                                         D   Emphysema               0   Hypertension              0   Stroke
0      Asthma                                        D    Epilepsy                0   Kidney Disease            0   Suicide Attempt
0      Cancer (specify)                              D    Heart Disease           0   Liver Disease             0   Tuberculosis
0      Chemical Dependency                           D    Hepatitis C             D   Multiple Sclerosis        0   Venereal Disease
0      COPD
                                                                                                                D   Other (specify)
                                             - CURRENT PHYSICIAN/DENTIST MEDICATION ORDERS -

                   Name of Drug                       Strength/                         Last Dose          edl atlon
                                                       Route          Frequency                                               Amounts
                                                                                        DatefTlme          Sent I l
  1.
  2.
                                                                                                       y
                                                                                                           •    N
                                                                                                                    •                      DY     ON
  3.                                         n {\
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  4.
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                  Ir X If\ 1 I\ /if )                                                                                                             ON
                                                                                                           O N
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  5.              V ) I V-.....X..v,. /                                                                y                                   DY     ON
  6.            r•v                                                                                    y
                                                                                                           O N
                                                                                                                                           DY     ON
                                                                                                           • N ••
  7.
                                                                                                       y                                   DY     ON
  8.
                                                                                                       y                                   DY     ON
                                                                                                       y   0 N      •                      ny     •   N
Brief Summary of Current Health Problems:                  ~1 levg ie...:)) nlrsi-t1s

SPECIAL INSTRUCTIONS (e.g., Allergies, Diet, Impairments, Medical Appointments,
                                                                                etc.) :

                                                    N /LPf+
Referred to Community Resources:                      • Yes                            Specify Below:




Report Prepared By:
                                                                                                                Date: _____,__) L____,__Q__._-(5:.....___
Receiving Institution Review:
                                                                                                                Date:       l ~ I --=---
                                                                                                                        -&---L-      { o--=---l_S'-


CR-1895 (Rev. ~8)
                                                                                                                             RDA 1458



                                                                    CCI 000431
    Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 31 of 200 PageID #: 2114
                                         TENNESSEE DEPARTMENT OF CORRECTION

                                     CONSENT/ REFUSAL OF INFLUENZA VACCINE


                                                          NECX


                                                                                                                ~
                                                       INSTITUTION
                                      12 ol<-z         ToM1s#:     Lf 731 IO                   Date of Birth:
                                      µ Middle
D   I agree to receive the influenza vaccination at the Tennessee Department of Correction.

I have received the Vaccine Information Sheet (VIS) from the nurse administering the vaccine and had the opportunity to
ask questions. I attest that I am not allergic to eggs and have not experienced serious side effects in the past after
receiving the Influenza Vaccine (if allergic to eggs or has experienced serious side effects refer to physician before
administering the vaccine). I understand the possible side effects of this vaccine. I understand that I may experience mild
side effects symptoms such as soreness/redness at the injection site. I agree that if I experience any of the listed mild,
moderate or severe side effects from this vaccine as explained to me, I will seek immediate medical attention from the
clinical service staff as soon as possible.


Date:
           - - - - - - -- - Time:
                                                                                           (Signature of Patient)
Witness:
                                                                          Professional Title                          Date




     refuse to receive the Influenza vaccine

I understand that if I do not receive the vaccine, the consequences may include increased risk of: getting sick from the
illness the vaccine could prevent; spreading the disease to others, who could become ill, be hospitalized, or die as a
result; being hospitalized for heart disease, stroke, and pneumonia. I also acknowledge that the Influenza vaccine will be
made available to me in the future by utilizing the institution' sick call pro edure.


Date:


Witness:                                                                                                                     f
Witness:                                                                                                            ,o-]-~
                                                                          Profe~          e                           Date




CR-3894                                             Duplicate as Needed                                               RDA 1458




                                                                    CCI 000432
    Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 32 of 200 PageID #: 2115
                                                 TENNESSEE DEPARTMENT OF CORRECTION
                                                                                                                                                       II
                                                        HEALTH QUESTIONNAIR E


          INMATE NAME:       P/llAS,.-i- ~ '     ~1;                                                  ·1=J/~(0~- DOB
                                                                                  TDOCNUMBER _L/_._____,_                              l,, -j 'i{ - g>.3
      RECEIVING INSTITUTION:              NE CA                                            --=-&_,-'-.:to=--'_._Is::...___           131D        a.m.G>
                                       -~----=--'-= ----- ----                     DATE:                                     TIME:
      INITIAL INTAKE:                            TEMPORARY TRANSFER: _ _ _ __                             PERMANENT TRANSFER:               __,V,::_____
     INQUIRE:

      1.      Have you ever had a positive TB test?        D   Yes    ~             If yes, describe _....!f'l....,/,_1:.,___ _ _ _ _ _ _ _ _ _ __


      2.      Are you being treated for any illness or health problem (including dental, venereal disease, orother infectious diseases)?

               ~ Yes             D     No               If yes, describe: _,.S-ll..i!..!l'\:!:::t. J=.~:!....--- -----------,- -------


      3.     Do you have any physical, mental or dental complaints at this time?      0    Yes      19-'fJo
             If yes, describe:              tJ
                                  - - - ~ : . . . t __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
                                                                                                                      _ _ _ _ _ __           _ _ _ __

      4.     Are you currently taking any medication(s)?             0 Yes @-f;lo
             If yes, was the medication transferred with the inmate?     0 Yes ~ o
             If yes, describe (what used, how much, how often, date of last use, and any problems)
                                 r,J
     5.      Have you recently or in the past, used alcohol or other drugs, including prescription drugs? D Yes              l9--f:!o
     6.      Have you ever been hospitalized for using alcohol or other drugs, including prescription drugs?
             If yes, when? _ ___:_i-1..,_,+!...!__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ __
     7.      Do you have any allergies?              if¥es  D No         If yes, describe: ~$~,:t::JS61<..::::1t=:c."!~4LL.j
                                                                                                                   ______ ______

     8,

                             b) Are you pregnant?                                 Number of months _ _ __
                                                                                  Date: _ _ _ _ _ _ _ _ _ _ _ _ _ __




 9.



                                                                                                      0 No

OBSERVE:

 1.        Beh~ ior (including slate of awareness, mental status, appearance, conduct, tremor and sweating):
           ~orm al           D Abnormal           If abnormal, describe: _....!~.:.J.!.-11-!___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


2.         Skin Assessment (including needle marks, trauma markings, bruises, lesions, jaundice, rashes, tattoos, and infestation{s)
           D Yes     l9"'N
                        o
            If yes, describe :


3.         Is there evidence of Abuse or Trauma?       0 Yes           No

            CR-2178 (Rev. 08-14)                                White - Inmate's Health Record                                        RDA 1100
                                                                     Page 1 of2




                                                                               CCI 000433
               Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 33 of 200 PageID #: 2116
                                                         NESSEE DEPARTMENT OF CORRECl
                                                                HEALTH SERVICES
                                                      TRANSFER/ DISCHARGE HEALTH SUMMARY
                                     ..

Name of Inmate:        ~P_(__,WJVJA~=i..r/i""""'-'-J____,-~Pvi,..__1_._f
                                           !1"7::1 ~                   ,=
                                                                        n·it·ia'--=-:
                                                                           u    I u  ,.....__   TDOC#    47?JJJ{J               DOB:         /_p-Jf-f,3
                                     1 ) ro~
                         Last                                                                                                             J_      J ), Ji
Current Institution:             /                       .                                                          Transfer Date:     _UJ~ft.-~~M~v~------
Receiving Institution (if applicable):
Reason for Transfer/Discharge:

Requires Chronic Illness Monitoring:                       Dyes            ~
Requires Mental Health/Psychiatric Monitoring:                       Dyes            ~o

 HEALTH HISTORY
 Check (✓) all conditions present

•    HIV/AIDS                                              D     Depression                      D   Hernia                     D   Prosthesis (specify)
D    Alcoholism                                            D     Diabetes                        •   High Cholesterol           D   Rheumatoid Arthritis
D    Anemia                                                D     Emphysema                       D   Hypertension               D   Stroke
D    Asthma                                                D     Epilepsy                        D   Kidney Disease             D   Suicide Attempt
D    Cancer (specify)                                      D     Heart Disease                   D   Liver Disease              D   Tuberculosis
D    Chemical Dependency                                   D     Hepatitis C                     D   Multiple Sclerosis         D    Venereal Disease
•        COPD                                                                                                                   D    Other (specify)

                                                   - CURRENT PHYSICIAN/DENTIST MEDICATION ORDERS -

                       Name of Drug                           Strength/                                 Last Dose          Medication
                                                                                  Frequency                                                     Amounts
                                                               Route                                    Datemme             Sent(✓)
    1.                                                                                                                 y
                                                                                                                            •    N
                                                                                                                                     •                               DY • N
    2.                                                                                                                 y
                                                                                                                            •    N   •                               DY • N
    3.                                                    I                                                            y
                                                                                                                            •    N
                                                                                                                                     •                               DY ON
                                                                                                                                                                     DY • N
    4.                                             -r,{
                                                   j/)
                                                                                                                       y
                                                                                                                            •    N •                                 DY • N
    5.                                                                                                                 y
                                                                                                                            •    N
                                                                                                                                   •
    6.                                             jl-/                                                                y
                                                                                                                            •    N •                                 •   Y   •   N
    7.                                         /                                                                       y
                                                                                                                            •    N
                                                                                                                                   •                                 •Y•         N
    8.                                     (                                                                           y
                                                                                                                            •    N •                                 DY •        N

 Brief Summary of Current Health Problems:




 SPECPl'cr~ - Y10L0'                                                   Impairments, Medical Appointments, etc.) ' ).)                  t'.Dfl
  Referred to Community Resources:                              •    Yes                  •     No       Specify Below:




  Report Prepared       By,


  Receiving Institution Review:
                                     Y11 :L~Df                          ~wv ,
                                               (...£,I.~~~~~·~~~l_...~C-.,iC4~~~~.!..£_J=:::::::::=:::....._
                                                                                                                                               l,Q
                                                                                                                                     Date, ____1-=------'-t



                                                                                                                                     Date:
                                                                                                                                                        l-------'--l 5_
                                                                                                                                                                 /~/_<~-----
                                                                                                                                             _t...,o~..b_/_fJ. . .


  CR-1895 (Rev. 9-08)                                                                                                                              RDA 1458



                                                                    CCI 000434
    Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 34 of 200 PageID #: 2117
                                                                 TEN NES SEE DEP ART MEN
                                                                                         T OF COR RL                          JN
                                                                          HEA LTH QUE STIO NNA IRE


                   INM ATE NAM E:        P \e .~ -·~                      .    ~o o.. -z.            TDOC NUMBER         l/ (Q I I 0            DOB
               REC EIVI NG INST ITUT ION :
                                                   -~µ_e_e._y~ -- -- --                               DATE:       lf /             /&;    TIME:       lfbo
               INIT IAL INTAKE:
                                                                 TEM POR ARY TRANSFER:
                                                                                                                          PER MAN ENT TRA NSF ER:
              INQ UIR E:                                                                                                                                     -- -- -

                                                                                          ~
               I.      Hav e you ever had a posi tive
                                                      TB test?
                                                                          •     Yes                     If yes, desc ribe _ _ _ _ _
                                                                                                                                    ______                   _ _ _ __
              2.       /\re you being trea ted for any
                                                       illne ss or heal th prob lem (incl
                                                                                          uding dental, venereal disease,
                        9/ '   Yes O No                              If yes, desc ribe: ----'5=-.;.(Vl--"--11
                                                                                                             1----'::z~((,_:P_.~~"
                                                                                                                                   or other infectious diseases}?
                                                                                                                         "'----'~-·_ _ _ _ _ _ _ _ _ __
              3.      Do you have any phys ical, men
                                                     tal or dental com plain ls at this
                                                                                        time?              0    Yes       o
                      If yes, desc ribe :
          4.         Are you curr ently taking any
                                                     med icati on(s )?          ;;;t'Yes O No
                     If yes, was the med icati on tran
                                                                                                               tftvLJ,- n
                                                       sferr ed with the inma te?
                                                                                        0 Yes D No
                     If yes, desc ribe (wha t used ,
                                                     how muc h, how often , date of
                                                                                      last use, and any prob lems )

         5.           Hav e you rece ntly or in the past
                                                         , used alcohol or othe r drug ~.
                                                                                          including prescription drug s?
         6.          Hav e you ever been hosp italiz                                                                       0 Yes                  0
                                                      ed for using alcohol or othe r drug
                                                                                                                                          •             ~
                                                                                            s, including prescription drug s?
                     If yes, whe n?                                                                                                           Yes
         7.         Do you have any aller gies ?
                                                          ~Y~ s       O       No           If yes: desc ribe:    ~S c& rJ ( Po.fk-
         8.         (For women)
                    a) LMP _ _ b) Are you preg
                    c) Hav e you rece ntly deliv ered
                                                        nant ?
                                                                                      • No       Num ber of mon ths _ _ __
                                                      ?
                                                                                      • No       Date: _ __ _ _ _ _ _
                                                                                                                         _ _ _ _ _ __

                   e) Any gyne colo gica l pro
                                                                                      • No
                                                                      0   Yes         O   No
     9.            Scre enin g for MRS A Infec tions
                                                     :
                                                                                       /
                    a) Do you have any lesio ns.
                                                   sore s or inse ct biles ? D Yes
                                                                                    )1' No
                    If so. do you have any open /dra
                                                      ining lesio ns. sores, or insect
                    If yes, w~1erc re lhe.se lesio
                                                                                       bites?          D   Yes
                                                   ns?
OB SER VE :

    1.         Beh avio r(inc ludin g slate of awa
                                                   rene ss. men tal status, appearan
                                                                                     ce, conduct, lrem or and sweating
                   orm al                                                                                              ):
                                 0 Abn orm al            If abnormal. desc ribe: _ _
                                                                                        ___________
                                                                                                                        ___                 _ _ _ _ _ _ __

2.            Skin Asse ssm ent (including
                                           needle marks, trauma markings
                                                                         , bruises, lesions, jaundice, rash
              D Yes        p<o                                                                             es, tattoos, and infesta/ion(sj

                   If yes, desc ribe .


3             Is ther e evid ence of Abu se or
                                               Trau ma?           0   Yes       _;;a<o
               CR-2 178 (Rev 10-1 4)
                                                                              Whil e - lnmale's Health Reco
                                                                                                            rd
                                                                                    Page 1 of 2                                                RDA 1100




                                                                    CCI 000435
    Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 35 of 200 PageID #: 2118
                                                               TE NN ES SE E DE PA
                                                                                   RT ME NT OF CO RR
                                                                                 HEALTH QU ES TIO    EC TIO N
                                                                                                  NN AIR E
                    INMATE NAME :

                    RECEIVING INSTIT
                                                              fie// rlJ!:J{,oc   S lf ,l                       NUMBER        L/73 // {!        DOB
                                     UTION:
                                                           /~ I   S t ·4=:                             DATE:       --S-113 1 I')
                    INITIAL INTAKE:                                                                                                       TIME:
                                                               TEMPORARY TRAN                                                                               a.m./p.m
                                                                              SFER:
               IN QU IR E:                                                                          -----                     PE RM AN EN T TRAN
                                                                                                                                                   SFER:
                                                                                                                                                           -----
                1.       Have you ever had a
                                             positive TB test?
                                                                          0    Yes          ~ If yes , describe
                2,      Are you being treate
                                             d for any illness or hea
                                                                      lth problem (including
                         D Yes D                                                             dental, venereal diseas
                                               No                                                                    e, or oth er infectious
                                                                    If yes, des crib e:                                                      diseases)?
                                                                                               ---------------
               3.      Do you have any phy
                                           sical, mental or dental
                                                                                                                                            ---------
                                                                   complaints at this tim
                       If yes , describe:                                                 e?              D    Yes
               4.      Are you currently tak
                                              ing any medication(s
                                                                      )?            0 Yes           ci-i(o '
                      If yes , wa s the me dic
                                               atio n transferred wit
                                                                      h the inmate?       0 Yes
                      If yes, describe (wh at
                                                used, how much, ho
                                                                       w often, dat e of las t
                                                                                               use, and any problems
                                                                                                                     )
           5          Have you recently or
                                           in the past, used alc
                                                                 ohol or other dru gs,
           6.        Have you ever been                                                including prescription
                                          hospitalized for using                                               dru gs? 0 Yes
                                                                  alcohol or oth er drugs                                                      0
                     If yes, wh en ?                                                      , including prescription
                                                                                                                   dru gs?                0   Yes
          7.         Do you have any alle
                                          rgi es?     -~              0     No               If yes, describe: _
                                                                                                                     _,
                                                                                                                      1
                                                                                                                                    /i?_€_/_/_C_
                                                                                                                          /,___~_t'____        -7_ _ _ _ __
          8.         (Fo r women)
                     a)L MP _ _
                                       b) Are you pregnant?                                                                        /
                    c) Have you recently
                                                                        0 Yes 0 No               Nu mb er of mo nth s
                                             delivered?
                                                                        0 Yes 0 No               Date :
                    d) Are you on birth con
                                               trol pills?
                    e) Any gyn eco log ica
                                           l pro ble ms ?
                                                                       D    Yes        •
                                                                                       _No
      9.            Screening for MR SA
                                                                       0 Yes
                                            Infections.:,.    --
                      a) Do you have any
                                             le_sions, sores or ins
                                                                      ect bites? 0 Yes O
                     If so , do you ha v any                                                   No
                                                ope n/d rai nin g lesion
                                                                         s, sores, or ins ect bite
                     If yes , wh ere are the                                                       s? 0 Yes       0 No
                                             se lesions?
OB SE RV E:

     1.        B h :vior (including
                                    sta te of awareness,
                                                         me nta l status, appear
                 No rm al                                                         ance, conduct, tre mo
                                O Abnormal            If ab no rm al, des crib
                                                                                                        r and sweating) :
                                                                               e:
                                                                                             ---------------
 2.            Sk in As sessm ~;n tfu
                                      dln     g needle marks, traum
                                                                                                                                          --------
           • Yes             f fNo
                                                                    a markings, bru ise s,
                                                                                           lesions, jaundice, ras
                                                                                                                  hes, tattoos, an d infe
                                                                                                                                          station(s)
                If yes , de scr ibe :


3.         Is the re evi de nce of
                                   Ab use or Tra um a?
                                                                  0   Yes        e:J   No
               CR-2178 (Rev. 10-14)
                                                                            White - Inmate's Hea
                                                                                                 lth Record
                                                                                 Page 1 of 2                                                  RDA 1100




                                                                               CCI 000436
               Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 36 of 200 PageID #: 2119
                                                   .• ESSEE DEPARTMENT OF CORRECT
                                                            HEALTH SERVICES
                                                TRANSFER / DISCHARGE HEALTH SUMMARY


Name of Inmate:       ? le toad- &~ , {Jr,u z
                       Last                       T         Rrst     Initial
                                                                                    TDOC #      _,-J____1_?_J_I0__     DOB:             &-18-B.7?
Current Institution: _ ...... n. . . =-1- +----- ------- ----
                                w"""·                                                                     Transfer Date:        ~5"''-_
                                                                                                                                      . . _,_/-=0'--·-....J--==5"---------
Receiving Institution (if applicable):       __.l,.,,A.2<:....L
                                                          12J.-....L.1..4-_ _ _ _.,..__ _ _ _ _ _ __
Reason for Transfer/Discharge:                    'i~ir._~7-+l. .-.re. . . .rn"-'--h~,l--k-'______ ______ ______ _____
                                        _ _}....1....

 Requires Chronic Illness Monitoring:               0       yes ,_%no                         Last TB Screening/PPD:       (q · 1/ -,I £/ ¢tYJ.t71
 Requires Mental Health/Psychiatric Monitoring:                0   yes    yno               Last Periodic Health Appraisal: &-/ 8- ) (/ c /(f 55 A

 HEALTH HISTORY
 Check (✓) all conditions present

0     HIV/AIDS                                      D       Depression                  D   Hernia                     D   Prosthesis (specify)
D     Alcoholism                                    D       Diabetes                    D   High Cholesterol           D   Rheumatoid Arthritis
D     Anemia                                        D       Emphysema                   D   Hypertension               D   Stroke
D     Asthma                                        D       Epilepsy                    D   Kidney Disease             D   Suicide Attempt
D     Cancer (specify)                              D       Heart Disease               D   Liver Disease              D   Tuberculosis
D     Chemical Dependency                           D       Hepatitis C                 D   Multiple Sclerosis         D   Venereal Disease
0     COPD                                                                                                             D   Other (specify)

                                         -   CURRENT PHYSICIAN/DENTIST MEDICATION ORDERS -

                   Name of Drug                         Strength/
                                                                         Frequency           Last Dose           Medication
                                                                                                                                        Amounts
                                                         .B2!!!!                             Daterrlme            Sent(✓)
 1.
             _/
                                                                                                             y
                                                                                                                  •    N•                              DY         ON
 2.
            ('/)
                                                                                                             y
                                                                                                                  •    N•                              DY         ON
 3.
 4.         V
                                                                                                             y
                                                                                                                   •   N•                              DY         ON
                                                                                                             y
                                                                                                                  •    N•                              DY         ON
 5.                                                                                                          y
                                                                                                                  •    N•                              DY         ON
 6.
 7.
                                                                                                             y
                                                                                                             y
                                                                                                                  •0   N
                                                                                                                       N•
                                                                                                                            •                          DY
                                                                                                                                                       DY
                                                                                                                                                                  ON
                                                                                                                                                                  ON
 8.                                                                                                          y    n    N    •                          •      v   n   N

Brief Summary of Current Health Problems:                    It) 1-t. (~ j l .S }()l.(.~ ;.Ji S       I L.bl       :r,.


SPECIAL INSTRUCTIONS (e.g., Allergies, Diet, Impairments, Medical Appointments, etc.) :

                           Nt-yJft
Referred to Community Resources:                        •   Yes                _)2fNo        Specify Below:




Report Prepared By:                                                                                                       Date:     ,   t-j ,, )?, -   /.'J
Receiving Institution Review:
                                   ------  -------
                                        Signature/Professional Title- -- - -- - - -
                                                                                                                       Date:
                                                                                                                                  -----------


CR-1895 (Rev. 9-08)                                                                                                                     RDA 1458



                                                                        CCI 000437
        Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 37 of 200 PageID #: 2120
                                                TENNESSEE DEPARTMENT OF CORRECTION
                                     ACCIDENT / INCIDENT/ TRAUMATIC INJURY REPORT


                                                                     Q~ON
  Name:~l ~QV\+-., !JM
               Last                 First
                                                ma1- Middle
                                                                 Number:           4131\0                                          Date of Birth :            ~ -( ~ -       f3
  0       Employee                   --,i-1nmate                     O         Visitor                  0          Other

 Location (of
 occurrence) ___...
               __
                      lLv\l
                   .........
                              L \'i-
                        u. .:1...,1'
                            . -- - - - - - - -                  Date (of
                                                              occurrence)
                                                                                         1--l'l,o/1,......-
                                                                                      __;::v__--'-•_:>___
                                                                                                                          Time (of
                                                                                                                         occurrence)
                                                                                                                                                     00/).,~
                                                                                                                                                           // _,.,J
                                                                                                                                                  --=-"(\'--'--   ____
 Type of Injury/ Incident:                  0     Work-related                  D          Sports          D          Violence
                                            0     Use of Force                  ~          Other:

 Weapon, Property, Equipment, Machinery lnvolvement .\5pery) :

                                                                                                    0!~. .✓c....___,.¢"__,£1-f....:d'-1',-'-D.,..\.....A~t,---'-'-
                                                                                                                         1 1

 subject's Version (how situation occurred) :                  ........il;..z.__+1----~--+. . .
                                                          ~c.c..c:a
                                                           Q----41,,__N,. ....
                                                                          _e                                                                                         - ---

                                                                                                  X@,ature           of Subject
Witness' Version :



                                                                                                    Signature of Witness

                                                                                                                                    ,, r I       ,,
                                                                                                                                      -r-(J Ollf                       11'




       Date of Treatment                                      Time


Disposition :
                    Ji         Treated by Institutional Health
                               Service Staff

                      •        Transported to Community
                               Facility for Outpatient Care:
                                                                                                                           Facility
                      •        Tran sported to Community
                               Hospital for Inpatient Care :
                                                                                                                         Hospital
                      D        Other, explain :

       Did death result?               D    Yes                                          Relatives notified :                   D       Yes                ~No



CR-2592 (Rev. 6-01)                    White - Health Record             Canary - Safety Officer                    Pink - Clinic Officer                            RDA 1167


                                                                 CCI 000438
 Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 38 of 200 PageID #: 2121
                                                                                                                   Ne:-e,,y,., l"2-


                                                             LIMITED ACTIVITY NOTICE                        f
INMATE NAME :       'Pl-ea.sa/\r0tLut f¼trZ-
                        Last                                 Fiifs t                     Middle
                                                                                                         TDOC NUMBER:       4131 lO
   Please be advised that the above-named inmate is: (Specify)


   v            Confined to his/her living area except for:            -/Y'Yl lfl£ 5          i:::   r:Y1 etls
    -           Restricted from physical activity including participation in sports.

  _ ___,. Restricted to complete bed rest except for: _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ __ __

    ✓
  _ _ _ Unable to work a regularly scheduled assignment.

   - - Other:                       -
    Length of restrictio-n/-li-m-ite_d_a_c-ti-vi-ty-:   -x-3~-d-~--j--------------------
    Health problem:            \IY1:ec1Lc.o.J)
   Special instructions:           ~u O\u LG n.UY\                                 CV)V\          0\\{lAtf-

  Authorized      ~,funam(~ 0um,a




      CR-2893 (Rev. 6-01)                                                                                                  RDA 1458
         White - Inmate's Health Record                 Canary - Inmate   Pink - Correctional Officer   Goldenrod - Work Supervisor




                                                                CCI 000439
Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 39 of 200 PageID #: 2122
.,
         -                                      -NNESSEE DEPARTMENT OF CORREC,. JN

                                             CONSE NT/ REFUSAL OF INFLUENZA VACCINE



                                                             INSTITUTION

Name:        j::>le(1 ra1.l~l~c c.(   t3 4 z:
                                        {J         L         TOMIS#:    475 I 1D                       Date of Birth:   b /;'t /~ ~
                Last           <R'rst            Middle

O I agree to receive the influenza vaccination at the Tennessee Department of Correction.
                                                                                     ering the vaccine and had the opportunity to
I have received the Vaccine Information Sheet (VIS) from the nurse administ
                                                            have  not  experien    ced  serious side effects in the past after
ask questions. I attest that I am not allergic to eggs and
                                    allergic to eggs or has experien   ced  serious    side  effects refer to physician before
receiving the Influenza Vaccine (if
                                                                               vaccine. understand that I may experien ce mild
                                                                                           I
administering the vaccine) . I understand the possible side effects of this
                                                           injection  site.  I agree   that if I experience any of the listed mild,
side effects symptoms such as soreness/redness at the
                                        this vaccine as explaine d to  me,  I  will seek  immediate medical attention from the
rnoderate or severe side effects from
clinical service staff as soon as possible.


     Date:                              Time:
              ---------                                                                            (Signature of Patient)

     Witness:
                                                                                  Professional Title                           Date




     ~refus e to receive the Influenza vaccine
                                                                                    include increased risk of: getting sick from the
     I understand that if I do not receive the vaccine, the consequences may
                                                  g the disease   to others,  who  could  become ill, be hospitalized, or die as a
     illness the vaccine could prevent; spreadin
                                                                                      acknowledge that the Influenza vaccine will be
     result; being hospitalized for heart disease, stroke, and pneumonia. I also
                                                                    n' sick call procedu re.
     made available to me in the future by utilizing the institutio


     Date:


     Witness:
                                                                                                                               Date
                                                                                                                                       ,If
                                                                                  Professional Title

                                                                                                                            /tJ-Z'1- /C-(
     Witness:
                                                                                  Professional Title                            Date




                                                           Duplicat e as Needed                                                RDA 1458




                                                                             CCI 000440
             Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 40 of 200 PageID #: 2123
                                      TENNESSEE DEPARTMENT OF CORRECTION
                                                HEALTH SERVICES
                                             REFUSAL OF MEDICAL SERVICES


                         INSTITUTION _ _            __c_X_________
                                                 N_ E
                                                      Date         10     /;»    20   L3_        Timefilr>


    This is to certify that 10o.A.   :c Plea(atJf-W
                                              (Inmate's Nan
                                                                                                4-tsll 7}
                                                                                                   (TDOC Number\
    have been advised that I have been scheduled for the following medical services and/or have been advised to have

   _the following evaluations, treatment, or swgical/other procedures:

   F Iu,       UC\ ccJ ne., - i '""\ C. rcas-ee\ r i.S ~ ()f fn \) r-t ~ ~re_                       11 ln-e 5) 1 pa,5:5:ble_
    • f"\ t , ; m't r
         I                   ho~ ~ ta.\ i Z..Q-\--, ~ · I)) , ~ Ct{ rd ·,l\<..                                       \,   ccd-1 bn.s JI
     deo...-l-h                                 to +'h ~ V, r-- us'
            I am refusing the above listed medical services against the advice of the attending physician and/or the
   Health Services staff. I acknowledge that I have been informed of the risks involved by my refusal and hereby
   release the State of Tennessee, Department of Correction, and their employees from all responsibility for any ill
   effects which may be experienced as a result of this refusal. I also acknowledge this medical service may not be
   made readily available to me in the future unless an attending physician certifies my medical problem as a medical
   emergency.


   s;gned 1 ~             ')e!{J,.-~
                                 {Inmate)
                                                                          dl3/IV
                                                                            (TDOC number)
                                                                                                       10/8~/J3
                                                                                                            (Date)   '



   Witness:      f!ru (JOP11u.Lr(l
                                 (Signature)
                                                                                  K_,IJ
                                                                                      {Title)
                                                                                                       10/4J-6-,J
                                                                                                            (Date)



   Witness:                     C--
                                 (Slgnat, 2 )
                                                                                 Lio
                                                                                      (Title)
                                                                                                     1a-2/-/__J
                                                                                                            (Date)

                The above information has been read and explained to,


                                                                                                  but has refused to sign
                           (Inmate's Name)                                      (TDOC number)
   the form .



   Witness: _ _ _ _ _ _ _ _ _ _ __ _ _ _ __
                        (Signature)                                                   (Title)               (Date)


   Witness : _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                         (Signature)                                                  (Title)               (Date)




      CR-1984 (Rev. 4-00)                      Original - Health Record         Canary- File               RDA 1458



                                                                CCI 000441
Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 41 of 200 PageID #: 2124
'                                                                                             t-·
                                                                                               I



                         TDOC Mental Health/ Suicide Screening Inventory




     Suicide Risk Factors:                                                                                        Yes             No
      1.
      2.
              Has anyone in your family committed suicide?
              Have you ever thought about killing yourself?                                                       t
                                                                                                                                  -~
                                                                                                                                   )(_
      3.      Have you ever attempted to kill yourself?                                                           ~
                                                                                                                      '
      3.a     How many times?              IWhat method?                                                          I

      3.b     When was the most recent attempt?                                                                                          ~
      3.c     Have you ever been hospitalized as a result of an attempt?                                                  tl      i"2 ,·
                                                                                                                          .,''i
                                                                                                                                     ..
                                                                                                                                    ,,
      3.d     When and where was this hospitalization?                                                                              "'    i


      4.      Have you ever been diaqnosed with Depression?                                                       X
      5.
      6.
      7.
              Have you ever been diaqnosed with Maior Depression?
              Do you have, or have you had, a Drug or Alcohol problem?
              Have you experienced a significant loss in the past year?                                           X
                                                                                                                    "
                                                                                                                    X
      8.    Do you NOT HAVE a supportive family?                                                                                   X
                                                                                                        Totals    ""5>
              ** A Suicide Risk Factor Index score of over 3 is aiven a referral to Psychiatry I Psychology ...

                            II                                                                             111
                 Medium High Risk                                                                   High Suicide Risk
               3 to 5 Positive Factors                                                               Over 5 Factors
                         D                                                                               D
                                                         Low Suicide Risk
                                                           Undet~rtors


     CR 3431 - Mental Health Services Referral Completed:                                            YesD Noct=J

     Notes:




     Nurse: ~      AJ.,                                          Date: __.__
                                                                        (e:   f
                                                                            --'-  l3
                                                                               o_-___                    Time: ~




                                                                    CCI 000442
    Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 42 of 200 PageID #: 2125
                                                        TENNESSEE OEPARTMENT OF CORRECTION
                                                                                                                                          uHIT -                -,
                                                                 HEAl_TH QUESTIONNAIRE

                                                                                        NUlviBER        '±1''3 \ \ 0                       D'lE
                                                                          M1u • 1e


                                                        NECX                                                9         J-51 ,~                           lf(.)      iH~
                                                                                                                      PERlv\ANEl✓T                           ~
   RECEI\/ING L"JST ITU TION                                                                  [)JI.TE             I                    Tllv\E' ' ~

   INITIAL INTAKE                                       TEMPOP.APY TRANSFEP:                                                          TF:AI-.JSFEP. .
                                                                                        -----
  INOUIRE INTO :

              Have you ever had a positive:, TB test?                                        If yes, describe _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



                                  1.-.:aled tor any illness or health problem (including dental, venereal disease, or other infectious disease:;)')

                                                  l✓o            If yes, describe .                  =---+------------ -- -- -
                                                                                       -M.W-L-+1-"_,\P

              Do you have any physical, mental o r-..=_:_:__=-- plaints al this time?                           D No
              If yes. describe:       3      ~                         ~-ll dQ Cr~1
   4,         Are you currently taking any m e d i c a t i o n ( s ) ? ~                y    No     e:{ ~.,. f (\
              If yes, was the medication transferred with the inmate?                Q'Yes    D No              (requires visual verification)

   5         Have you recently or in the past, used alcohol or other drugs?               D Yes     ~

             If yes, describe: (what used, how much, how often, date of last use, any problems)


             Have y:J<! 1c,ver been i10.spitalized ior using aicohoi or other drugs 7                   D   Yes

             If ye:,. When

                                                               D No                  If yes, describe: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


  E          (F~rwom1:~
             a J __ MP    D       b) Are you pregnant?

             :, Have 1ou recently delivered?




                                                        I    Hear i ng aid - yes                                                                      :res
  S1
               Screening ior MR-S/), ,        cliom:·

              zi   I De   vou have any lesions,   sorP;: or insec1 bites'! D "er      p
              If :,c. do you nave an) open/draining lesions, sores, or insecl bites?
                                         1                                                    CJ   Ye~
              If yes, where are these lesions'!

C1 !:I S E R \I E :


            Behavio~ (inc:udi.-ig state of awareness mental status, appearance, conduct, 1femor and sweating)

        ~           rnrr.a •     0   Abnonnal               ,; abnormal. describe _ ___•_ _ __ _ __ _ __ _ __ _ _ __ __



            B: ov   deformit18s. conrlrl1o~ )(lf1 (mcludmf ne::.--Jle rrrarks, trauma r,1arkinp.            o-u,se;; lesion:.,   1au.-1d:::s,   ras.1e:_ :at/no'.. anc
        m1e::;:af1on,,:)        [J 1es       ~,,i -

             1r yes, describe




                                                                 CCI 000443
 Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 43 of 200 PageID #: 2126
                                                           l::NNESSEE DEPARTMENT OF CORREC  N
                                                                      HEAL TH SERVICES
                                                          TRANSFER/ DISCHARGE HEAL TH SUMMARY


     ·~me of Inmate        -8~ev-J--b~                              ",~C)(.\. ~a;            rnc,c ;:       ~-~3- l_l_Q_                DOB .         b         9 - L9 83
  Current Institution      ___                 (   0  CE A                                                             Transfer Date             _ __     ,9«--__,24:===--·4------"/3=-- - -
  Receiving Institution (if appl1cabie):            __Q fr'!- - ---
  Reason for Transfer/Discharge            _       _ __             Cg 1,,L,f:_t~       _

  Requires Chronic illness fv1on1loring                        '- yes                                    Last T 3 g,PPD

  Requires Mental Health/Psychiatric Moni,onn,:;:                                                     Last P8riodic H,2.alth .t,ppraisal

   HEAL TH HISTORY
   Check ( \') all conditions present

  D     HIV/AIDS                                               i    Depression                -       Hernia                        n
                                                                                                                                    L....J   Prosthesis (specifyi
  D     Alcoholism                                         C        Oiat 2tes
                                                                          1
                                                                                             0        ,-{igh Cr,oleste,ol           0        Rheumatoid Arthritis
                                                           ,-,
  D     Anemia                                             LJ Emphysema                      [J Hypenensi0n                         0        Stroke
  D
  D
        Asthma                                             [J Epilepsy
                                                                                             •D       Kidney Disease
                                                                                                                                   •         Suicide Atiempt
        Cancer (specify;                                   D        Heart Disease                     Liver Disease
                                                                                                                                   •         Tuberculosis
 0
 0
        Chemical Dependency
                                                           •        Hepatitis C              D        Multiple Sderosis
                                                                                                                                   •         Venereal Disease
        COPD
                                                                                                                                   •         Other (specify)

                                           --- CURRENT PHYSICIAN/DENTIST MEDICATION ORDERS ---

                                                                                                        Last Dose               Medication
                      Name of Drug                                                                                                                     Amounts
                                                                                                        Date/Time                Sent I,\

   .1
   2
   3                                                       I                    I                                         • y          N•             .                  DY         ON
   4,                                                      :                  I                   :                     y
                                                                                                                          •           N
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                                                                              ;
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   6.
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                                                                                                                                                                         DY
                                                                                                                                                                                    ON
                                                                                                                                                                                    ON
   7                                                      1                   I                   I
                                                                                                  I                    I YD ~✓ 0                                         DY         ON
                                                           I
  8.                                                       I                  I                   '                    IY D N 0                                          DY         ON
 Brief Summary of Current Health Problems:




 SPECIAL INSTRUCTIONS (e.g., Allergies, Diet, Impairments, Medical Appointments, etc.) :

        f\-/K~
Referred to Community Resources:                                D   Yes             0   No              Specify Below ·




Report Prepared By                                                                                                                      Date . _      _._9.1....=._2-=-'_,..3,~-___i..,,l..i.~- -


,,eceiviag lastitutioa Review,       l'Qc,r(\,,                        ~..,.\ ~ Y')                                                    Date         9 ,-        as --{J.
                                  v~                               0
                                                                   T   n~ssional Title



CR-1895 /Rev. 9-08)                                                       Duplicate as Needed                                                         RDA 1458




                                                                   CCI 000444
   Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 44 of 200 PageID #: 2127
                                                TENNESSEE DEPARTMENT OF CORRECTION
                                                       HEAL TH QUESTIONNAIRE


 NAME:                                                                              NUMBER    _)/~7.-~ _/i_'/_tJ_ _       DOB
                                             First


 RECEIVING INSTITUTION :                      CCX                                         DATE:   __,
                                                                                                  g.__1_2-'//-----L-
                                                                                                                 / _S_   TIME: ~
                                                                                                                                5¾-        a.m.


 INITIAL INTAKE:                                 TEMPORARY TRANSFER:                ~                        PERMANENT TRANSFER:
                                                                                                                                      -----
INQUIRE INTO:

 1.       Have you ever had a positive TB test?             C]Yes       ~                If yes, describe _ _ _ _ _ __ _ _ __ _ _ __


 2.       Are you bei_
                     ~ Jreated for any illness or health problem (including dental, vener1;a1 disease, or other infectious diseases)?

          - --~YAe~s              _ __     No                If yes, describe:     - -=--
                                                                                        ---
                                                                                          - --
                                                                                             - - - -- - - -- -- - - -

 3.                                                             omplaints at this time? ~Yes            D    No
          If yes, describe:
 4. • Are you currently taking any medication(s)?                         D Noes              ~ ~vc..-1r..<.-e"'.._~v .. -
           If yes, was the medication transferred with the inmate?     ~s     D             No      /   ~io'fi)
 5.       _Have you recently or in the past, used alcohol or other drugs? D Yes              Ji1- No
          If yes, describe: (what used, how much, how often, date of last use, any problems)


6.        Have you ever been hospitalized for using alcohol or other drugs?                   • Yes ,jl'No
          If yes, When :
7._
      0
          Do you have any allergies?       l6        Yes    •    No           If yes, describe: _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


8.        /Fo,~
          a) LMP   D          b) Are yo pregnant?           D Yes       •    No     Number of months _ _ _ _
          c) Have you   r8Jte1y d    iv ~                   D Yes       D    No     Date: _ __ _ _ _ _ _ _ _ _ _ _ _ _ __

          d) Are you   ofbl.¢1)    nlr~ls?                  D Yes       D    No     e) Any gynecological problems? If yes describe:




9.          Screening for MRSA Infections:
           a) Do you have any lesions, sores or insect bites?          D    Yes   ,XNo
           If so, do you have any open/draining lesions, sores , or insect bites?         D Yes •       No
            If yes, where are these lesions?

OBSERVE:

          Behavior (including state of awareness, mental status, appearance, conduct, tremor and sweating):
      _;(..Normal             D Abnormal              If abnormal, describe:


2.        Body deformities, conditio~in (including needle marks, trauma markings, bruises, lesions, jaundice, rashes, tattoos, and
          infestation(s)  D Yes      .J"l-No
           If yes, describe:


3.        Evidence of Abuse and/or Trauma?
            CR-2178 (Rev. 10-11)
                                                      D    Yes
                                                                   ~
                                                                   White - Inmate's Health Record                               RDA 1100

                                                                     CCI 000445
     Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 45 of 200 PageID #: 2128
                                                                                                                                                                        CCI 000446
                                                                                                                                                                 .,._
                                              );
                                            (._,,



                  •
                             •
                                             TEN NES SEE DEP ART MEN T OF COR
                                                                               REC TION
                         .                            FOO D HAN DLE R'S PER MIT


                                                                      INSTITUT ION
NAME: "_;: :j[J _
                                                             t'JUMBER :           I I         j   \   (   CJ.                  DOB:      0-\ g_q 5
TYP E OF HEA LTH REV IEW; Designat
                                   e with a check(✓) mark.

              INIT IAL _
                       ,__ _ _ _                        ANNUAL _ __ _ _                                    INTERVAL _ _ __                 _
A health record revie w is now comp lete
                                         on the abov e nam ed inmate.

The abov e nam ed inma te had a curre
                                      nt tube rculo sis {TB) scre enin g.

                      This permit is valid for one (1) year
                                                            unless inmate has an intervening heal
                      requiring removal from food service                                         th condition
                                                                              assignment

                                   l'
    AUTHORIZED BY :_'-. ,\ .\
                     _____                                 _ _ _ _ __
                                         Health Gafe Provider SlgriaUire/Professlon
                                                                                         _
                                                                                   al Trtie
                                                                                                      _    _    _   _       DATE:      (o,-\~--\ ~
CR-2239 (Rev. 7-01)              White-Food Service Manager         Canary-Health Services File                 Pink-Institutional Jobs Coordinator   RDA1 100




            ·"'          Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 46 of 200 PageID #: 2129
,
                                                   TENNESSEE DEPARTMENT OF CORRECTION
                                        ~                                                                      f                                  .      .
     rw,e,        6,Jea,,
     RECEIVINGINSTITUTION=
                             •          Dj, ())tlz_.,.
                                                       l'1)c&
                                                                   jiEALTH QUESTIONNAIRE
                                                                                          NUMBER


                                                                                                 DATE:
                                                                                                         ~Z3/l(J
                                                                                                           I




                                                                                                          b,lo               ,/3TIME: ~
                                                                                                                                          DOB    lo-/g.-f3
     INITIAL INTAKE:            ----                   TEMPORARY TRANSFER: - - --                                      PERMANENT TRANSFER:                 X
    IN9YIBE INTO:
     1.       Have you ever had a positive TB test?            , .Yes         A   No            If yea, describe _ _ _ _ _ _ _ _ _ _ _ _ __


     2.       Arx .u being treated for any illness or health problem (Including

                          Yes      _ _ _ No                        If yea, describe:   _.__...._.=....:::+.:....;::;__...__~,_.~.J,..L.JL...:::=............:;...------

     3.       Do you have any physical,         ntal   'f den,J oomplalnta       t this time?                      •   No
              If yea, describe:                        /A.___. ~
     4.    Are you currently taking any medlcatlon(s)?            D Yes     No
              If yea, was the medication transferred with the Inmate?  D Yes r!{ N~ (requires visual verification)
     5.    Have you recently or In the past, used alcohol or other drugs? D Yes .A No
           If yea, descrlbw. (what used, how much, how often, date of last use, any problems)


     6.    Have you ever been hospitalized for using alcohol or other drugs?                           0Yn                  No

           If yea, When: - - - -- - - --                      --w---------------------------
     7.    Do you have any allergies? D Yea                    ~      o            If yN, describe: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


     8.
                                                                                          Number of months _ __
                                                                                          Date: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                          ~ n ~:---) Any gynecological problems?lf yea describe:




    9.         Screening for MRSA Infections:
               a) Do you have any lesions, sores or insect bites?            J&1. Yes O   No
              If so, do you have any open/draining lesions, sores, or insect bites?             D   Yes~ No
              If yea, where are these lesions?          __                            . <.l,lk,......,J...__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ __
                                                          Q....,;.l\..,.__'.:..f\...,()..,.

    OBS ERVE:
    1.    Behavior (Including state of awareness, mental status, appearance, conduct, tremor and sweatl ng):
          ~      orrnal         D Abnormal               If abnonna~ describe: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


    2.    Body defonnities,, conditlon~ skin (Including needle marks, trauma markings, brolses, lesions, jaundice, rashes, tattoos, and
          infestatlon(s)     • Yes      If---
                                        No
              If yea, describe:


    3.    Evidence of Abuse and/or Trauma?              D   Yes     J(     No

              CR-2178 (Rev. 10-07)                                        While - Inmate's Health Record                                       RDA 1100
                                                                               Page 1 of 2




                                                                    CCI 000447
    Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 47 of 200 PageID #: 2130
                                                                T  'JESSEE DEPJ\RT MErH OF CORRr  h....
                                                                           HEAL TH SERVICE S
                                                                TRANSF ER/ DISCHAR GE HEAL TH SUMMAR Y


    Name of Inmate:             R msttNr
                                  H -Be:v.
                                   Last
                                                                        lso1tz_                     TDOC#      '7"7.3 //0               DOB:        tfJ ~ -    I 8 - 1983
                                                                         First      Initial
    Current Institution:                               Cc    ~-- - - - - - - - - - - - - -                              Transfer Date:        ----=-0_'1
                                                                                                                                                      =---__,/'-'()
                                                                                                                                                               . ~ -~-0=-.. :1/...3=---
                                                                                                                                                                             . ;:       -
    Receivinri Institution (if applicable): -                --...:~=:::--=:::...:..-..!~ - - - - - - - - - - - -
    Reason for Transfer/D ischarge:

    Requires Chrcnic Illness Monitoring:                            0   yes      ZJno                      Last TB Screeni,    ~ _k ·/:?~.-/£ "ft.__rofn=_.
    Requires Mental Health/Psy chiatric Monitoring :                          Dyes        ~no            Last Periodic Health Appraisal:            ~ • ~l/, //
    HEALTH HISTORY
    Check(✓) all conditions present

   0
   0
         HIV/Al:JS
                                                                 •      Depression                  D    Hernia
                                                                                                                                    •    Prosthesis (specify)
         ,,C..!coholism
                                                                 •      Diabetes
                                                                                                    •    High Cholestero l          0   Rheumato id Arthritis
  •      Anemia
                                                                 •      EmphysemcJ
                                                                                                    •0   Hypertens ion        --   •    Stroke
  •      Asthm,;
                                                                 •      Epilepsy                         Kidney Disease
                                                                                                                                   •D   Suicide A_ttempt
  •      Cancer (specify)
                                                                 •      Heart Disease
                                                                                                    •    Liver Disease                  Tuberculos is
  •      Chemical Dependen cy
                                                                 •      Hepatitis C
                                                                                                    •    Multiple Sclerosis
                                                                                                                                   •    Venereal Disease
  •      COPD
                                                                                                                                   •    Other (specify)

                                                           --- CURRENT PHYSICIAN/DENTIST MEDICATION ORDERS ---

                              Name of Drug                          Strength/                             Last Dose           Medication
                                                                                      Frequency                                                    Amounts
                                                                     Route                                Date/Time            Sent(✓)
                              c..,__
    1.                .r,
    2.
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    3.                           ./ I
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    4.                    /
                                                                                                                         y
                                                                                                                              •    N     D                        DY       ON
    5.            /                          I
                                                                                                                         y
                                                                                                                              •    N     D                        DY       ON
   6.                 \ ....__,./
                                                                                                                         y
                                                                                                                              •    N     D                        DY       ON
   7.
                                                                                                                         y
                                                                                                                              •    N     •D                       DY       ON
   8.
                                                                                                                         y
                                                                                                                              •    N                              DY       ON
                                                                                                                         y
                                                                                                                              •    N     D                        !J   y   ON
  Brief Summary of Cur-Fent Health problems :


      ~~~
 SPECIAL IN!::TRUCTIONS (e.g., Allergies, Diet, Impairments, Medical Appointm
                                                                              ents, etc.) :
              NllDA                                                                                  -
 Referred to C:,mmuni ty Resource s:                             •      Yes               ~              Specify Below:




Report Prepan,d By:



Receiving Institution Review:                                                                                                      Date: _ _ _ _ __ _ __ __
                                                                    Signature/P rofessional Title



CR-1895 (Rev. 9-08)                                                           Duplicate as Ne,1ded                                              RDA 1458




                                                                 CCI 000448
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r



           C
           CORRECl'IONS CORPORATION OF AMERICA


                                 Whiteville Co"ectlonal Facility Medical Service
                                       Tennessee Sick Call Procedure•:

               1. Routine sick call shall be conducted Monday Thur Friday and moat Saturday•
               outlined In the Inmate hand book. Routine alck call also Includes Dental, Psychiatric,
                                                  and Providers.

             2. To acceH health care Inmate• must sign up on a sick call request from and place In
            medlcal box to be picked up by medlcal staff by 1:00pm a pHa will be sent to the Inmate
                            for appointment the following day (Monday thur Friday).

               3. A licensed medlcal staff will visit the segregation unit at leaat dally for sick call.

            4. $3.00 co-pay will be charged In accordance with T.D.O.C. policy 113.15 Inmate• co-pay
                        for regular sick call and $5.00 for emergency or not routine visit.I.

              5. PIii window will be opened at the following time• AM chow call and PM chow call.

                         6. Medical staff Is available 24 hours per day for emergencl••·

              7. Handouts on H.I.V /A.I.D.S and S.T.D.S. explained to Inmate• and a copy given to
                                                    Inmates.

                                    8. Procedure In flllng a medlcal grievance.

             9. To access/receive KOP (keep on person) medication Inmate• must check channel. 7

                        Whiteville Network for dates and time to pick up KOP meds.



                             Inmates signaruJ- ~               ~ Date: (a~{().-( 3
                             Slaff Sl911atu1e.   ~ btr4 ,Ii l~ b(o-( 3



                                                                    CCI 000449
    Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 49 of 200 PageID #: 2132
✓
                                                TENNESSEE DEPARTMENT OF CORRECTION
                                       ACCIDENT/ INCIDENT/ [UMATIC INJURY REPORT

                                                                            CF
                                                                    IN STITUTION



                                                                                                            Date ofB;rthc •


     •                                                              D
                                                                                     l    D
              Employee                          Inmate                  Visitor                 Other

     Location (of
     occurrence) _,_~_
                       M__.u-,c.._ _ _____ _
                             ~                                  Date (of
                                                              occurrence)
                                                                            o{ r3 t /'\ _
                                                                            ~f----t---C?Z,-~
                                                                            ---1-
                                                                                                       Time (of ·
                                                                                                      occurrence) _
                                                                                                                    /       ~L
                                                                                                                         _.__----1(1"
                                                                                                                               :i--L---C---e.--
                                            •
     Type of Injury / Incident:

                                            •
                                                    Work-related
                                                    Use of Force

     Weapon, Property, Equipment, Machinery Involvement (Specify):
                                                                        :2' ~~;: '. oiid~                            R21E14
     Subject's Version (how situation occurred) :



                                                                                       Signature of Subject
     Witness' Version :




    Plan :




             Date of Treatment                                nr
      .     'I'
    0 isposi ion :   ~ Service
                       Treated by Institutional Health
                               Staff

                       •         Transported to Community
                                 Facility for Outpatient Care:
                                                                                                       Facility
                       •         T rans ported to Comm unity
                                 Hosp ital for Inp ati ent Care :
                                                                                                       Hospit al
                       D         Other, explain :

             Did death result?            D     Yes                           Relatives notified:         D        Yes      ~       o




     CR-2592 (Rev. 6-01)                  White - Health Record      Canary- Safety Officer         Pink - Clinic Officer        RD/\




                                                                    CCI 000450
    Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 50 of 200 PageID #: 2133
      /
                                   INMATE REQUEST FORM
                                                                                         Form 14-1 OOA



                                                DEPT:Mec/4~al t(ec   or.ls   DATE:   5'/; 7 /J 3
REQUEST:     H.s, Gv t,Jrale. Me   ,·,v hvuie ;y,aJ (24Jc( -hlc(Me. Idol L      Cqe,J   cerye} f
+~c   ct   COP,!/
             I
                  ,-£~· wd,··, . y/ re ,2ccfs ShcJL,J,iJ' f6af Z hqve, hee-v dc.vufA-'Ofed
,,.14. Past huMc;,h~ ,£Ire):\° Q,-s,n,kr._I/.c re.i7ue>6°6§1 .a ccr-c/ o,£ I




                                                                CCI 000451
Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 51 of 200 PageID #: 2134
                                                ".
                                                    '


                    TDOC Ntental Health / Suicide Screening
                                                                              Inventory
                    Ntuno: -'fJ/,eq;g//1-tJ~t/ &ll z DOB
                                            I
                                                         :l/_fjj~ ID#: . . l/?31/o   Ins t.:~
                                                                                        .
               ·suicide Risk Factors:
                #   Risl<'Factor
                                                                                                              Yes. No




                                                                                -z.o,



                                                                             •. ?
                                                                             toblem?



                                                                                                                 o·

                                                                                                       Ill.
                       . Medium High Risk
    ,,
     ;                    3 to 5 positive factors                                       High Suicide Hisk
                                                                                            Over 5 factors
                                                                                            I

                                                                                            1 ·.       e·
                                                                                                   '

                                                        Low Sui dde Risk
                                                           Under-3 factors

                                                            I /




I
\
\
                                                                     CCI 000452
     Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 52 of 200 PageID #: 2135
                                   . TENNESSEE DEPARTMENT OF CORRECTION
          2012-2013 DECLINATION OF INACTIVATED INJECTABLE INFC.UENZA
                                 VACCINATION

                                              MCC,C
                                                  INSTITUTION

Name                                           Number ':{] ~ \ ( O                    Date of Birth      /R7
                                                                                                      ~ 1t

       I have been recommended to receive and offered the Inactivated Injectable Influenza
       Vaccination.

       I acknowledge that I am aware of the following facts:

          •   I understand that I cannot get lnfluenz·a from the lnflu,nza vaccine.        ·,
          •   I understand that the strains of virus that cause lnflueba infection change almost each
              year and, even If they do not change, my Immunity declines over time. This Is why
              vaccination Is recommende~ every year.                 ··
          •   If I become Infected with Influenza, I can spread illness to others even when my
              symptoms are mild or non-existent.
          •   If I contract Influenza, I can shed the virus for 24 hours before Influenza symptoms
              appear. Spreading the Influenza virus to others.
          •   Influenza Is a serious respiratory disease that kills thousands of people in the United
              States every year.
          •   The consequences of my refusing to be vaccinated could have life-threatening
              consequences to my health and the health of those whom I have contact with.
          •   The most serious complication lricludes the potential of death.

       I am choosing to decline Influenza vaccination for the following reasons:




       I have read and fully understand the Information on this declination form.




   •   ~ offuent



                                               OJAI                             l t -)_'") ... \
       Signature of Health Care Provider                                       Date


                                               ATTACHMENT I




                                                                CCI 000453
Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 53 of 200 PageID #: 2136
                               TENNESSEE DEPARTMENT OF CORRECTION
                          INSTITUTIONAL MENTAL HEALTH SERVICES REFERRAL

                                           CCA - HARDEMAN c -. UN r t
                                                             INSTITUTION



                !?--+~--t-.g-tJ.~~~,.,c.:.~:...;....l\.....,t-._-___,~--b---+=-.-------,--,-,-- -
           -----"f-:
               ibtst                                  ~ First                     Middle
                                                                                                    NUMBER:         l/7Jll D
  PRESENTING PROBLEMS:




      SEND REFERRAL FORM TO INSTITUTIONAL MENTAL HEALTH COORDINATOR



 RECEIVED BY     Q~ (I;. Jldd £MD
                         SignwemieMental Health Professional                                                               Time




 _ _ _ _ _ _ _ _ _ _ _ _ _ DATE :                                                 ·z/!I'/1 :2             TIME:      ?"   Y,5;..f/.#

                                                                     '1,4(! ( ~~           Signature/Professional Title




      CR-3431 (Rev. 9-02)                  Duplicate-as-Needed or Printed by TRICOR                                  RDA 1100




                                                                CCI 000454
Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 54 of 200 PageID #: 2137
                                           TENNESSEE DEPARTMENT OF CORRECTION
                                                     HEALTH SERVICES
                                               REFUSAL OF MEDICAL SERVICES


                              INSTITUTION      _-J..·ti__L_-t_-.....F_·_________ _
                                                               Date /   <9/J5 /        20li._                  Time   I i .' J=>     W)PM


This is to certify that I   k7M-k      P/cl '/      'A:Jv   f-~
                                                            (lnmatName)
                                                                                                              -ic 7 l / / fJ
                                                                                                              CTOC Number)
have been advised that I have been scheduled for the following medical services and/or have been advised to
have
the following evaluations, treatment, or surgical/other procedures :

   FJ t,f,       ·   <5h trf · f o Io~ t       vt ,. - ) -/hf       •
                                                                     f lt✓t


        I am refusing the above listed medical services against the :Cidvise of the attending physician and/or tnb
Healtl1 Services staff. I acknowlP-dge that I have been in~ormed c'f the risks involved by my refusal and hereby
release the State of Tennessee·, Department of CorrectirJn. and their employees from all responsibility for any ill
effects which may b,,·J experienced as a result of thi::i refusal. I also acknowledge this medical service may not be
made readily available to me in the future unless an attending physician certifies my medical problem as a medical
emergency.


   Signed : -
               '-/!,c-rJ-:f;,f ~ ~a ,/-t
                        ✓           (lnma e)
                                               ~
                                                    '-
                                                                                   _,:/ --r3 /
                                                                                  (TOOC number)
                                                                                                 I (.                 I    ;;1-/IS/tr
                                                                                                                          (Date)




                                                                                                                1.;;JJ.S/1 (

               The above information has been read and explained to,

                                                                                                        but has refused to sign
                                  (Inmate's Name)                                 (TDOC number)
               this form .
   Witness:
                                 (Signature)                                          (Tltle)                             (Date)



   Witness:
                                 (Signature)                                          (Title)                             (Date)


CR-1984 (Rev. 4-00)                              Original - Health Record             Canary- File                        RDA 1458




                                                                    CCI 000455
    Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 55 of 200 PageID #: 2138
                                                 TENNESSEE DEPARTMENT OF CORRECTION
                                                           HEALTH SERVICES
                                                 TRANSFER/ DISCHARGE HEALTH SUMMARY


Name of'1nmate:          Plea:5oo:t-Be\4J -::eoo.:::t.
                         Last
                                                        -t
                                                        #irsl         Initial
                                                                                      TDOC#     4131 lC                    DOB:


Current Institution:   - ~ll.._.)u.[5__.,__,,'-'-p_ _ _ __ _ __ _ _ __ _ __ _                              Transfer Date: _                              J /,__....I..,.
                                                                                                                                      __,,'"3"""--/f-'d=---~         J _ _ __



Receiving Institution (if applicable):
Reason for Transfer/Discharge:
                                                 ru.r-_
                                                 ~



Requires Chronic Illness Monitoring:               g-(es           Ono                        Last TB Screening/PPD: _ _                                             .e.___
                                                                                                                        ;;z--1--(,/a,o....,<5:~/J,...._l____,~<=-LL.U-m
                                                                                                                                                  r l
 Requires Mental Health/Psychiatric Monitoring:              D     yes                                                        ____
                                                                                            Last Periodic Health Appraisal: _ ~            {i__a~4-/~J. _I__-___
 HEALTH HISTORY
 Check ( v) all conditions present

0     HIV/AIDS                                      D    Depression                     D    Hernia                      D    Prosthesis (specify)
0     Alcoholism                                    •    Diabetes                       0    High Cholesterol            D    Rheumatoid Arthritis
0     Anemia                                        D    Emphysema                      D    Hypertension                0    Stroke
0     Asthma                                        •    Epilepsy                       0    Kidney Disease              D
                                                                                                                         D
                                                                                                                              Suicide Attempt
0     Cancer (speciiy)                              D    Heart Disease                  D    Liver Disease                    Tuberculosis
 D    Chemical Dependency                           0 Hepatitis C                       0    Multiple Sderosis           0       Venereal Disease         A            ,
 0 COPD                                                                                                                    GH)ther (spediy)           /fl~ J f5
                                             -   CURRENT PHYSICIAN/DENTIST MEDICATION ORDERS -

                                                        Strength/                              Last Dose              Medication          Amounts
                       Name ofDrua                                              Frequency
                                                         Route                                 Date/Time               SentM

           t-lAt-i+iY\          \ ('\ .M.A        \/1 ~~        j;;   Al 'ld,                                    y     D     N    ~         j,(()/J        ~         • N
    2.        -                          J                        J              _J                              y     D     N    D                        Dy        ON
    3.                                                                                                           y
                                                                                                                       •     N    D                        DY        • N
    t.                                                                                                           y     •     N •                           DY        • N
     s.                                                                                                          y     •     N D                           DY        ON
     6.                                                                                                          y     •     N •                           DY        • N
     7.                                                                                                          y
                                                                                                                       •     N •                            •    y   • N
     8.                                                                                                           y    •     ND                             DY       ON

    Brief Summary of Current Health Problems:




    SPECIAL INSTRUCTIONS (e.g., Allergies, Diet, tmpainnents, Medical Appointments, etc.) :

     NK~ l          V::-{ u. Ai~,t~                     .5}'~a\                  ·
    Referred to Community Resources:                     •      Yes                              Specify Below:




    Report Prepared By:



     Receiving Institution Review:
                                           =::~:__
                                         f:t:
                                        -~-~~""-"'-'-:=-~~=;,~~~ ='-·_ _ _ __ __
                                                                Signa re/Pro~iooal Trlle
                                                                                                                                  Date:



                                                                                                                                 Date:     J'
                                                                                                                                                /~
                                                                                                                                             8/&JJL/
                                                                                                                                                /,)..1h1

     CR-1895 (Rev. 9-08)                                                 Duplicate as Needed                                                  RDA 1458



                                                                         CCI 000456
         Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 56 of 200 PageID #: 2139
                                                                                                                              DOB
                                                                                                                                                       .,
                                                                                                                                                 ,·,.-·.ll.
                                                                                                                                                 ''(




                                                                                             DATE:    d     /_)J I       II   TIME:~

                                                  TEMPORARY TRANSFER:                                       PERMANENT TRANSFER: __        ___
                                                                                                                                          V---
     INITIAL INTAKE:                                                                -----
    INQUIRE INTO:

     1.   Have you ever ha~ a positive TB test?          • Yes            ~              If yes, describe   ---------~--:- -->-,:----
                                                                                                                             . ~

     2 . . Are you being treated for any Illness or healthi problem (including denta venereal disease, or other Infectious diseases)?

          _ _ _ Yes                   ~                   lfyes,describe:           -------1-- ----------- ------
     3.   Do you have any physical, mental or dental complaints at this time?                    es     ONo
        If yes, describe:         T h-cN'e.. ~ fu,.; a tit .f-ies
-·---- - - - - -- -- ---                                                     -Yes     O No                        {;'L   n
     4:   Are yoa currently taking ·any metlication(s)?
          If yes, was the medication transferred with the inmate?               IDes [J No            • Jrequires visual ve
     5.   Have you recently or in the past, used alcohol or other drugs?
                                        '                    j
                                                                                      O Ye
          If yes, describe: (what used, how much, how often, date of last use, an problems)
                                                                                                 0"No
                                                                                                              •                           I
                                                                                        lj
     6.   Have you ever been hospitalized for using alcohol or other drugs?                      ·•   Yes     ~
          If yes, When: ---------:r---- -------.------, ,------:--'.:7" ""------:------ ;----
     7.   Do you have any allergies? es  O No     If yes, desc~be: /2~~'-L~Sd:;L_~ 1iitJe.c.~£LJ;___

          1
           0 0/f:eJ.          dus r; c:477~\ ,d.                                             :
                                                         0       Yes      O No        Numb er of months _ __
                                                                                             1

                                                         D Yes            • No        Date: i- - - - - - - - - - - - , - - - -
                                                         d Yes            O No        e) An gynecological problems? If yes describe:




     9.       Screening for MRSA Infections:
              a) Do you hav.e any lesions, sores or insect bites?        O Yes      ~o       j
              If so, do you have any open/draining lesions, sores, or insect bites?          lb Y e s ~
              If yes, Whflte are these lesions?

    OBSERVE:

     1.   Beh3/ior (including state of awareness, mental status, appearance: o· duct, tremor an sweating :
                             O Abnormal
          g'Normal                                  If abnonnal, describe:
                                                                                    -------- -------- -----
     2.   Body deformities, condition~efn(inc/udlng needle marks, trauma m~ings, bruises, lesions, Jaundice, r_ashes, tattoos, and
          infestation(s) D Yes E::f No                                                                              · '
              If yes, describe:



              CR-217!3 (Rev. 10-07)                                    White - Inmate's Heal h Record                               ADA 1100 .
                                                                            Page 1 of 2




                                                                  CCI 000457
  Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 57 of 200 PageID #: 2140
                                                                                              I
    3.       Evidence of Abuse and/or Trauma?         0   Ye~       ~                  11    ,1

 MENTAL HEALT H:

  1.         Is the inmate presenting behavior(s) that are c:onsidered:




J                                                                                            I
                                           D   Anxious              O    Antagonistic/Hosti/e             D    Hallucinations
                                                  0   Withdrawn/Avoidant                 0       Depressed/Hopeless
  2.         Is the inmate presenting disorga~ej,thought? ( Unable to track questions and/or present responses In log/cal or connected
             manner)        D Yes           tyNo
  3.         Have you ever been in a mental hospital? i D Yes                        ~
             If yes, when: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                    Hew often? _ _ _ _ _ _ _ _ _ _ _ _ _ __

             Have you ever been treated for mental health or substance abus·e?               [     Yes          B'No            MH or A&D (circle one)
             Have you ever attempted to kill yourself?     0       Yes         ~o
             lfyes,When: _ _ _ _ _ _ _ _ _ _ _ _ How?                              _ _....J,..._ _ _ _ _ _ _ _              How many times?

             Are you thinking about suicide now?      0   Yes             GrNo
             Has a parent, other family member, or close friend committed suicide? '                D    Yes


  4.         Do you have a history or past or current head! trauma?            0   Yes
             If yes, explain type of injury:   -------------4---1-------------------
  5.         As an adult or child, have you personally experienced being:          ~

             O   Sexually abused           D   Physically abused               D   Emotionally abused
             If yes, explain:



 DISPOSITION:

         _             l ~ o using                             1
                                                                         ___       Intake jousing with prompt referral appointment
         ~ e n e r a l housing .                                         _ _ _ Genera housing with prompt/appropriate referral appointment
                       Referred to apo/6.priate health or mental health services provl er due· to emergency.

 ADDITIONAL COMME                         SON PROGRESS NOTES·                        C -1884 ·

             • Yes
                                                                                                           Employee Signature and Title

                                                                                             I
                                                                                             I



 I have received a copy of the Tennessee. Department of Correct:~n lnd/or Institutional - Inmate Rules and Regulations
 handbook regarding the procedure for obtaining routine and emergency health care (medical, dental, substance abuse,
 and/or mental health, and co-pay requirements} . These have been; explained to· me         I Understand    to access ana                      ,,ow
 healthcare services.                     ·


                                                                                                                                          5



               CR-2178 (Rev: 10·07)                                  White - Inmate's Heal h Record                                           ROA 1100
                                                                          Page2of 2




                                                                CCI 000458
Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 58 of 200 PageID #: 2141
                                                                                                                    3


                               NURSE SICK CALL PROCEDUR
                                                       ES
         1.    Sick call slips wil l be fille d out
                                                     by the inm ate s. Slips will sta
              com pla int Is ("I have a col d"                                        te wh at the hea lth
                                                  or "M y gums are swo llen " or
                                                                                   "M y back hur ts." )
              Complaints tha t are not spe
                                                 cific such as "I wa nt to see the
                                                                                    doc tor" or "Sick" or
              "de nta l" wil l not be processed
                                                    . They wil l be not ed and sen
                                                                                    t back to the inm ate via in-
              house ma il.
         2. Sick call slips wil l be picked
                                            up by the nurses each nig ht
                                                                         exc       ept for Friday, Saturday
             and the nig ht prio r to a hol ida
                                                y. There is no sick call on wee
                                                                                    kends and holidays. Sick
             call slips mu st be placed in the
                                                 WHITE box in the pod in ord
                                                                                  er to be processed. Those
            received via in-house ma il wil
                                               l not be processed.
        3. The nig ht shi ft RN will sor
                                          t the sick call slips according
                                                                           to wh ere the y need to be
            refe rred , such as "nu rse sick
                                              call," "MD /FN P, "Me nta l Hea
       4. Those inm ate s wh o already                                          lth, " and "De nta l."
                                             have refe rral s for the"-co mp
                                                                             lain ts listed on the ir sick call
           slips wil l not be seen on sick
                                             call. The slip wil l be not ed and
                                                                                   retu rne d to the inm ate via
           in-h ous e mail.
       5. Passes wil l be sent out for
                                          nurse sick call to tho se inm ate
                                                                              s wh o will be seen by the
           nurse. If an inm ate does not
                                              receive a pass, tha t means he
                                                                                 has been refe rred
          app rop riat ely and need not
                                            rep ort to me dic al. Pass mu
                                                                           st be signed by INMATE, not
          sta ff.
       6. The charts of those inmate
                                      s wh o sign up for a me d refi
                                                                     ll wil l be reviewed. If the re
          an act ive ord er and the me                                                               is
                                         d is due, it wil l be reo rde red
                                                                           . If the re is no active ord er,
          inm ate wil l be refe rred to the                                                                 the
                                             app rop riat e pro vid er. These
                                                                                 inm ate s will not need to be
          seen by the nurse. Sick call
                                          slips wil l be not ed and retu rne
                                                                              d to the inm ate via in-house
          ma il.

      ALL INMATE-INITIATED SICK
                                CALL VISITS ARE CHARGEAB
                                                        LE WITH THE EXCEPTION OF
      THOSE SEEN FOR MENTAL HEA
                                 LTH REFERRALS.
      STAFF-INITIATED SICK CALL
                                VISITS, SUCH AS ON-THE-JOB
                                                           INJURIES, ARE NOT
      CHARGEABLE.

     SICK CALL VISITS INITIATED
                                BY STAFF MEMBERS AT THE
                                                        REQUEST OF THE INMATE ARE
     CONSIDERED INMATE-INITIA
                                TED AND ARE CHARGEABLE.

     If you have any questions, plea
                                     se send an Inm ate Request
                                                                Form to eith er Ms. Buf ord or
     Ms. Gates in the Medical Dep
                                   artm ent .


1(gct1(w~
    ~l~
                                                                CCI 000459
Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 59 of 200 PageID #: 2142
                                          I
        TDOC Mental Health l Suicide :sc~e n.ing_Inventory


   Suicide Risk Factors:
   #    Risk Factor
                                                                                               Yes No




       .Suicide Risk Factor Index an score over 3 is ivan a fi9ferrat to


                                                                                   111.
             Mediu m High Risk                                             High Suicide Risk
               3 to 5 positive factors                                        Over 5 factors




                                                                CCI 000460
Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 60 of 200 PageID #: 2143
                                                STATE OF TENNESSEE
                                       DEPARTMENT OF CORRECTION
                                     WEST TENNESSEE STATE PENITENTIARY
                                                P.O. BOX 1150
                                       HENNING, TENNESSEE 38041-1150
                                  TELEPHONE (731) 738-50441 FAX (731) 738-5947


  MEMORANDUM

  TO:             Medical Records
  FROM:           Lt. T hom7;~ft{I Drug Testing Coordinator
  DATE:
  SUBJECT:        Initial &ak~ Drug Screen


  Inmate:     1?oa-z:., ?leaf.a&- :Ber                     Number:      41.1/(D              was
  given an initial intake drug screen for the   fo ~wing substances:
                  Substance                        Positive                      Negati ve
         1.      Marijuana

         2.       Cocaine

         3.      Barbiturates

         4.      Methamphetamines

         5.      Amphetamines

         6.      Opiates

         7.      Benzodiazepines

         8.      Phencyclidine (PCP)

         9.      Methadone

         10.     Oxycodone

         11.     Propoxypheneb

         12.     Buprenophine (Suboxone)

                                                                                 J




 Per TDCO Policy #506.21: Please place these results in the inmates' Medical Records.




                                                                CCI 000461
Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 61 of 200 PageID #: 2144
                                            TENNESSEE DEPARTMENT OF CORRECTION
                                                      HEALTH SERVICES
                                                 REFUSAL OF MEDICAL SERVICES
                                                                     WEST TENN~SSEE
                            1NsT1TuT1ON _ _ __                     s_t_'A_JE_P_E_N_ITEN
                                                                                   __n_A____
                                                                                        JN   _

                                     o~ ~:i ·-                •,•··_3:- l'T•
      This is to certify that I _--1[--=~=-=....,._~=--=U,.»JC'-=-'-
                                                                                       t(},201
                                                                                            · c___
                                                                       __--1----10.,,.,........
                                                            - -.O.~""'--Sl
                                                            (Inmate's NarneO       /   -='J
                                                                                               w._ ,
                                                                                                        I    T i m e ~ PM
                                                                                                            4(3 / { 0
                                                                                                              (TDOC Number)
      have been advised hat I have been scheduled for the following medical services and/or have been adivsed to have




               I am refusing the above listed medical services against the advice of the attending physician and/or the
      Health Services staff. I acknowledge that I have been informed of the risks involved by my refusal and hereby
      release the State of Tennessee, Department of Correction, and their employees from all responsibility for any ill
      effects whjch may be experienced as a result of this refusal. I also acknowledge this medical service may not be
      made reallily available to me in the future unless an attending physician certifies my medical problem as a medical
     emerge¼
           n y.


     Signed ~ ~ ~
              (Inmate)
                                                                                       --fliJJO
                                                                                          (TDOC number)
                                                                                                                 t2_;,//01
                                                                                                                      (Date)



                                                                                                                  <fd1r3(11
                                                                                                                      (Dale)



     Witness:    0{ lJ>\'")~~        (Signature)                                                  (Title)
                                                                                                                 Z,\ l:61 I(
                                                                                                                      (Date)

                 The above information has been read and explained to,


                                                                                  _ _ _ _ _ _ _ _ _ but has refused to sign
                              <Inmate's Name)                                         /TDOC number)
     the form.



     Witness: _ __ _ _ _ _ _ _ _ _ _ _ _ __
                                     (Signature)                                                  (Title)             (Date)

     Witness : _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                    (Signature)                                                   (Title)             (Date)




        CR-1984 (Rev. 4-00)                        Original - Health Record                Canary - File             RDA 1458




                                                                CCI 000462
Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 62 of 200 PageID #: 2145
                                    TENNESSEE DEPARTMENT OF CORRECTION
                                         CONSENT FOR DNA ANALYSIS

                                                WISP   INSTITUTION



   NAME ])/~~~~                                            13oa2-
                                                               First                                     Middle

   NUMBER:       4 '7 3/ /()                                                DOB    -~~--~/J'·_-~J~
                                                                                                 3
                                                                                                 · ___
I, understand that I am being requested to allow the health professional to collect a blood specimen as required in statute
TCA §40-35-321, collection of biological specimens for DNA analysis - persons convicted of certain offenses - condition
of release from imprisonment.

TCA §40-35-321 provides that any person who has committed or attempted to commit §39-13-502 (Aggravated Rape), §39-
13-503 (Rape), §39-13-504 (Aggravated Sexual Battery), §39-15-505 (Sexual Battery), §39-13-522 (Rape of a Child), or
§39-15-302 (Incest) on or after July 1, 1991, must provide a biological specimen for the purpose of DNA analysis.
Furthermore, TCA §40-35-321 provides that any person convicted of any felony offense committed on or after July 1, 1898,
must provide a biological specimen for the purpose of DNA analysis. The biological specimen will be forwarded to the
Tennessee Bureau of Investigation, which shall maintain it as provided in §39-6-113.

If a person convicted of violating or attempting to violate §39-13-502, §39-13-503, §39-13-504, §39-13-505, §39-13-522,
§39-15-302, or §40-35-321, and committed to the custody of the commissioner of correction for a term of imprisonment,
does not provide a biological specimen for the purpose of DNA analysis before completion of the person's term of
imprisonment, that person may not be released on parole or otherwise unless and until such person provides such a
specimen.

If an inmate is convicted of a disciplinary offense for refusing to provide a biological specimen, he/she shall forfeit the
opportunity to earn behavior sentence credits until such time he/she provides a biological specimen. If applicable,
previously earned behavior sentence credits shall not be forfeited. A person refusing to provide a biological specimen may
at a later date provide a specimen. For those persons refusing to provide a specimen, a due process hearing shall be
provided by the disciplinary board.

By signing this I acknowledge that I understand the above mentioned .




                                                                                        _zi4I.A-               1



I am refusing to participate in the DNA testing process·



                       Inmate Signature                                                               Date




                      Health Professional                                                             Date




                     Witness/Conservator                                                              Date


     CR-3521 (Rev. 7-01)               White-Inmate's Heath Record       Canary-Institutional File           RDA 1100

                                                                 CCI 000463
 Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 63 of 200 PageID #: 2146
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                     ,,... ~ ..       ,;;.
                                                 TENNESSEE DEPARTMENT OF CORRECTION

                     t/, _-:,'., _}'
                     1
                                                 HUMAN IMMUNODEFICIENCY VIRUS (HIV) TEST
                          ''-!,:)!~~,>·   WEST    TENNESSEfORMED CONSENT

                                     STATE PENITENTIARY
                                                  INSTITUTION
                                                                                                        d-f7'-llDATE


      NAME
                 @;{1£iavd-~_u 1£o~                                                 NUMBER      ±[81/0                   DOB


                                                                                       WEST TENNESSEE
      I read the patient HIV education materials provided by:
                                                                                     STATE     PENITENTIARY
                                                                                     Name/Professional Tille of Health
                                                                                                                     Care Provider
      regarding the Human Immunodeficiency Virus (HIV) test; HIV test information has been fully explained to me and my
      questions have been answered to my satisfaction; and, I also understand counseling is available to assist me in reducing my
      risk of acquiring HIV.


   I also understand that my health record and my test results are confidential and will not be released without my written
   consent except with a court order; however, the absolute confidentiality of the HIV test results cannot be fully guaranteed .


   I also understand that if I am found to be infected, this test does not predict if I will become ill with AIDS .


   I hereby, authorize and consent to be tested for the presence of the Human Immunodeficiency Virus. I am fully informed that
  I


                                                                                                              ~/4/4       Da te




                                                                                                                          Date


                                                                                                               z/t(!(!/

                                                           j;gJ   confidentiality




      CR-3247 (Rev 7-01)                                                                                                          RDA 1458




                                                                CCI 000464
Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 64 of 200 PageID #: 2147
                             A
                             w.              TENNESSEE DEPARTMENT OF CORRECTION
                                                        HEALTH QUESTIONNAIRE

     NAME:   ti::ePc !;Ct ~~        ~t -           JS~e                    NUMBER        413} / D                   DOB   v I lt3 l'83
                                                                                                                                      am.
  RECEIVING INSTITUTION:        ---'~;;_lv-=-.T__.5,yf1-------
                                              ...                                   DATE:    2._ / / J   /I   I   TIME: _ _..:...__   p.m.

 INITIAL INTAKE:                             TEMPORARY TRANSFER: _ _ __                           PERMANENT TRANSFER: _ _ _ __

INQUIRE INTO:

 1.     Have you ever had a positive TB test?       •   Yes·~                    If yes, describe _ _ _ _ _ _ _ _ _ _ _ _ _ __


 2.     Are you being treated for any illness or health problem (including dental, venereal disease, or other infectious diseases)?
        _ _ _ Yes               0        o            lfyes,describe: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


 3.     Do you have any physical, mental or dental complaints at this time?         D   Yes ~
        If yes, describe:
 4.     Are you currently taking any medication(s)?            D Yes              o
        If yes, was the medication tra. nsferred ~ the inmate?      0 es \ia::&o (requires visual verification)
 5.     Have you recently or in the past, used alcohol or other drugs? D I-es ~ ~
        If yes, describe: (what used, how much, hdw often, date of last use, any ~bl ems) _ ,_ _ _ _ _ _ _ _ _ _ _ _ __


 6.     Have you ever been hospitalized for using alcohol or other drugs? Yes            •
        If yes, When: _ _ _ _ _ _ _ _ _ __,,.,c__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 7.     Do you"""" any alklrgles?       • ~ •:. Wyes, describe, - - - - - - - - - - - - . . - - - - - -
8.      (Forwomen)
        a)LMP   0                                                               umber of mont s
                                                                            Date:
                                                                            e) Any gynecological problems?lf yes aescnbe:




9.       Screening for MRSA Infections:
         a) Do you have any lesions, sores or insect bites?   D   Yes ~
         If so, do you have any open/draining lesions, sores, o~Insect bites?      0 Yes~
         If yes, where are these lesions?                                               __/ -

OBSERVE:

1.     Behavior (including state of awareness, mental status, appearance, conduct, tremor and sweating):

       ~mal             O· Abnormal            If abnormal, describe: - - - - - - - - - - - - - - - - - - - - - -


2.     Body deformities, conditi~f s~n (including needle marks, trauma markings, bruises, lesions, jaundice, rashes, tattoos, and
       infestation(s)   • Yes       r°
         If yes, describe:




                                                          ~
3.     Evidence of Abuse and/or Trauma?       D   Yes ·

         CR-2178 (Rev. 10-07)                              White - Inmate's Health Reoord                                 RDA 1100
                                                                  Page 1 of 2




                                                                      CCI 000465
      Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 65 of 200 PageID #: 2148
                                                                                                     M            Ai#d           tM




----                                                           TENNESSEE DEF ARTME NT.. OF CORRE CTION
                                                                             HEJI.LT H SERVIC ES
                                                                     HEALTH STATU SITRAN SFER SUMMA RY                                                                                                                 ~
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      Name of Inmate:
                                                                                                                 Number                                            Mo.    jp__ Day              JI ...,, ll
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                                  last               Cl{L UA   I             First         Initial
                                                                                                                                           Transfe r Elate:        Mo.                   I 1. r.
                                                                                                                                                                              ·--z- Day _.:'•f'f                        {          .
      Transferring Institution:
      Receiving Institution: ·                             §+ Pe. i7
      Reason for Transfe r::                 .Se n,~Ol'\Ce d
      Requires Chronlc Illness Monitoring:
                                                                     _ _ _ yes                       ✓                 - no                                        e:
                                                                                                                                         Last TB Screening/PPD .Dat_                  a1nl,,
                                                                                                                                 no      Last P~riodic Health Appra_lsal: Date &a7- \D
      Requires ·Mental Health/Psychiatric Monitoring: _ _ yes

      Check(✓)          If Presen t
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                                                                                                                   A ctivi ty Llml~ti c\f~s:                              Impa irments :
          Prosth etics :                                Ass lstlve Devi ces:                                             .                .
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      •      Pace Maker

      Aller~fe s:
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                                                                     - CURRENT PIWSIC tAN/OEN TIST.OR DERS -
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                                                                       ments, diet, dental, etc.)
      SPECIA L'INSTR UCTION S: (Self help ability, Treatments, appo~nt



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      Report Prepare d By:
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                                                                        CCI 000466
        Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 66 of 200 PageID #: 2149
                                          TENNESSEE DEPARTMENT OF CORRECTION
                                            MENTAL HEALTH SCREENING REPORT



                                                                   INSTITUTION

INMATE NAME :     &tcl-j        ~01•a0s:'rs-~ e:::::             TDOCNUMBER:                                    SEX:            IV\
                                 b ll..      8
         UNIT:                                                         CELL:                                 DATE OF SCREENING:                     ;2-..2.'-J-.2..0
TYPE OF SCREENING:         3DAYSEGREGATION ~~DAY SEGREGATION                                  30 DAY SEGREGATION                    OTHER:
MENTAL STATUS SCREEN IN
   YES            NO/

   •              [J/ /       DOES THE OFFENDER HA VE A PRESENT SUICIDE IDEATION

   •                          DOES THE OFFENDER HA VE A HISTORY OF SUICIDAL BEHAVIOR

   •              ~   /       IS THE OFFENDER PRESENTLY PRESCRIBED PSYCHOTROPIC MEDICATION

   •              b,J//       DOES THE OFFENDER HA VE A CURRENT MENTAL HEALTH COMPLAINT

   •              [;r/        IS THE OFFENDER BEING TREATED FOR MENTAL HEAL TH PROBLEMS

   •              (3"" /      DOES OFFENDER HA VE A HISTORY OF TREATMENT FOR SUBSTANCE USE

   •              []/'        DOES OFFENDER HA VE A HISTORY OF INPATIENT AND OUTPATIENT PSYCHIATRIC TREATMENT

SUBJECTIVE/OBJECTIVE (include symptoms of psychosis, depression, anxiety, and/or aggression):                   r /""   f   1 .,,   4s:()r;rh. l'!':1::s:::

                                    n""     ~v•4 ~ H.. P ~ ~ .


 GENERAL APPEARANCE                                        EYE CONTACT                /
                                                                                []6'6od
                                                                                • Fair
                                                                                • Poor
DISPOSITION OF OFFENDER
                                        o Mental Health Referral
                                    D Referral to Mental Health Care Service
                                    D Referral to Appropriate Mental Health Care Service for Emergency Treatment


ADDITIONAL INFORMATION: -----I}.Mp1.0a .A-~~                            ~         t       ~o          o Q~r,J,~ ·
                 ~   -Nb,Q,   Jef611    ./V'-f.r    ~ Ct¥1'·?9ff~~ ~                              io ~•A~pL,e ;e~\-:t



                                                                           Stanley Click, LPC•MHSP
                                   L HEALTH PROVIDER                                  TITLE




         CR-2629 (Rev. 04-17)                      White-Inmate Health Record             Canary-Warden (Optional)                   RDA 1100




                                                                   CCI 000467
   Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 67 of 200 PageID #: 2150
                                   TENNESSEE DEPARTMENT OF CORRECTION

                                   PROBLEM ORIENTED - PROGRESS RECORD
                                   NORTHEAST CORRECTIONAL COMPLEX



INMATE NAME        QQJ{l~ - ~                   I                           INMATE NUMBER:       t./:73///)

   DATE                   PROB .
             TIME/PLACE
                           NO.                                                         -                    ,.
tD-fl-llo 1045            NECX Chain chatt review for Mental Health completed.        _AA~,.~A         ~A           I'_#A,/
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  CR-1884 (Rev. 5- 01)                              _Printed or Duplicate as Needed                              RDA 1100




                                                                CCI 000468
Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 68 of 200 PageID #: 2151
II
iiiiiiiiiiiiiiiiiiiiiiii_
                            Departmentof
                            Correction
                            DATE:      June 28, 2016

                            TO:
                                    Kim Gentry



                            FROM: David C. Dobbins
                                  Mental Health
                            Administrator



                            SUBJECT: Boaz Pleasnt-Bey 473110




                            MR. Pleasant -Bey is currently a
                            Level of Care one.

                        He has not received mental health
                        treatment since early 2013. There
                        are no current Mental Health
                        issues or concerns relating to this
                        inmate.




                     Northeast Correctional Complex • 5249 Hwy 67W • P.O. Box 5000 • Mountain city, TN
                     37683
                     Tel: 423-727-7387 • Fax: 423-727-4490 • tn.gov/correction




                                                                  CCI 000469
  Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 69 of 200 PageID #: 2152
                                             TENNESSEE DEPARTMENT OF CORRECTION

                                              PROBLEM ORIENTED - PROGRESS RECORD
                                               NORTHEAST CORRECTIONAL COMPLEX

                    17                        _.i        J2 _ _          INSTITUTION

INMATE NAME ·     +~~~~"-'-""'_tl,c....___,~'--'-~N-'-_,/L-<-/--=-;JM,---'---"---"-ff,~- - - --   INMATE NUMBER :    Lf7J//()

   DATE                          PROB
             TIME/PLACE
                                  NO                                                                        _,             /J       J

t;/;l//10 )Jc/5
 I i
                                 NECX !Cha in chart review for Mental Health completed.
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  CR-1884 (Rev. 5- 01)                                              Printed or Duplicate as Needed                                 RDA 1100




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Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 70 of 200 PageID #: 2153
                                    A            TENNESSEE DEPARTMENT OF CORRECTION

                                    ~I           PROBLEM ORIENTED - PROGRESS RECORD
                                                 West Tennessee State Penitentiary
                                                                       INSTITUTlON

   INMATE NAME:                 ttt~o..Q_,~~ -~                                                           INMATE NUMBER:                    4 1 B l J0
                                    PROB
DATE              TIME/PLACE
                                    NO.     Court Return Assessment
\c\.\ot11,p       I 0, l O          s       1/M was seen this AM <[JS'KiOafter returning to the facility from court.
                                            1/M presents as A&Ox rt.{ . Thought processes are           - - "'-'-
                  Site 2            0                                                                       ·-
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                      -
                      1•   •-   V           Speech appears to be ~                                                . Tone appears to be ~
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                                            suicidal/homicidal ideations. Eve contact is                                                         . Memorv anoears
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                                        p   Monitor/Assess as needed.
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          CR-1884 (Rev. 5-01)                                        Printed or Duplicate as Needed                                                    RDA 1100




                                                                CCI 000471
Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 71 of 200 PageID #: 2154
      DATE:        January 19, 2016

      TO:
              Kim Gentry



      FROM: David C. Dobbins
            Mental Health
      Administrator



      SUBJECT: Boaz Pleasnt-Bey 473110




      MR. Pleasant -Bey is currently a
      Level of Care one .

     He has not received mental health
     treatment since early 2013. There
     are no current Mental Health
     issues or concerns relating to this
     inmate.




    Northeast Correction,11 Complex• 5249 Hwy 6'7W • f' 0. 13ox SOOD· Mountain city, TN
    37683
    Tel: 423-77.7-7387 • F,ix: !.l)]-Ti.7-1\ 1190 • t11.g,:w/co r1 ccr1011




                                                                CCI 000472
Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 72 of 200 PageID #: 2155
                                    TENNESSE E DEPARTME NT OF CORRECT ION

                                    PROBLEM ORIENTED - PROGRESS RECORD
                                                        NECX
                                                   INSTITUTION


1NMATE NAME :     P\CLC4.,\cJ-.-.~ d 8oQ          2..                   INMATE NUMBER:      L(f]j / l D

                            PROB.
   DATE       TIME/PLAC E
                             NO.
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                                               WILLIAM C. DIEBOLD MO                                             \
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                                                DOCTOR                  - ' - -·-                          /'I        l     I'"""\

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                                                                                                                          RDA 1100
   CR-1884 (Rev. 5- 01)                          Printed or Duplicate as Needed




                                                                     CCI 000473
     Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 73 of 200 PageID #: 2156
                                       TENNESSEE DEPARTMENT OF CORRECTION
                                         MENTA HEALTH SCREENING REPORT
                                                     ,c.c·p
                                                      INSTITUTION


   INMATE NAME? ~                      P> faJ I l7?!=:)           NUMBER :   7'1) //    O         SEX:   .,/4-1
                  -1,.A,,:,-,,1, CELL:
  UNIT ~-r:v,.ep;t-                              d0               DATE OF SCREENING:       ~/ /g' ) / '3
  TYPE OF slREENING:    30 DAY SEGREGATION:          t. / '       90 DAY SEGREGATION : _ __ _ ' aTHER f_ _ _ _

  MENTAL STATUS SCREENING:

     YES /      NO
      ~    /    •       INMATE/PATIENT EXHIBITED APPROPRIATE AFFECT

      l~        0       THOUGHT PROCESS WAS ORDERLY AND RELEVANT

      ✓ •               PERCEPTION PROCESSES WERE INTACT



     ~~
                        INMATE/PATIENT WAS ORIENTED 4X, PERSON, PLACE, TIME, CIRCUMSTANCE

                        MEMORY PROCESSES WERE INTACT




   ASESSMENT:                           ~~~✓
                -~~~..=~~~£z~'4. . . .~<--->=- +---'-l_t!J_._-- - - - - -- -- -




@ : !NA:URE OF MENTAL HEALTH PROFEss;r-NAL:                   -              •

    ~           {Jf     /?~              'fr;_,P. r' 5 Y 0-16 t., D W s T
                                                            TITLE


 CR-2629              White - Inmate Health Record                   Canary • Warden (Optional)                   RDA1100




                                                                      CCI 000474
      Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 74 of 200 PageID #: 2157
                                                                                                                                                               .'


                                                   TENNESSEE DEPARTMENT OF CORRECTION.

                                                   PROBLEM ORIENTED - PROGRESS RECORD
                                                     cc,1;~ - HARDEMAN C:OHM'\t
                                                                              INSTITUTION •

     INMATE NAME:           \boct.7-         (?tm_~h\.t- ~                                                          INMATE NUMBER:       cf/ 3 '/ / 0
                              PROB
DATE           TIME/PLACE
                              NO.

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        CR-1884 (Rev. 5-01)                                           Printed or Duplicate as Needed                                                RDA 1100




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        Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 75 of 200 PageID #: 2158
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                                                     Elijlf1e Kirk., AP. J.
                                                   Psy-Mental Health I , J
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   CR-2629 (Rev. 7-01)                                        White-Inmate Heall11 Record             Canary-Warden (Optional)           RDA 1100




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Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 76 of 200 PageID #: 2159
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                                          TENNESSEE DEPARTMENT OF CORRECTION
                                      MENTAL HEALTH TREATMENT PLAN REVIEW
                                                  CCA · HARDEMAN COUNT'1
                                                                      INSTITUTION

  INMATE:~\-e..R~CllA,t-be.V                  I    f:;x.A2,;                  DATE OF INITIAL A.AN .

  NUMBER:     911> \ \ D 7                                                    NEXT TREATMENT A.AN REVIEW ON OR BEFORE:              {i- -/    f -/ 3
  DATE OF BIRTH:                                                              Iii   VOLUNTARY     O      INVOLUNTARY     jl LEVEL OF   CARE
  SEX:      M                                                                 0     INPATIENT     Jill   OUTPATIENT
                                                                              SPECIAL UNIT: SPECIFY :




      DSM-IV-TR DIAGNOSIS      •    SMI                •       SPMI           •      None

      Axis I:


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     TARGET SY~l-"I OMS/ PROBLEMS

     1)'t:rfuE        •   REVISED
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     2) •   SAME      •   REVISED _    __ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     3) •   SAME      •   REVISED _   _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ __ _ _ __
     4) •   SAME      •   REVISED _ _ __ _ _ _ _ _ _ _ __                                   _ _ _ _ __          _     _ _ __ _ __
     5) •   SAME      O REVISED _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                           /
     PROGRESS ACCORDING TO TREATMENT PJ,.,l(N GOALS

     1) •   NONE      O   MINIMAL         ~ROVED                      •   DISCHARGE GOAL
     2) •   NONE      O   MINIMAL         •       IMPROVED            •   DISCHARGE GOAL
     3) •   NONE      O   MINIMAL         •       IMPROVED            •   DISCHARGE GOAL
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     5) •   NONE      0 MINIMAL           •       IMPROVED            •   DISCHARGE GOAL


     NEW/REVISED TREATMENT MODALITY AND FREQUENCY




          STA FF SIGNATURE                                      TITLE                                                      DATE




                                                                                                                           DATE


   CR-3767 (Rev. 11-11)                             Duplicate as Needed                                                RDA - 1100




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Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 77 of 200 PageID #: 2160
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                                 TENESSEE DEPARTME NT OF CORRECTION
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                 I hereby authorize                    j c_.}fL
                                                 ~~~-~}~;~         ~~P~AJ~-- to perform the following assessment or treatment:
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                                                                        Use Laym an's Terms

                                                                                                                     and
          Th e type and extent of services that I will receive will be determined following an initial assessment
          thorough d1scuss1on with me The goal of the assessment process    is to determine the best course of treatment
          for me

          I understand that a range of mental health professionals , some of whom are in training, provides mental health
          services. All professionals-in -training are supervised by licensed staff.

          I understand that while psychotherap y and/or medication, may provide significant benefits, it may also pose
          risks If medications are prescribed, the psychiatric provider and I have discussed:

                                  -      My Mental Health Condition
                                  -      The reasons for prescribing the medication , including the likelihood of my condition
                                  -      Improving or not improving without the medicine.
                                         Reasonable alternative treatments available for my condition .
                                          rhe type of medication that I will be receiving, the frequency and range of dosages, the
                                         method by which I will take the medication (shots or mouth), and duration of such treatment.
                                         The side effects of these drugs known to commonly occur and any particular side effects
                                         likely to occur in my particular case.

         Psychologica l Services can have benefits and risks . Since therapy often involves discussing unpleasant aspects
                                                                                                                       and
         of my life, I may experience uncomfortab le feelings like sadness, guilt, anger, frustration, loneliness,
         helplessness    On  the other   hand, psychotherap y has also  been shown    to have  benefits such as significant
         rPductions in feelings of distress.

         I i.i cknowledge that no guarantee or assurance has been made as to the result that may be obtained

         If ,iny unforeseen condition arises in the course of the intervention for the judgment of the practitioner for
                                                                                                                   and
         procedures 1n addition to or different from those now contemplated a new informed consent assessment
         treatment will be obtained .

         I have read and fully understand the terms of this consent.

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Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 78 of 200 PageID #: 2161
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Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 80 of 200 PageID #: 2163
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                         INMATE NAME
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                                                                                               DATE OF BIRTH


    I hereby authorize           ~ri- A&                       to perform the following assessment or treatment:
                      th. /(aJu.- ¾                ~ MO
                                                 Use Layman's Terms

 The type and exten t of services that I will receiv
                                                    e will be determined following an initial asses
 thorough discussion with me. The goal of the asses                                                 sment and
                                                     sment process is to determine the best course of
 for me.                                                                                              treatment

 I understand that a range of mental health profes
                                                     sionals, some of whom are in training, provides
 services. All professionals-in-training are supervised                                              mental health
                                                        by licens ed staff.
 I understand that while psychotherapy and/or
                                                   medic ation, may provide significant benefits, it
 risks. If medications are prescribed, the psychiatric                                               may also pose
                                                       provid er and I have discussed:
              - My Mental Health Condition
              - The reasons for prescribing the medication, includ
                                                                  ing the likelihood of my condition
             - Improving or not improving without the medic
                                                             ine.
             - Reasonable alternative treatments available for
                                                                my condition .
             - The type of medication that I will be receiv
                                                             ing, the frequency and range of dosages, the
                method by which I will take the medication (shots
                                                                  or mouth), and duration of such treatment.
             - The side effects of these drugs known to comm
                                                                  only occur and any particular side effects
                likely to occur in my particular case.

Psychological Services can have benefits and risks.
                                                    Since therapy often involves discussing unpleasant
of my life, I may exper ience uncomfortab le feeling                                                    aspects
                                                     s like sadness, guilt, anger, frustration, lonelin
helplessness. On the ot11er hand, psychothera                                                          ess, and
                                               py has also been shown to have benefits such
reductions in feelings of distress.                                                               as significant

I acknowledge that no guarantee or assurance has
                                                    been made as to the result that may be obtained.
If any unforeseen condition arises in the cours
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procedures in addition to or different from those                                                practitioner for
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treatment will be obtained.                                                                          sment and




        Witness:



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Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 81 of 200 PageID #: 2164
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     Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 83 of 200 PageID #: 2166
                             TENNESSEE DEPARTMENT OF CORRECTION
                               MENTAL HEALTH SCREENING REPORT




     INMATE NAME:    ~ p...7- )fu,stutf 1/1fJJ               NUMBER:     lr13 llu                     SEX:

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     UNIT:       ~•~         CELL :    /   lo                      DATE OF SCREENING:
                                                      SEGREGATION:                                  OTHER
     TYPE OF SCREE NIN& DAY SEGREGATION: _ _ _ 90 DAY                                   --                   --=-
     MENTAL STATUS SCREENI NG:

        YES          NO

        0            •      INMATE/PATIENT EXHIBITED APPROPRIATE AFFECT
        i:g/
                     •      THOUGHT PROCESS WAS ORDERLY AND RELEVANT

        111/         •      PERCEPTION PROCESSES WERE INTACT
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      ASSESSMENT:      V\D O.l AAJ£.._              Y\i\,   Di\1-].        l\   IN..S s-




      REFERRAL TO:




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                                      White-Inmate Health Record         Canary-Warden (Optional)            RDA 1100
      CR-2629 (Rev. 7-01)




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Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 84 of 200 PageID #: 2167
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      REFERRAL DISPOSIT
                       ION (Course of Action):



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Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 86 of 200 PageID #: 2169
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  Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 87 of 200 PageID #: 2170
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                          INSTITUTIONAL MENTAL HEALTH SERVICES REFERRAL                                  &cJ
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           SEND REFERRAL FORM TO INSTITUTIONAL MENTAL HEALTH COORDINATOR



      RECEIVED BY:
                           Signaturerritle Mental Health Professional                Date               Time




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Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 89 of 200 PageID #: 2172
B~0lM~S    ,\f\(X                   TOMIS                       DATE:   04/04/2011
WILLJE06   "'--             MENTAL HEALTH SERVICE               TIME:   13:56
                                                                PAGE:     1
              TOMIS ID:   00473110
         OFFENDER NAME:   PLEASANT-BEY, BOAZ
          SERVICE DATE:   02/24/2011   TIME: 09:00:00         SERVICE SITE:       WTSP
     MAIN SERVICE TYPE:   EVAL EVALUATION
      SUB SERVICE TYPE:   INCL INITIAL CLASSIFICA TION
PSYCHOLOGICAL EXAMINER:   YOST JR., PAUL G.

COMMENTS:
   ACCESS TO THIS PSYCHOLOGICAL REPORT AND ITS CONTENTS IS RESTRICTED TO
    TDOC EMPLOYEES WHO: (1) HAVE ACCESS TO INMATE MEDICAL RECORDS/CHARTS
   AND (2) HAVE ACCESS TO MENTAL HEALTH SERVICES TOMIS SCREEN LHSM.

   BOAZ IMMANUEL MOHAMMED PLEASANT-BEY IS A 27 YEAR OLD BLACK
   MALE ORIGINALLY FROM BALTIMORE MARYLAND. AT THE AGE OF 17
   HE MOVED TO MEMPHIS. HE SPOKE OF BALTIMORE AS BEING A PLACE
   OF OPPORTUNITY AND HAS HAVING HIGHER FUNCTIONING PEOPLE.

   INMATE PLEASANT-BEY'S PERFORMANCE WITH THE BETA III RESULTED IN
   A BETA IQ SCORE OF 79. HIS PERFORMANCE WITH THE TABE RESULTED
   IN GRADE EQUIVALENCY SCORES AS FOLLOWS: READING= 8.2,
   MATHEMATICS= 7.5, LANGUAGE= 5.0.

   INMATE PLEASANT-BEY REPORTED BEING RAISED IN AN INTACT HOUSEHOLD.
   HIS STATEMENTS ABOUT HIS MOTHER SUGGESTED THAT SHE TENDS TO BE
   RATHER ALOOF BUT NEVERTHELESS HE ASSESSED HER AS BEING SUPPORTIVE
   AND INTELLIGEN T. HE ALSO SPOKE OF HER AS SPIRITUAL. HE STATED
   THAT SHE IS A NURSE. HE MAPE A POINT OF STATING THAT THE TWO
   OF THEM DO NOT HUG. HE SPOKE OF HIS FATHER AS A VERY STRICT MAN
   WHO WAS INCLINED TO REQUIRE PEOPLE TO DO AS HE SAID RATHER THAN
   AS HE DID. HE SAID HIS FATHER DID NOT DISPLAY AFFECTION.
   ALSO IN THE HOUSEHOLD WERE THREE YOUNGER SISTERS.  INMATE
   PLEASANT-BEY STATED THAT HE GREW UP A VEGETARIAN AND ONLY
   BEGAN EATING MEAT AFTER HIS INCARCERATION.

   INMATE PLEASANT-BEY REPORTED GRADUATING FROM HIGH SCHOOL ABOUT
   1998. HE DENIED EVER BEING SUSPENDED OR EXPELLED.

   INMATE PLEASANT-BEY STATED THAT HE HAS BEEN CONVICTED OF
   T.C.A.~39- 13-522. MORE SPECIFICAL LY HE HAS BEEN CONVICTED OF
   THE RAPE OF A THEN 12 YEAR OLD FEMALE. THIS IS HIS FIRST
   CONVICTION. HE STATED THAT HE DEFENDED HIMSELF AND HAD A
   JURY TRIAL. HIS SENTENCE IS FOR 22 YEARS. HE SAID THAT HE
   HOPES FOR A NEW TRIAL.

   INMATE PLEASANT-BEY STATED THAT HE HAS BEEN DIVORCED SINCE
   2006. HE DENIED HAVING CHILDREN.

   INMATE PLEASANT-BEY STATED THAT FOR 4 YEARS HE WORKED AT A
   RETAIL STORE AND BECAME A MANAGER IN TRAINING.




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 Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 90 of 200 PageID #: 2173
BI0lMHS                             TOMIS                       DATE:   04/04/2011
WiLLJE06                    MENTAL HEALTH SERVICE               TIME:   13:56
                                                                PAGE:     2

                TOMIS ID:   00473110
           OFFENDER NAME:   PLEASANT-BEY, BOAZ

COMMENTS (CONTINUED):

   INMATE PLEASANT-BEY DENIED EVER DRINKING ALCOHOL.  HE DENIED
   EVER USING ANY ILLICIT SUBSTANCE OR DRUG.
   INMATE PLEASANT-BEY STATED THAT HE WAS BEATEN WITH BOARDS AND
   BELTS BY BOTH PARENTS UNTIL HE WAS ABOUT 12 YEARS OF AGE. AT
   THE AGE OF 12 YEARS, PER HIS STATEMENTS, HIS BEHAVIOR CHANGED
   SO MUCH AND THE PUNISHMENTS CEASED.'

   INMATE PLEASANT-BEY DENIED EVER BEING A VICTIM OF SEXUAL ABUSE.
   IN HIS MIND HE HAS NEVER RAPE ANYBODY OR SEXUALLY ABUSED ANYONE.
   HE SAID HE IS INNOCENT.  HE DID STATE THAT A JUDGE HAS TOLD HIM
   THAT HIS CONVICTION WAS NOT PROPERLY OBTAINED AND HE HOPES THAT
   THIS NEW JUDGE MAY GRANT HIM A NEW TRIAL.

   INMATE PLEASANT-BEY DENIED EVER ATTEMPTING SUICIDE AND STATED
   HE KNOWS OF NO BLOOD RELATIVE WHO HAS.  HIS STATEMENTS WERE
   NEGATIVE WITH REGARD TO ANY FORMAL PSYCHIATRIC HISTORY, SYMPTOMS,
   OR HOSPITALIZATIONS.  HE DENIED EVER HAVING HAD VERY STRANGE OR
   BIZARRE EXPERIENCES SUCH AS AUDITORY OR VISUAL HALLUCINATIONS.
   HIS STATEMENTS WERE NEGATIVE WITH REGARD TO ANY SYMPTOMS
   CONSISTENT WITH A SEIZURE DISORDER.




   PA     OST,  . ED.
   PS Y HOLOGICAL EXAMINER II                     PSYCHOLOGIST-HEALTH SERVICES
                                                  PROVIDER
   PY/AM/JW




                             ** END OF REPORT**




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                                              TENNESSEE DEPARTMENT OF CORRECTION
                                                          INMATE GRIEVANCE
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                                                       TO BE COMPLETED BY GRIEVANCE CLERK


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     INMATE GRIEVANCE COMMITTEE'S RESPONSE DUE DATE: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     AUTHORIZED EXTENSION: _ _ _ _ _ _ _ _ __
                                New Due Date                                                           Signature of Grievant

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                                                           INMATE GRIEVANCE RESPONSE
     Summary of Supervisor's Response/Evidence: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




     Chairperson's Response and Reason(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




     DATE: _ _ _ _ _ _                          CHAIRPERSON: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     Do you wish to appeal this response?                  ~      YES                         NO
     If yes:   Sign, date, and return to chairman for processing within five (5) days of receipt of first-level response.


      ~~                                              7           b/4/;f   DATE
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     Distribution Upon Final Resolution:
                 White - Inmate Grievant        Canary- Warden   Pink - Grievance Committee    Goldenrod - Commissioner (if applicable)
          CR-1394 (Rev. 3-00)                                           Page 1 of 2                                                RDA 2244



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       Distribution Upon Final Resolution:         ~
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                      White - Inmate Grievant   Canary - Warden      Pink - Grievance Committee   Goldenrod - Commissioner (if applicable)
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           Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 95 of 200 PageID #: 2178
                               TENNESSEE DEPARTMENT OF CORRECTION
                                    Title VI Complaint Investigation Form



      Date Complaint Received: _______ _6...::;;_,_wj:;___,1--/___.:f:;________ ______
                                                       1
       Complainant's Name (and TDOC number, if applicable), Facility and/or Address:




     Date of Interview with Complainant:

     Interview via:   0 Telephone     ~Person        0     Other (specify) _ _ _ _ _ _ _ _ __




     Other Interviews Conducted:



     Date:



                                                 Page 1 of 2
       CR-3886                               Duplicate as Needed                       RDA 1376




                                                                CCI 000496
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     Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 97 of 200 PageID #: 2180
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                                                      TENNESSEE DEPARTMENT OF CORRECTION
                                                            Title VI Complaint Investigation Form




                                                         lephone Number:

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                 lnleNiewefs Name and Position:

                 lnteNiew via:          D   Telephone          D




                Please attach copies of the complaint, statements of involved parties and witnesses, and response to
                complainant, etc.


            Note: If the offender is no longer at the institution that the Title VI complaint originated, please contact the Title VI Site Coordinator to
            schedule an interview by phone at his/her current location. If the offender is no longer on community supervision, please contact the
            Title VI Site Coordinator to schedule an interview by phone. Indicate the Title VI Site Coordinators name on the document.


                                                          Attach Additional Sheets if Necessary

                                                                              Page 2 of 2
                    CR-3886                                              Duplicate as Needed                                             RDA 1376




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           Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 99 of 200 PageID #: 2182
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     _        _Correction                                                                                         MEMO

 In mate Name: - --"B""o""a=z_,_P-'-el ,,_,a=s=a,_,_n=t-"""'B""'e"-''y - - - -           TDOC Number:     473110

 1nstitutio n: _ _ _ _,TT'--'-"C.,,C~--- - - -                                           TOMIS Grievance Number: 325686

Title VI Tracking Number: T6-18-5313



 Level II-Title VI Coordinator's Response and Reasons:

 Upon receipt and review of the Title VI Grievance #325686, a determination was made that
 inmate Pleasant-Bey's (#473110) contention of a Title VI violation could not be substantiated.
 Per the f indings, inmate Pleasant-Bey (#473110) fails to support his allegation of discriminatory
 treatment based on the grounds of race, color, or national origin.

 Nonetheless, there was no evidence found to substantiate t hat discriminatory treatment was
 practiced or that any policy violations occurred.


Ii'.'.! Concur with Associate/Assistant Warden                                   •   Concur with Supervisor   •   Remedy




            06/19/18
            Date                                                       Vashti Holt, TDOC Title VI Coordinator




               Department of Correction • ti'" Floor Rachel Jar_kson Build1ng • 320 Sixth Avenue North ·
               Nashville. TN 37243 • Tel 615-253-8155 · Fax: 515-532-82S' • m.gov/Correction




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                                                                                                             MEMO


 Inmate Name;__l;m.az Pleasant-Bey__                           TDOC Number:     473110
 Institution:    IJ_g:_                                    Housing Unit: _ _ _ _ _ __

 Institution Grievance Number:          T6-1 8:5.3U.    TOMIS Grievance Number:        .Jl;ifill..2_



 Commissioner's Response and Reasons:

 Level Ill Response and Reasons:

 The circumstances surrounding the alleged incident do not substantiate a Title VI Violation. Inmate Boaz Pleasant-Bey
 #47311 O fails to support his allegation of discriminatory treatment prohibited by the three protective classes (race,
 color, and nationa l origin) under the Title VI-Civil Rights Act of 1964. Therefore, inmate Pleasant-Bey's contention of a
 Title VI Violation has been determined to be unsubstantiated.

 The Assistant Commissioner of Prison Operations concurs with the decision of the Central Office Title VI Coordinator;
 therefore, the appeal request In reference to the Title VI Grievance #325686 has been denied.



 Appeal Remanded: Yes               •    or No 0




         07/09/18
           Date                                                                       Prisons

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                D•'partmr>nt of Correction • 6 " Floor Rachel Jatk,on BLtildlng • 320 Sir1 r, Av('nue Nc.rth •
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                                                        INMATE GRIEVANCE




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                                                           Date Received                      ,/       Signature Of Grievance Clerk


    INMATE GRIEVANCE COMMITTEE'S RESPONSE DUE DATE: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ __

    AUTHORIZED EXTENSION: _ _ __ _ __ __ _
                               New Due Date                                                            Signature of Grievant

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                                                         INMATE GRIEVANCE RESPONSE
    Summary of Supervisor's Response/Evidence: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




    Chairperson's Response and Reason(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




    DATE: _ _ _ _ __                       CHAIRPERSON: _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ __ __ __ _ __

     Do you wish to appeal this response?              V        YES                          NO
     If yes:   Sign, date, and return to chairman for processing within five (5) days of receipt of first-level response.



                                                                                                                     WITNESS


     Distribution Upon Final Resolution:
                 White - Inmate Grievant   Canary- Warden       Pink - Grievance Committee     Goldenrod - Commissioner (if applicable)

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                                               TENNESSEE DEPARTMENT OF CORRECTION
                                              INMATE GRIEVANCE                  (continuation sheet)




         Distribution Upon Final Resolution:
                         White - Inmate Grievant   Canary- Warden   Pink - Grievance Committee   Goldenrod - Commissioner (if applicable)
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                                         INMATE GRIEVANCE                  (continuation sheet)




        Distribution Upon Final Resolution:
                   White - Inmate Grievant    Canary- Warden   Pink - Grievance Committee   Goldenrod - Commissioner (if applicable)
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           Trousdale Turner Correction al Facility
           140 Macon Way
           J-larts\1i1Jc, TN 37074
           615-808-0 400


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           TO:                  Title VI Coordin ator, Y. Pittman

           FROM:                SGT. B. PIERCE, GRIEVANCE CHAIRPE RSON


          SUBJECT:           /j'pqz-., /Jk4dttAf~&_f
          DATE:                Date:           (,,/JP/;t!i                Due:   7/~/lf>
          The above grievanc e was filed as a Title VI grievanc e. Please review to see
          if the informat ion provide d warrants filing in this manner




                                                                       File as a Tnle VI

                                                              ✓-Grievance does not meet Title VI qualifications




           J'~L  _  tdfl ull ...
         ~ ~ c e Chairpe rson



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   Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 105 of 200 CCI 000505
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                                          Title   vr Complaint Investigation Form


           Date Complaint Received: _ _ _ _ _ _ _ _               IJ....,/.F-~-~~· 1-8:::.-- ---------
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         Date of Interview with Complainant:

         Interview via:   D   Telephone    O      In-Person   D   Oiher (specify)   1




         Sum~~ of lnlerview wHh C o m p l a l n a n ~ ~ , d                                     &dw/
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        Other Interviews Conducted~



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                                                      TENNESSEE DEPARTMENT OF CORRECTION
                                                             Title VI Complaint Investigation Form




              Interviewee's

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             Interviewer's Name and Position:

             Interview via:           0    Telephone




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          Please attach copies of the complaint, statements of involved parties and witnesses, and response to
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    Per Policy 501.'0J (L)(9) all inmates that appeal the decisi
                                                                  below, spccif)~ng why you feel the decisi on
    the reason for the appeal. State the reason for your appeal
                                                            date 1.his for.
    of the Title VI Coordinator was incon-ect and sign and




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       _.;.. Correction                                                                                            J\1CMO


     Inmate Name:                       Boaz Pleasant-B~ ~ - - --                        TDOC Number:           473no

     Institution: - - - ~ ~ C=C_ _ _ _ _ __
                         TT                                                       TOMIS Grievance Number: 326774

     Title VI Tracking Number: _ ___,,_T.,,_6-__._1.,,_8--"S_,_42,,_,6"--



     Level II-Title VI Coordinator's Response and Reasons:

     Upon receipt and review of the Title VI Grievance #326774, a determination was made that
     inmate Pleasant-Bey's (#4731 1O) contention of a Title VI violation could not be substantiated.
     Title VI of the Civil Rights Act of 1964 prohibits discrimination on the basis of race, color, and
     national origin in programs and activit ies receiving federal financial assistance and does not
     specifically relate to religious rights and rights to worship. Therefore, Inmate Pleasant-Bey's
     {#473110) complaint does not meet the standard of a Title VI grievance.


     li:1 Concur with Associate/Assistant Warden O Concur with Supervisor D Remedy




                08/09/18
                Date                                                    Vasht i Holt, TDOC Title VI Coordinator




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                                       TENNESSEE DEPARTMENT OF CORRECTION
                                                        INMATE GRIEVANCE



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                             NAME                                          NUMBER                               INSTITUTION & UNIT




                           Signature of Grievant                                                                     Date


                                                    TO BE COMPLETED BY GRIE VANCE CLERK
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               Grievance Number                            Date Received                                Signature Of Grievance Clerk


INMATE GRIEVANCE COMMITTEE'S RESPONSE DUE DATE: _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _

AUTHORIZED EXTENSION: _ _ __ _ _ _ __ __
                           New Due Date                                                                Signature of Grievant
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                                                          INMATE GRIEVANCE RESPONSE
Summary of Supervisor's Response/Evidence: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _




Chairperson's Response and Reason(s): _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ __ _ _ _ _ _ _ _ _ _ _ __ _




DATE: _ _ _ _ __                           CHAIRPERSON: _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Do you wish to appeal this response?                            YES                          NO
If yes:        Sign, date, and return to chairman for processing within five (5) days of receipt of first-level response.



                         GRIEVANT                                        DATE                                       WITNESS


Distribution Upon Final Resolution:
                White· Inmate Grievant    Canary- Warden       Pink- Grievance Committee       Goldenrod - Commissioner (if applicable)
      CR-1394 (Rev. 3-00)                                             Page 1 of 2                                                  RDA 2244



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                                  TENNESSEE DEPARTMENT OF CORRECTION
                                 INMATE GRIEVANCE                  (continuation sheet)




Distribution Upon Final Resolution:
           White - Inmate Grievant    Canary - Warden   Pink - Grievance Committee   Goldenrod - Commissioner (if applicable)
    CR-1394 (Rev. 3-00)                                      Page 2 of 2                                                 RDA 2244



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"   .,   -                                              TENNESSEE DEPARTMENT OF CORRECTION
                                                                     INMATE GRIEVANCE RESPONSE




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    SummaryofEvidenceandTestimonyPresentedtoCommittee                                       t1r1J          L-   rl/1(<              1   I/ //            511.Llr I ;,/ f~r
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    Inmate Grievance Committee's Response and Reasons .........,("--=
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         11/11/;1                                                          )
                   DATE                                   V               CHAIRMAN


                                                                                                                                               I   II
                         MEMBER                                                                                                                                MEMBER



    Warden's Response:                Agrees with Proposed Response

    Disagrees with Proposed Response
    i f Disagrees, Reason(s) for Disagreement _ _ _ _ _ __ _ _ _ _ __ _ _ _ _ __ _ __ _ _ __ __ _ _




    Action Take n : - - - - - - - -- - - - - -- - -- - - - - - - -- --

    DATE: _ _ _ __ _
    Do you wish to appeal this response?
    If yes:
                                                     WARDEN'S SIGNATURE,_
                                                                        V        YES
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                  Sign, date, and return to chairman for processing. Grievant may attach supplemental clarification of issues or rebuttal/reaction
                  to previous responses if so desired.
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                             GRIEVANT
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    Commissioner's Response and Reason(s): _ _ _ _ _ _ _ _ _ _ __ _ _ _ __ _ _ _ _ _ _ _ _ _ _ __




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    Distribution Upon Final Resolution:
                            White - Inmate Grievant               Canary - Warden        Pink - Grievance Committee                Goldenrod - Commissioner
    CR-1393 (Rev. 3-00)                                                                                                                                                      RDA 2244


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                                                    TENNESSEE DEPARTMENT OF CORRECTION
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                                      RESPONSE OF SUPERVISOR OF GRIEVED EMPLOYEE OR DEPARTMENT



          DATE:   ,   o-?7-l'I                                              Please respond to the attached grievance, indicating any action taken.
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                      (J       White - Inmate Grievant   Canary - Warden   Pink - Grievance Committee   Goldenrod - Commissioner

            CR-3148 (Rev. 3-00)                                                                                                      RDA 2244




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      Summary of Evidence and Testimony Presented to Committee i.7[J_l_J /             lizz ( <          d h {I s ~..!L.~ !r._ _______ _··-
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     ;nmate Grl:vance Committee's Response and Reasons __          @ . .1....(_'t.__',/_J_··___(1__()._1. . .'l.f2_ Qtl/2lri U6lJr·
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    Disagrees with Proposed Response
    If Disagrees. Reason(s) for Disagreement _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
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   Action T a k e n : - · · - · · • - - - - - - - - - - - ·
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   Do you wish to appeal this response?
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                                                   - - ~ YES                     ___        NO
   If yes:   Sign. date, and return to chairman for processing. Grievent may attach supplemental clarffication of
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             to previous responses lf so desired.


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  Commissioner's Response and Reason(s): - - -            -----·----------------~

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  Distribution Upon Final Resolution:
                      White - Inmate Grlevant   Canary - Warden    Pink - Grievance Committee       Goldenrod - Commissioner
  CR-1393 (Rev. 3-00)
                                                                                                                                RDA2244




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         Correction                                                                                                                     MEMO
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Inmate Name: ~                     _._1_       ....,_~---'
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Institution: _ __..7_.7-'C'----"Lc___ _ __~ - - -                                             Housing Unit - F - 4             200

lnstitution Grievance Number:                                J7t/J                            TOMIS Grievance Number:                ]Z ,2 7J 7

Commissioner's Response and Reasons:

The response of the Committee is appropriate.

The grievant failed to substantiate allegation(s) presented to the satisfaction of the Grievance
Committee. Additional information has not been presented which indicates the Level 2
response was inappropriate.




~ncur with Warden                              •       Concur with Supervisor                                 -rr'Appeal Denied




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                                                                 PageID #: 2200
                                      TENNESSEE DEPARTMENT OF CORRECTION
                                                    INMATE GRIEVANCE




                         NAME                                          NUMBER                               INSTITUTION & UNIT




                       Signature of Grievant                                                                     Date


                                               TO BE COMPLETED BY GRIEVANCE CLERK



          Grievance Number                             Date Received                               Signature Of Grievance Clerk


INMATE GRIEVANCE COMMITTEE'S RESPONSE DUE DATE: _ __ _ __ _ _ _ _ _ _ __ _ __ _ _ __ _

AUTHORIZED EXTENSION: _ _ _ _ _ _ _ _ _ __
                            New Due Date                                                           Signature of Grievant


                                                     INMATE GRIEVANCE RESPONSE



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Chairperson's Response and Reason(s): _ _ _ __ _ _ _ _ __ _ _ _ __ _ _ _ _ __ _ _ __ _ _ _ __

                                                                                                                           ...

DATE: _ _ _ __ _                       CHAIRPERSON: _ _ __ _ _ _ __ _ __ _ _ _ __ _ _ _ _ __ _ __

Do you wish to appeal this response?            ___         YES              _ __        NO
If yes:   Sign, date, and return to chairman for processing within five (5) days of receipt of first-level response .



                    GRIEVANT                                         DATE                                       WITNESS


Distribution Upon Final Resolution:
           White - Inmate Grievant     Canary - Warden    Pink - Grievance Committee      Goldenrod - Commissioner (if applicable)
    CR-1394 (Rev. 3-00)                                           Page 1 of 2                                                    RDA 2244


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                                           TENNESSEE DEPARTMENT OF CORRECTION
                                          INMATE GRIEVANCE                    (continuation sheet)




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         Distribution Upon Final Resolution:
                    White - Inmate Grievant     Canary- Warden     Pink - Grievance Committee   Goldenrod - Commissioner (if applicable)
             CR-1394 (Rev. 3-00)                                        Page 2 of 2                                                 RDA 2244



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                                                      TENNESSEE DEPARTMENT OF CORRECTION
                 '
                                        RESPONSE OF SUPERVISOR OF GRIEVED EMPLOYEE OR DEPARTMENT




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                       Grievance Number
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                                   White - Inmate Grievant   Canary - Warden       Pink - Grievance Committee   Goldenrod - Commissioner

                    CR-3148 (Rev. 3-00)                                                                                                      RDA2244




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                                                                                 PageID #: 2205
                                  TENNESSEE DEPARTMENT OF CORRECTION
                                                   INMATE GRIEVANCE




                        NAME                                          NUMBER                               INSTITUTION & UNIT




                      Signature of Grievant                                                                     Date


                                               TO BE COMPLETED BY GRIEVANCE CLERK



          Grievance Number                            Date Received                               Signature Of Grievance Clerk


INMATE GRIEVANCE COMMITTEE'S RESPONSE DUE DATE: _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ __ _ _

AUTHORIZED EXTENSIO N : - ' - - - - - - - - - - -
                           New Due Date                                                           Signature of Grievant


                                                    INMATE GRIEVANCE RESPONSE

Summary of Supervisor's Response/Evidence:-- -- -- - - - - ---,------ - - - - -- - - - - - - --




Chairperson's Response and Reason(s): _ _ _ _ _ _ _ _ __ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




DATE:     //(! If j                   CHAIRPERSON: _ _ _ _ __ _ _ __ _ __ _ _ _ _ _ _ __ __ _ __

Do you wish to appeal this response?                        YES                         NO




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If yes:   Sign, date, and return to chairman for processing within five (5) days of receipt of first-level response.



                                                                     DATE                                       WITNESS


Distribution Upon Final Resolution:
            White - Inmate Grievant   Canary - Warden     Pink - Grievance Committee      Goldenrod - Commissioner (if applicable)

    CR-1394 (Rev. 3-00)                                           Page 1 of 2                                                 RDA 2244



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                                                                   PageID #: 2206
   CCI 000524




                                  TENNESSEE DEPARTMENT OF CORRECTION
                                 INMATE GRIEVANCE                            (continuation sheet)




DESCRIPTION OF PROBLEM:               .- , •   ,, ,
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Distribution Upon Final Resolution:
           White - Inmate Grievant     Canary- Warden        Pink- Grievance Committee          Goldenrod - Commissioner (if applicable)
    CR-1394 (Rev. 3-00)                                              Page 2 of 2                                                      RDA 2244



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                                                           TENNESSEE DEPARTMENT OF CORRECTION                                        c__ ~         -           1
                                     RESPONSE OF SUPERVISOR OF GRIEVED EMPLOYEE OR DEPARTMENT                                                D..p ln I {)

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    CR-3148 (Rev. 3-00)                                                                                                                             RDA 2244

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  Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 125 of 200 PageID #: 2208
                                                                                                                                                                   ~
                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TENNESSE E
                                        at GREENEV ILLE

     BOAZ PLEASANT -BEY (#473110),                     )
                                                       )
              Plaintiff,                               )
                                                       )
     v.                                                )           No. 2:15-cv-174
                                                       )           Judge Phillips
     JOHNSON COUNTY, et al.,                           )           Magistrate Judge Corker
                                                       )
              Defendants.                              )



                           AFFIDAVIT OF CHAPLAIN JON SHONEBA RGER


             COMES NOW the affiant, CHAPLAIN JON SHONEBA RGER, after being first duly

     sworn, and states under oath as follows:

          1. I am over 18 years of age and I am otherwise competent to give this Affidavit.

          2. I make all statements herein based on my personal knowledge.

          3. I am currently employed by the CoreCivic Corporation as a chaplain at the Turner

             Trousdale Correctional Center ("TTCC") in Hartsville, Tennessee.

          4. Upon communicat ion with Attorney General's office, I became aware of the pending

             litigation in this case in the Eastern District of Tennessee, Bey v. Johnson County, 2: I 5-

             cv-174. I am also now aware of Plaintiff Bey's pending motion for a preliminary

             injunction in that matter, and have reviewed Plaintiffs allegations in order to assist the

             Court and provide responsive information.

          5. Contrary to Plaintiffs allegations, there has been no recent significant change, of any

             kind, to TDOC or TTCC food services policy regarding Muslim inmates.




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                                                                 PageID #: 2209
        6. Contrary to Plaintiffs allegations, no Muslim inmates at the Turner Trousdale

           Correctional Facility, has ever or will ever be required to eat meat items that are Haram

           or forbidden under Muslim dietary restrictions.

        7. To the best of my knowledge, there is no TDOC "total ban" on "all traditional Halal

           foods," and no new policy has been adopted or implemented in 2019 as to Muslim diets

           at TTCC.

        8. In 2018 TDOC and CoreCivic policy was changed to disallow food items to be brought

           in by volunteers. The change was made in response to complaints of some religious

           groups (i.e. Christians) receiving more food at feasts due to a higher number of

           volunteers in the area bringing in food, while other religions, with fewer to no volunteers

           in the area, were not receiving the same amount of extra food. The authorized vendor at

           TTCC and for all CoreCivic prisons in Tennessee is Trinity.

        9. Therefore, in 2018, to ensure fairness and equal treatment to ALL religions, ALL outside

           food items were prohibited, including religious items provided by volunteers.

        I 0. Food services and religious staff at TTCC work to ensure that Muslim inmates receive

           meals during Ramadan before sunrise and after sunset, which do not conflict with their

           religious requirements.

        11. Muslim inmates have available to them Halal food items.

        12. Muslim inmates have available during Ramadan vegetarian options provided before

           sunrise and after sunset.

        13. All food items must be purchased and provided by authorized vendors. Volunteers cannot

           bring in outside food. This is a policy which applies equally to all inmates of all religious

           faiths at TTCC.




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     CCI 000528
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             14. The 20 I 8 Id UI Fitr feast was not cancelled at TTCC.

             15. There is no plan at TTCC to ever serve MusJim inmate Haram or forbidden meat items or

                 any otht:r dietary items prohibited.

             16. I did not have the conversations with any of the inmates as described in affidavits

                 attad1ed to Plaintiff's motion for an injunction, and I did not personally tell any inmates

                 that inmates would be required      Lo   cat food forbidden in the Islamic faith.
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                 FURTHER AFFIANT SA YETI-I NAUGHT.

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                                                      VERIFICATION

         STATE OF TENNESSEE

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         Sworn   10   anti subscribed to before me, this~day of                    S,Jtfk<d/   2019.


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    Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 128 of 200 PageID #: 2211
         TROUSDALE TURNER CORRECTIONAL CENTER
              NOTICE OF GRIEVANCE HEARING


   I Date: //-?-If        Grievant:/Jb.511t-f-bev    TDOC#:47]//t>          Grievance#:   1'tt'l/33~~F:F


    Present during hearing:   qj../;/,f.e2      ~qJiilidt/1),,., (.{A.)luo/lH
                         Grievance Coordinator       Staff                  Staff




                               Inmate Clerk            Inmate             Inmate

Grievant enters. The Coordinator read the grievance, supervisor's response and the grievance solution.
Procedures were explained.




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                                                     TENNESSEE DEPARTMENT OF CORRECTION
 ,\'ll -:-,..
--Iv ..                                                       INMATE GRIEVANCE RESPONSE
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                                 , NAME                                NUMBER                            INSTITUTION & !,)NIT              GRIEVANCE NUMBER

    S ummary of Evidence and Testimony Presented to Committee _ _ __ _ _ _ _• """""     t - < - - - -- - - - - -- -- -
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     Inmate Grievance Committee's Response and Reasons _ __ _                              t_1_ _ _ _ _ __ __ _/_ L....
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                                                                                                                                         MEMBER
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                                                                                                                                           MEMBER

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    Warden's Response: Agrees with Proposed Response [f]
     Disagrees with Proposed Response                                                              D
     If Disagrees, Reason(s) for Disagreement _ _ _ _ _ _ __ _ _ _ _ _ _ __ _ _ _ _ _ _ _ __ _ _ _ _ __




     Action Taken:                                                                             -   ..

     DAT E: / / l3 /<j                                          _~
                                        WARDEN'S SIGNATURE,_,,.:7
                                                                  ~
                                                                  _ _ __, _ _ _ __ _ _ _ _ _ __ __
     Do you wish to appeal this response?       ~ YES               _ _ _ NO
     If yes:      Sign, date, and return to chairman for processing. Grievant may attach supplemental clarification of issues or rebuttal/reaction
                  to previous responses if so desired.
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                                 GRIEVANT                                              DATE                                              WITNESS
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     Commissioner's Response and Reason(s): _ _ _ _ _ _ __ __ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ __




                  DATE                                                                                                      SIGNATURE


     Distribution Upon Final Resolution:
                                White - Inmate Grievant   Canary - Warden    Pink - Grievance Committee                Goldenrod - Commissioner

    CR-1393 (Rev. 3-00)                                                                                                                            RDA2244


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                                                               TENNESSEE DEPARTMENT OF CORRECTION
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                                                                      INMATE GRIEVANCE RESPONSE
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                                                                                                                    INSTITUTION &                      IT                   G~R~I-EV_A_N_C_E_N_U_M_B_E_R_
                                                                               NUMBER

            Summary of Evidence and Testimony Presented to Committee                         'n , ., ~--·4-~A.~.,___                                                             .,,-"<-.___ _ _ _ __

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            Inmate Grievance Committee's Response and Reasons ..                . . . .e......0~•'_,1._1,.....-c...=-__c__~.. .,. .,__.___,u___,('..____t,,.v,:;;.._Jf-"-t._~----"-5-'v;.,,F-~~_.::c.~::;;x_.:...:'"::.-.-
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                                                                                         MEMBER                                                                             MEMBER

            Warden's Response:= =Agrees with Proposed Response                    =-= === .,              Cl(' ==== == ======== ====================::
            Disagrees with Proposed Response
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            Jf Disagrees, Reason(s) for D i s a g r e e m e n t - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




            Action Taken:                                                                   ~

            DATE:        j/·/J "/'f                                        __
                                                       WARDEN'S:,;TURE~:~ ._  _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                             __
            Do you wish to appeal this response?                               YES ,                     ___                 NO
            If yes:      Sign, date, and return to chairman for processing. Grievant may attach supplemental clarification of issues or rebuttal/reaction
                         to previous responses If so d-e~i!~~;:--?

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            Commissioners       ~1MEIJson{s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                   NOV 19 2019

                               TDOC Operations
          ----• -A_T_E__                                                                                                                          SIGNATURE


           Distribution Upon Final Resolution:
                                 White - Inmate Grievant        Canary - Warden        Pink - Grievance Committee                           Goldenrod - Commissioner

           CR-1393 (Rev. 3-00)                                                                                                                                                          RDA2244




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         _correction                                                                          MEMO



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Inmate Name: ~ &~•~'f~l.~~P                                TDOC Number: _       r~2~.1_1._~-"- -
                                              l
Institution: _ _ _7~?- ~ ________
                       _c...                               Housing Unit: - - ~W.~'l?~I_L_C._____

Institution Grievance Number: -~"~'K~'f_,__                TOM IS Grievance Number:          Uf7tt>L

Commissioner's Response:




~ r w i th Warden                •   Concur w ith Supervisor        ~ p e al Denied




          /f:
        Date
                  Z/-t 7'.

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                                          th
          Department of Correc:ion · 6 Floor Rachel Jackson Building · 320 Sixth Avenue North ·
          Nashville, TN 37243 · Tel: 6 · 5-253-8180 · Fax: 615-253-1668 • tn.gov/Correction




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                                  TENNESSEE DEPARTMENT OF CORRECTION
                                                   INMATE GRIEVANCE


                                                                                                                       / __
                        NAME                                          NUMBER                               INSTITUTION & UNIT

DESCRIPTION OF PROBLEM:                                                                                                         ,, LL," ,-,w
                                                                                                                               <::   A-I , .,, .




                      Signature of Grievant                                                                     Date


                                               TO BE COMPLETED BY GRIEVANCE CLERK



          Grievance Number                            Date Received                /              Signature Of Grievance Clerk


INMATE GRIEVANCE COMMITTEE'S RESPONSE DUE DATE: _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ __ __

AUTHORIZED EXTENSION: _ _ __ _ _ _ __ __
                           New Due Date                                                           Signature of Grievant

================================================== ======- -------------------------- ·
                                                    INMATE GRIEVANCE RESPONSE
Summary of Supervisor's Response/Evidence: _ _ _ _ _ __ _ _ _ __ _ _ __ _ _ _ _ _ _ _ __ __ _




Chairperson's Response and Reason(s): _ _ _ _ _ _ _ _ _ __ _ __ _ _ __ _ _ _ __ _ _ _ _ _ __




DATE: _ _ __ __                       CHAIRPERSON: _ _ _ _ _ _ __ _ _ __ _ _ __ __ __ __ _ _ __

Do you wish to appeal this response?           ___         YES                 ___      NO
If yes:   Sign, date, and return to chairman for processing within five (5) days of receipt of first-level response.



                    GRIEVANT                                        DATE                                       WITNESS


Distribution Upon Final Resolution:
            White - Inmate Grievant   Canary- Warden      Pink - Grievance Committee      Goldenrod - Commissioner (if applicable)

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                                  TENNESSEE DEPARTMENT OF CORRECTION
                                  INMATE GRIEVANCE                  (continuation sheet)           r
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Distribution Upon Final Resolution:
           White - Inmate Grievant    Canary- Warden   Pink - Grievance Committee   Goldenrod - Commissioner (if applicable)
   CR-1394 (Rev. 3-00)                                         Page 2 of 2                                              RDA 2244


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.,, _,,                                           TENNESSEE DEPARTMENT OF CORRECTION
                               RESPONSE OF SUPERVISOR OF GRIEVED EMPLOYEE OR DEPARTMENT




                                                                    Please respond to the attached grievance, indicating any action taken.
                                                                    Date Due:        <t     I   l<j

                                                                                                                  23'/IO
                                                                                                                      Inmate Number




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                                                                Pink - Grievance Committee       Goldenrod - Commissioner

            CR-3148 (Rev. 3-00)                                                                                              RDA 2244


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                                          TENNESSEE DEPARTMENT OF CORRECTION
                                                        INMATE GRIEVANCE RESPONSE




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                          NAtvfE                                        NUMBER                   INSTITUTION & UNIT               GRIEVANCE NUMBER

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Summary of Evidence and Testimony Presented to Committee __       ,~" -'                        _.., ~
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Inmate Grievance Committee's Response and Reasons _...c.
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                                                            i,CHAIRMAN                                                       MEMBER



                     MEMBER                                                  MEMBER                                                MEMBER
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Warden's Response:            Agrees with Proposed Response                               li]
Disagrees with Proposed Response
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If Disagrees, Reason(s) for Disagreement--- -- - - - - - - - - - - -- - - - - - - -- - - - - - - -




Action Taken: _ _ __ _ __ _ _ __ __ _ _ __ _ _ _//
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DATE:
          11
           - 'q -1?                WARDEN'S SIGNATURE:                              j(&.t.All
Do you wish to appeal this response?        /    YES '----+-- =---
                                                                _-_-
                                                                   _-_-_-_- -N-0_ _ _ _ _ _ __ __ _ _ _ _ _ __

If yes:   Sign, date, and return to chairman for processing. Grievant may attach supplemental clarification of issues or rebuttal/reaction
          to previous responses if so desired.



                                                                                                                            WITNESS


Commissioner's Response and Reason(s):            - ---===--=-- - - - - -- -- - -- - - - - - - - - - - - - - - - -




          DATE                                                                                                 SIGNATURE


Distribution Upon Final Resolution:
                  White - Inmate Grievant    Canary - Warden                 Pink - Grievance Committee     Goldenrod - Commissioner

CR-1393 (Rev. 3-00)                                                                                                                             RDA 2244


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                                            TENNESSEE DEPARTMENT OF CORRECTION
                                                             INMATE GRIEVANCE RESPONSE




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                                                                                                               INSTITUTION & UNIT
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 Summary of Evidence and Testimony Presented to Committee __ L~-~L.c::.~., \~.~-..-~--                                                                   . h ~~,--            Cif.~~-\L 5 __--:1. (._-t:__

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 Inmate Grievance Committee's Response and Reasons                                -?c\!~!--.~ -~--                   •2_Q_ \~Ol. ___JLLQ-1}{?)-.. . _______
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                DATE



---- ·- .. -··· .MEMBER .                                               .. . ··•·. .        MEMBER . .       .. ... --- ....                             .......- .....______M_E_M_B-ER .. ---    -----. -·-


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~a~e~~ Response:                   Agrees with Proposed Response                                                                                                                     •--- --      =- - - - '

 Disagrees with Proposed Response
If Disagrees, Reason(s) for Disagreement _ _ __
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Do you wish to appeal this response?                                    ~        YES :... -----·___                     ~~------                                                                 '---··--·-

If yes:    Sign, date, and return to chairman for processing. Grievant may attach supplemental clarification of issues or rebuttal/reaction
           to previous responses if so desired.
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Commissioner'sResponseanlReason(s): ---·-. ------                                                  :                 · .. _ , _ . , : _ ~ - - - - - - -                            ___ ,,______
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                       TDOC Operations
           DATE                                                                                                                                           SIGNATURE


Distribution Upon Final Resolution:
                           White - Inmate Grievant           Canary - Warden               Pink - Grievance Committee                               Goldenrod - Commissioner

CR-1393 (Rev. 3-00)                                                                                                                                                                 RDA 2244




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     -       .Correction                                                                                    MEMO



                                                                   TDOC Number:          '17 ..Ut u
    Institution:            . . -------
                   --~»~c~c.~                                     Housing Unit:       (..u fl   IL   C
    lnstitution Grievance Number:         '1 fo , I              TOMIS Grievance Number:                 JJ 2 'ic.:>2..-

    Commissioner's Response and Reasons:

    The Program Manager has reviewed the grievance and:




    •    Concur with Warden            ~ c ur with Supervisor                    •   Concur with Committee




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              NiJ~hville -N 371-,13 • Tel· 615-:>'.:>J-HlKC • 1·.,x 61 'i-?'d-1668 • tn gov/(01 r f'C '1ori




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                                                                     PageID #: 2223
                                      TENNESSEE DEPARTMENT OF CORRECTION
                                                                      INMATE GRIEVANCE



                                                                                                                                                                                                                  I
                            NAME
                                          -B.
                                                      I                                                    NUMBER                                                                      INSTITUTION & UNIT

    DESCRIPTION OF PROBLEM: -             .:..=.;..-~-=--=-'·-<=...,:J.
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                          Signature of Grievant                                                                                                                                                Date


                                                             TO BE COMPLETED B Y GRIEVANCE CLERK

                                                                                                                                                        .)
              Grievance Number                                              Date Received                                                                            S ignature Of Grievance Clerk


    INMATE GRIEVANCE COMMITTEE'S RESPONSE DUE DATE: _ __                                                                     _ __                 _ _ _ __ _ _ _ _ _ _ _ _ __
r   AUTHO RIZED EXTENSION: _ _ _ _ _ _ __                                           _ _
                                New Due Date                                                                                                                        Signature of Grievant


                                                                        INMATE GRIEVANCE RESPONSE
    Summary of Supervisor's Response/Evidence: _ _ _ __ _ _ _ _ _ __ __ _ _ _ _ _ _ _ _ _ _ _ _ _ __




    Chairperson's Response and Reason(s): _ _ _ _ _ __ __ _ _ _ _ __ _ _ __ _ _ _ __ _ __ _ _ __




    DATE: _ _ _ __ _                        CHAIRPERSON: _ __ _ __ _ _ __ _ _ _ __ _ __ _ _ _ _ __ _ _

    Do you wish to appeal this response?                       ___                   YES                               _ __                    NO
    If yes:   Sign, date, and return to chairman for processing within five (5) days of receipt of first-level response.


                                                                                        J
                        GRIEVANT                                                                       DATE                                                                                    WITNESS


    Distribution Upon Final Resolution:
               White - Inmate Grievant     Canary - Warden                         Pink - Grievance Committee                                       Goldenrod - Commissioner (if applicable)

        CR-1394 (Rev. 3-00)                                                                     Page 1 of 2                                                                                                                     RDA2244



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                                  TENNESSEE DEPARTMENT OF CORRECTION
                                 INMATE GRIEVANCE                  (continuation sheet)




Distribution Upon Final Resolution:
            White - Inmate Grievant   Canary - Warden   Pink - Grievance Committee   Goldenrod - Commissioner (if applicable)
    CR- 1394 (Rev. 3-00)                                     Page 2 of 2                                                 RDA 2244


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                                                                  PageID #: 2225
                                           TENNESSEE DEPARTMENT OF CORRECTION
                          RESPONSE OF SUPERVISOR OF GRIEVED EMPLOYEE OR DEPART MENT




DATE.~
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                                    0'--                        Please respond to the attached grievance, indicating any action taken.
                                                                Date Due:          /   / (c ).   0 10


         Grievance Number
                                                   Roo7                                                        l/'13110
                                                                                                                  lnma-te Number




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                                                                                                           DATE

                   White - Inmate Grievant   Canary - Warden   Pink - Grievance Committee   Goldenrod - Commissioner

    CR-3148 (Rev. 3-00)                                                                                                  RDA2244



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                       TROUSDALE TURNER CORRECTIONAL CENTER
                            NOTICE OF GRIEVANCE HEARING


                   Date:   ...   z -2tJ    Grievant:~       ¢!'?Sti11,f-    TDOC#:~73/lo    Grievance#:'/~6S"iJ'3'1'/i
                                                        .           /Je.5
                   Present during hearing:   5j/ fota Jb-~~ ,# c;a#
                                                           p
                                          Grievance Coordinator             Staff           Staff




                                              Inmate Clerk                   Inmate        Inmate

              Grievant enters. The Coordinator read the grievance, supervisor's response and the grievance solution.
              Procedures were explained.




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          Y       DATE:                                 SIGNED




      GS•07117 (Rev. 9·91)

      SENDER: DETACH LAST COPY AND FILE FOR FOLLOW UP



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               Case 3:22-cv-00093 Document 33-16 Filed 05/04/22 Page 146 of 200 CCI  000546
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                                       .
                                           .                   TENNESSEE DEPARTMENT OF CORRECTION




                       •NAME
                                  .

                                                     _)
                                                                            INMATE GRIEVANCE RESPONSE



                                                                        i'./ l _,11u
                                                                           NUMBER
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                                                                                                     INSTITUTION & UNIT                                                GRIEVANCE NUMBER

Summary of Evidence and Testimony Presented to Committee _:_
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Inmate Grievance Committee's Response and Reasons _r_ .,.;..;...
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  f         DATE                                                    '     CHAIRMA~                                                                                     MEMBER


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                      MEMBER                                                                -MEMBER                                                                                  MEMBER




Warden's Response:

Disagrees with Proposed Response
                                      Agrees with Proposed Response



If Disagrees, Reason(s) for Disagreement - - -- - - -- - -- -- - -- -- - - -- -- - -- - -- --
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Action Taken: - - - - - - -- - -- - -- - - -- --,-::.:.      ,..,--,-- +'-f-'- - - - - - -- - - - -- - - - -- -
DATE: / - <. c- lM O        WARDEN'S SIGNATURE: ...,_1_· _ 1/
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                                                            ( _t_:_!/J .:...f/________ _ __ _____
Do you wish to appeal this response?                                                YES       t..__,.,              NO

If yes:     Sign, date and return to chairman for processing. Grievant may attach supplemental clarification of issues or rebuttal/reaction
           to previous responses if so desired.

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V!Jrz                     / -                ,,,,.             )                    1
                        G@EVA:NT                                                            DATE                                                                         WITNESS


Commissioner's Response and Reason(s): - - - - - - - - - - - - - - - - -- -- - - - - - - - - -- - -




                  DATE                                                                                                                                         SIGNATURE


Distribution Upon Final Resolution:
                         White - Inmate Grievant                   Canary - Warden          Pink - Grievance Committee                               Goldenrod - Commissioner
CR-1393 (Rev. 3-00)                                                                                                                                                                                       RDA2244




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            TROUSDALE TURNER CORRECTIONAL CENTER

                                Core Civic
                           140 Macon Way
                      Hartsville , Tennessee 37074




                                   2020-2021
                               Inmate
                        Rules and Regulati ons
                              Handboo k




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     TROUSDALE TURNER CORRECTIONAL CENTER
     HARTSVILLE, TENNESSEE

     Welcome to CoreCivic Trousdale Turner Correctional Center in Hartsville, Tennessee. During
     your orientation at Trousdale Turner you will be provided with information to assist you in
     becoming familiar with our system . Th is orientation will include, but is not limited to, the
     following:

            1.     Institutional rules and regulations
            2.     Programs and activities
            3.     Health care
            4.     Classification
            5.     Mail
            6.     Visitation
            7.     Personal property
            8.     Grievance procedures
            9.     Disciplinary
           10.     Sexual Assault of Inmates


     Key Staff at Trousda le Turner Correctional Center
                              Warden:                                  Raymond Byrd
                              Assistant Warden/Ope rations:            Bryon Ponds
                              Assistant Warden/Tre atment:             Brandon Watwood
                              Assistant Warden/Ser vices:              Vincent Vantell
                            Chief of Security:                         Rubenard Risper
                            Chief of Unit Managemen t:                 Michael Bollenberg
                            Assistant Chief of Security:               TBD
                            Assistant Chief:                           Donelle Harris
                            TDOC Contract Monitor:                     Chris Brun
                            TDOC Contract Monitor:                     Jon Walton
                            TDOC Commissioner's Designee:              John Fisher




                                                                          PSI 10)1rzu
                                                                               Date
                          Assistant Commissio ner of Prisons


                                                                                           5IPagc




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     Trousdale Turner Correctional Center (nCC) is a correctional institution that is managed by
     CoreCivic through a contract with the Tennessee Department of Corrections.

     We want you to take pride in keeping nee clean and assisting with taking care of the facility, as
     it is a place where you will live for a period of time. Good sanitation creates a healthful
     environment for all of us.

     nee uses the unit management concept which is a method that divides the large institution
     into smaller operating units. The management units are as follows: five are celled general
     population units, one is open bay general population, and one is the special management unit.
     Together, the unit manager and unit staff manage the inmate populations in their unit,
     including classification, communication, sanitation, safety and security, and all other aspects of
     unit operation.

     A unit manager and a team of unit staff are responsible for the management of each unit. The
     unit team consists of the unit manager, case managers, senior-inmate relations, and
     correctional officers.

     Other institutional staff, including those in medical and mental health services, education,
     recreation, religious services, maintenance, food service, commissary, property, laundry and
     administration, works with the unit manager and staff to provide activities, programs and other
     services to you.

     You are responsible for discussing issues, requests and questions with the unit staff case
     managers, correctional counselors and the unit manager first. While you may address requests
     and questions to department heads, supervisors and members of the administration, your
     requests will be discussed with the case manager, senior-inmate relations and, in many cases,
     returned to your unit manager to handle.

     Access to Fore ign Nationa l/Diplom atic Representative
     Foreign national {non-U.S. citizen) inmates/resident have a right to access the foreign consulate
     from his/her country of citizenship at any time.
     In accordance with TDOe Policy 103.03, Diploma tic Access for Foreign National Inmates. a
     Diplomatic Representative Information Booklet is available in the inmate law library for review
     upon request. This booklet lists information of each foreign embassy or consulate for foreign
     national inmates in order to locate their respective embassy or consulate. Inmates who are
     unable, due to their housing assignment, to physically access the main law library (protective
     custody and segregation) to obtain this information shall request such information from their
     Case Manager or Senior-Inmate Relations.




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     Foreign Consular Not ification
     If the contracting agency has not assumed responsibility of foreign consular notification or if
     inmates/residents invoke the right after initial arrest and detention, CoreCivic will ask
     Tennessee Department of Corrections permission notify the consulate in accordance with the
     U.S. Department of State guidelines.
     Inmate Rules and Regulat ions

     Rules and regulations have been adopted for use at Trousdale Turner Correctional Center and
     will be enforced along with the Tennessee Department of Correction policies. Copies of unit
     policies approved for the inmates to view are available in the library and unit rules are posted
     on bulletin boards inside of the housing unit dormitory.

     We hope your stay here is productive. We hope you will take advantage of the programs and
     services available. You have the opportunity to leave better prepared for your return to society.
     While incarcerated in this facility you are expected to obey all the rules and regulations listed
     within; therefore, if there are portions that you do not fully understand, ask a staff person for
     assistance in explaining them. Failure to understand the rules and regulations will not be
     accepted as an excuse for not following them.

     MISSION STATEMENT

    The _primary mission of tfie CoreCivic/T'roilSaaie Turner Correctio na[
     Cen ter is in _partnersfiiy witfi governme nt, we wi[[_provide a meaningf u{
    _pufific service by o_perating tfie lii.gfie t quafity ad:u[t correction s system
     in tfie V.nited States.

     We aim to _protect tfie _pu6fic safety tfirougfi tfie incarcera tion of aauCts
     wfw fiave been adjudica ted ana sentencea to a term of im_prisonment.
     ..'An integra{_part of CoreCivic/TTCC's mission is to maintain an
     environ1nent for 6otfi staff ana inmates, wfiicfi is safe, fiea{thfu{,
      fiumane, _productive ana mutua{{y r es_pectfu[

    We continua{ {y strive to _proviae a variety of services and_programs to
     tfie inmates to assist tfiem in _preyaring for a {awfu{ return to society.
    Inmates are requirea to work anal or required to _particiyate in
    _prot1rams anc{s rvi s. 'R ~/i,isa(to wadi or_parti tpa te i,n_programs may
     resu(t in dt i_pfinary a tion · tfiat may incfiu[ us_p nsion oj vL·fts, no
    credits, and aaditiona { segregati on tim . 1nm tes are en ouragerf to
    demonstr ate se[fcontro [, _persona{ r esyonsihi{ ity, ana construct ive
    aecision-m aking ana_positive 6efiavior.


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     CHAPTER 1
     ADMISSION AND ORIENTATION

     Each inmate will receive a formal orientation within the first week at TTCC. During intake
     processing you will receive your copy of the inmate handbook and/or the supplement, listen to
     staff presentations about institutional operations, programs, services and rules, and participate
     in a question/answer session.

     The intake/orientation process also provides specific information about AIDS, other
     communicable diseases and a brochure about PREA (Prison Rape Elimination Act). Should you
     need or wish to have more information regarding health matters, you should forward an
     inmate request form to health services.

     For the safety and security of the facility CoreCivic-TTCC has established designated times to
     conduct facility counts. Facility counts are extremely important and adherence to facility
     procedures, policies, and directives are required by the inmate population. CoreCivic-TTCCs
     count times are:

     Formal Counts at Trousdale Turner Correctional Center is as follows:
     0115 Standing Count
     0515 Standing Count
     1000 Standing Count
     1500 Standing Count
     2100 Standing Count
     2230 Standing Count

     Note: Prep for count is 30 minutes prior to all Standing Counts

     All movement of inmates shall cease before the count begins and shall not resume until the
     total institutional count is announced clear and correct. There will be no movement of inmates
     from any area inside the perimeter of the institution until the count is verified and cleared by
     the count room/shift supervisor.

     Red Zones
     Red zones are conducted from five minutes before the hour until five minutes after the hour.
     This means that during this time period your cell door will be opened for you to retrieve items
     or use the restroom. This is the only time that you will be able to enter or exit your cell during
     your 'out' Tier Management time. You must be standing beside your door when the officer gets
     to your door in order for your door to be opened. The officer will not open your door after
     he/she has gone past your door as they conduct their security checks.

                                                                                             8lPagc




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     Tier Management
     Inmates must follow the approved and posted Tier Management Schedule as per TDOC policy.
     The Tier Management Schedule will be strictly enforced. It is the responsibility of the inmate to
     secure their legal mail, personal property, commissary etc. when leaving their cell. During
     designated tier time, ALL cell doors must and will be secured. During Tier Management cell
     doors will only be opened during the "red zone" times which will allow the inmates on tier time
     to go back into or come out of their cells. At no time will inmates scheduled out of their cells
     during tier management be allowed to talk to, pass notes, or any other items to other inmates
     through the cell doors when inmates are confined in their cells.

     Veteran's Pod
     Veterans may submit a request to be housed in the Veteran's Pod to the Chief of Unit
     Management.

     Suicide Prevention
     Coming to jail can be a difficult and stressful adjustment. If at any time you feel that you might
     hurt yourself or you hear or see behaviors in others that might indicate they are suicidal please
     tell a staff member. We have staff available to assist our inmates while being incarcerated .

     Personal Property
     Items in the personal possession of an inmate must be in compliance with applicable fire/safety
     regulations, and must not occupy more than six (6} cubic feet per inmate. This size storage bag
     may be used for cell or room searches, routine property inventories, and transportation
     requirements. Property that will not fit inside the authorized bag will be deemed excess and
     stored in the property room pending disposition of said items in compliance with TDOC Policy
     504.02. An item will be considered excess if it does not fit within the six- (6} cubic foot limit
     even though said item may appear on the approved property list. Exceptions to the six- (6)
     cubic foot requirement are:

                            1.     Legal materials as defined by TDOC Policy 504.01
                            2.     Prescribed medical equipment
                            3.     Televisions and fan
                            4.     Approval musical instrument (does not include radios)
                            5.     Linen (State issue)

    This institution has an approved inmate personal property list, which is available to all inmates.
    The list includes all items and quantities inmates are allowed to possess or receive in packages.
    Inmates may obtain this list from the institutional library. Any items that an inmate receives in
    a package, which is not on the approved property list, will be put into storage for a period not
    to exceed thirty (30) days. It is the inmate's responsibility to ensure that the stored items are
    mailed/sent out during this thirty- (30) day period. Items not mailed will be disposed of in
    accordance with TDOC Policy 504.02. Packages may be mailed out Tuesday and Thursday.


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     Appliances are subject to confiscation and disposal if evidence exists that they have been
     altered in any way or evidence of prior TDOC possession. Inmates may not receive or have in
     their possession, property that has a TDOC number marked off or otherwise altered.

     All personal property (radios, lV, etc.) shall have the inmate's TDOC number engraved on it.
     Inmates may not trade or sell property or leave items for other inmates upon transfer, parole,
     etc. However, an inmate may transfer any of his personal property to an immediate family
     member within the system if approved by the Warden (the relationship must be verified prior
     to the transfer of the property).

     If you have the maximum number of allowable items which have quantity limitations (i.e. radio,
     shoes/boots, watch, rings, necklace, etc.) you must turn in one of the items to the property
     room to be mailed out before another item of the same type can be sent in. If one of the
     limited items is lost or stolen, you must contact the unit manager. Broken or unserviceable
     items must be returned to the property room before they can be removed from your property
     list. Any time an Inmate leaves this institution temporarily for reasons such as court
     appearance, medical, etc., he will be allowed to take only the following property items:

                                   1.     Clothing
                                   2.     Jewelry
                                   3.     Personal hygiene items
                                   4.     Legal materials
     All other items will be placed in temporary storage in the property room for 30 days per
     TDOC 504.02.

     When an inmate is paroled or released, he will be required to take all personal property items
     with him. This inmate will return all issued clothing and towels to the property room on the
     day of his departure.

     All personal property and valuables brought with you will be inventoried and accounted for on
     a personal property form. Allowable inmate property is listed in an approved memo from the
     office of the Warden, inmate policy, and in the Inmate handbook. Items that have been altered
     or not issued to the specific inmate will be considered contraband. Maintenance does not
     repair inmate property. Personal property is maintained by the inmate at his/her own risk. The
     sergeant-inmate relations should be contacted to resolve issues with personal property.
     You are permitted to retain certain items of personal property in your possession. The
     Allowable Personal Property List is included pages 11-12 in the inmate handbook.
     Items not listed as allowable property are considered contraband . These items will be
     confiscated and disposed of consistent with applicable policies. The facility will issue you
     clothing, shoes, bed and bath linens, and other items; you are responsible for these issued
     items. All institution-issued property is recorded on your property record.
     An inventory of your property is maintained to control amounts of property accumulated and
     to protect you against theft. The amount of property an inmate has needs to be controlled for
     safety and sanitation reasons.


                                                                                          lOIPagc




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         When you are released your property inventory will be reconciled; you must pay for missing
         and/or damaged institutional issue. You are responsible for returning the CoreCivic- issued
         property that you received upon intake. It is your responsibility to know and comply with what
         property is allowed and in what amount.

         If your allowable personal property is lost or stolen, you may complete a Lost Personal Property
         Claim (Form 14-6D) and submit this claim to the property coordinator. Proof of ownership and
         value must be attached to the claim in order for it to be processed. This form must be
         submitted within seven calendar days from the date of discovery of loss. If dissatisfied with the
         response to your lost property claim, you may submit a 14-6E Denied Claim Appeal to the
         warden/designee for final approval/disapproval. Lost property claim reimbursement has a
         maximum monetary value of $50.

         The sergeant-inmate relations should be contacted to resolve issues with personal property.

         Articles of jewelry (i.e. necklaces, wristbands, headbands, decorative beads, earrings, thread,
         symbols, tongue/body piercing, eccentric religious medallions, etc.) or decorative clothing are
         NOT authorized for wear. For married inmates, wedding bands, without stones, are authorized.

         TTCC GENERAL POPULATION ALLOWABLE PERSONAL PROPERTY INVENTORY LIST


ITEM and # ALLOWED                                         ITEM and # ALLOWED
CLOTHING {no logos allowed.on
anything In this section)                                  MEDICAL
Sh oes, shower                                             Eyeglasses (reading or prescri ption )            1
Shoes, Segregation Croes instead of
boots Segregation Only                                     Eyeglass Case                                     1
Shoes, Athletic (i.e. sneakers)Solid                       Contact Lenses (w/Storage Container to soak
                                                           contacts)                                         2 pair
Black, White, or Gray
Shoes, Other: black/brown house
shoes or boots                                             Prostheses (as prescribed)
Underwear (briefs/ boxers) White or                        Equ ipment (canes, crutches, etc.)
black                                     12               As Authorized by Health Services
                                                           Hearing Aide
Socks:    Solid White or Gray             12 pair          As Authorized by Health Services
                                                           Medication
T-Shirts/Undershirts (white - no                           As Authorized by Health Services
pocket, no tan k}                        12
Coat/ Jacket (facility issued) Warden
discretion the months can be worn         1
Belt (less than 3" wide buckle not to
exceed 3") state issued,
manufactured only. No handmade,          2                 HYGIENE

                                                                                                Il l Page




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(hobby shop), lace, belts. Must be
black leather
Sweat Pants and/or gym shorts solid
white or gray                            2         Toothbrush (non-electric)                                    2
Sweat Shirt (pullover - no hood) solid
white or gray                            2         Toothbrush Holder (plastic only)                             2
Sunglasses (no mirror lens, must be
worn outdoors only unless medically                Denture Cup (plastic cup with lid non
required)                                1         insulated)                                                   1
Du-rags black only (not to be worn
outside housing unit)                    2         Soap Dish (plastic only)                                     1
                                                   Shower Cap                                                   3
                                                                                     . .
Cap (knit skull cap/toboggan) solid
white or gray (orange at Warden's
discretion according to job codes,
segregation etc.)                        2         Fingernail clippers (no file)                                1
Handkerchief (white only)                8         Disposable Razors                                            10
Pajamas (pullover) not transparent       2         Tweezers, round or square (disposable)                       1
Bathrobe (no hood) not transparent       1          Acrylic Mirror with back (plastic- no glass)                1
                                                   Plastic cup w/lid-non insulated
Uniform Trousers (facility issue only)   4                                                                      1
Uniform Shirts (facility issue only)     4         RECREATION
                                                   Table Games (non-electric i.e. chess,
Thermal Underwear (Shirts) solid                   checkers, deck of cards, jigsaw puzzles etc.)
white or gray                            2         no dice                                                      2
                                                                       -
Thermal Underwear (pants) solid
white or gray                            2         JEWELRY
Rain Coat/Poncho (transparent vinyl)     1         Rings ($25 each max replacement value)                       2
                                                   Watch & Band ( $10. max replacement
Gloves (knit no leather)                 1         value)                                                       1
                                                   Necklace (1) religious/ Chain not to exceed
Extra Shoestrings/ Laces - white or                24" ($30. max replacement value} Medallion
black                                    1         or plain                                                     1
LINENS              ~
                              -              -     ELECTRICAL {AUDIO
                                                   TV Clear housing 15" (15" applies to flat
Flat/Fitted Sheets (facility issued                screen) no built-in VCR/DVD player, (max
only}                                    2. sets   replacement value $50}                                       1
Blankets (facility issued only)          2         Remote Control                                               1
                                                   Radio AM/FM}/tape player/ CD Player/CD-
                                                   Tape Player Combo. Allowed 2 of these
                                                   items with transparent clear housing not to
Towels                                   4         exceed 18" x 24" in size must have jack for                  2.


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                                                       earphon e, non-detac hable speakers. (max
                                                       rep lacement value $25 for each)
                                                       Radio "Walkman " type only (must be clear
                                                       housing with headphone or one piece unit--
                                                       no cassette) You are allowed ONLY if you
                                                       don't have Radio AM/FM)/t ape player/ CD
                                                       Player/CD -Tape Payer Combo. May not be
                                                       taken to work site except certain Tricor
Washcloths (sold by commissary no                      programs approved by the Warden. {max
                                       4               replaceme nt value $25 for each)             1
towel ripped washclot hs)
Pillow personal must be flame
retardant (fa_cil ity issued)          1               Headphones- no wireless                      1
Pillow Case (facilit y issued only)    2               Headphones Extension                         1
                                       2               Stereo Ear buds                              1 pair
Mesh Laundry Bag - white
Mattress (faci lity issued only)       1               TV Splitter                                  1
                                                       Coaxial Cable up to 9 foot                   1
HAIR CARE PRODUGTS
Comb {maximum 5"), brush, hair
picks (includes Afro combs plastic,
and wood) no sharp pointed ends or
metal                                  2               Surge Protector Clear Suppressor 6 outlets   1

                                                       Fan (maximum 15") blade and the housing
Ponytail bands/hold ers black or                       must be plastic. The grill must be non-
                                       18              removable                                    1
brown
                                       1               Batte ries, "AA" (each) no recha rge.able    8
Ha ir dryer 1500 watts or less
                                                       Batteries, "AAA" (each) no rechargeable      8

STATIONARY /.EDUCAT IONAL/ READING
MATERIALS                                              MISCELLANEOUS HOUSEHOLDJTEMS
Legal materials-The total amount of
legal materials that an inmate may
have in his possession will not
exceeded a space delineated by 1.5'
x 1' x 1'. Anything in excess the
Warden will designate an area in the
                                                       Bowl, cereal with lid 24oz (plastic)         1
facil ity where it will be stored .
                                       Must be
                                       stored
                                       within the
Reading material {includes books &     six (6) cubic
magazine in compliance with policies   feet allowed
                                       per inmate      Bowls with Lid 1.7 Qt (plastic)              1
112.05 & 507.0 2)
Typewrite r (maximum replaceme nt
                                       1               Spoo n 5-7/ 8"                               1
value $25) No floppy disk, flash/zip




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                                                                 PageID #: 2243
drives, tapes, jump drives, drivers,
modems, attachments or removable
pa rts such as monitors
Pencils & ballpoint ink pens
(purchased from commissary only)
Quantity at the Warden's discretion    20               Drinking Cup/Mug (plastic) up to 22 ot           2
Clear handheld Calculator (battery                      Floor Rug (3 x 5 max -fire retardant, slip
or solar only)                         1                resistant)                                       1
Writing paper,(maximum of 40, &                         Sewing needle 2" or less, and thread (as sold
envelopes                              40               in commissary only)                              3
Pencil Sharpener                       1                Ice Chest (2 gallon max - no Styrofoam)          1
                 -                                      Clear reading Lamp & bulb (high intensity)       1
                                                        Address Book                                     1

      Initial Property Issue, _Unifo;m & Personal Hygiene
      Property room staff upon arrival will complete an inventory of your state issued clothing. Refer
      to TDOC Policy 504.01, CoreCivic/TTCC Policy 17-l0lA, TDOC Policy 504.02, CoreCivic/TTCC
      Policy 17-102A and TDOC Policy 504.05.

      Inmates are responsible for keeping all issued clothing in good repair and are not damaged,
      altered, or lost in any way. If an item of clothing is altered, the inmate may be issued a
      disciplinary report and may be responsible for reimbursement of clothing cost. Items lost or
      stolen may be replaced when authorized by the Warden or designee. The cost of replacement
      items may be incurred at the inmate's expense. Appropriate special clothing will be issued to a
      job requiring special apparel. This may include, but is not limited to, gloves and inclement
      weather gear. Inmates are subject to reimbursement by due process hearing.

      Inmates will be afforded the opportunity to exchange issued clothing items as mandated by
      TDOC Policy 504.05 on a schedule as posted on unit bulletin boards. Clothing will be replaced
      only when the item has deteriorated to the extent that it needs replacing. Items replaced must
      be returned or otherwise accounted for. All new clothing and linens will be distributed by
      exchange only.

      You will be given the opportunity to have your uniforms washed weekly per the laundry
      schedule posted in your housing unit.

      You will be issued a mattress, pillow, one hygiene kit, two sheets, one pillowcase, one blanket,
      one laundry bag, one towel, and two clear bags upon entering the facility. You will be given the
      opportunity to have your authorized items washed and bedding exchanged weekly per the
      laundry schedule posted in your housing unit. Blanket exchanges are done monthly.

      All inmates must follow institutional requirements in reference to personal grooming essential
      to security, identification, safety, personal health and hygiene. Personal hygiene items such as

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     razors, toothbrushes, toothpaste, soap, denture cleaner, and shampoo are available from the
     commissary and are issued at regular intervals to indigent inmates. The commissary procedures
     are explained in detail in this handbook.

     Inmates must keep their bodies clean by regular showering and washing. Unacceptable hygiene
     may result in disciplinary action.

      Inmates must wear shirt and pants when walking to and from the shower and bathroom areas.
     Inmates cannot be in the common access areas, such as the day rooms, shower and bathroom
     areas, laundry rooms, etc., attired in their undergarments. Inmates cannot wash clothes or
     sheets in bathroom sinks, showers, nor toilets.

     Inmates must be properly clothed at all times and will keep institutional issued and personal
     clothing clean and in good repair. Inmates are required to be clothed in such a manner that
     their torso area, including genital and anal areas, is covered with appropriate attire for sleeping.
     Inmates may wear long johns underneath clothes inside the housing area. Inmates are required
     to wear their pants around their waist, not falling below at-shirt tucked in at all times. Shoes
     will be worn properly and will be laced and tied. The kinds of shoes inmates are allowed to
     wear and the approved locations for wearing them will be controlled by housing unit policy,
     safety regulations, and the chief of security.

     INTENTIONAL DAMAGE TO CORECIVIC PROPERTY WILL RESULT IN DISCIPLINARY ACTION AND
     YOU WILL BE REQUIRED TO PAV FOR ANY DAMAGES.

     You will be required to turn in all issued items when leaving the facility; you will be required to
     pay for any missing items.

     I.D. Badge
     All inmates will initially be issued a picture identification badge, a clip. On the name line, the
     committed name of the inmate shall appear first. Your 1.0. badge must be worn at all times.
     You must present your I.D. upon request by any staff member. You are required to present your
     I.D. at medication call in order to receive medication .

    All inmates will properly display his pictured I.D. badge upon his shirt pocket or front collar
    when the pocket is not applicable. Using an issued clip the I.D. badge with the information side
    displayed.

    You are required to present your I.D. to staff in order to receive your mail, library visits,
    commissary, or food trays. The absence of an I.D. card is strictly prohibited and may result in
    you receiving a disciplinary report. When inmates are outside of the housing units they are to
    have their TDOC issued I.D. badges clipped to their right shirt pocket with their picture visible.

    Lost, tampered, stolen identification cards must be reported immediately to your housing unit
    officer or your unit management team. You shall be assessed a fee of $5.00 for the issuance of

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     a new card. Inmates must report the loss, theft or damage of their I.D. badge immediately to a
     member of their unit team. There will be a twenty-five cent (.25) charge for the clip.

     Any delay in reporting the loss, theft or damage of an I.D. badge will result in disciplinary action.
     The same shall apply when inmates change identity by altering facial features or when inmates
     receive legal name changes. Any inmate in possession of an unauthorized badge will face
     possible disciplinary action

     Ho11si11g Wri~tbands
     Wristbands which identify the inmate's housing location will be issued to inmates. The
     wristbands will be color coded per the inmate's housing building, and lettered per the inmate's
     housing pod location. Inmates will be determined to be out of place if they are found in an
     unauthorized housing building and/or housing pod and will face possible disciplinary action.

     Lost, tampered, torn, ripped, and/or cut wristbands must be reported immediately to your
     housing unit officer and/or the unit management team. You shall be assessed a fee of $15.00
     for the issuance of a new wristband. Inmates must report the loss, theft, or damage of their
     wristband immediately to a member of the unit team.

     Inmates must have BOTH and ID badge and a wristband whenever they leave their assigned
     housing location. Any delay in reporting the loss, theft damage of an I.D. badge and/or housing
     wristbands will result in disciplinary action. The same shall apply when inmates change identity
     by altering facial features or when inmates receive legal name changes. Any inmate in
     possession of an unauthorized badge and/or wristbands will face possible disciplinary action.

     Smoking Policy
     CORECIVIC-TTCC and its grounds are tobacco-free. Tobacco products and lighting materials are
     considered contraband·for all inmates, staff, and visitors. Anyone found in possession of these
     items is subject to disciplinary action.

     CHAPTER 2
     CLASSIFICATION

     Classification is the process by which each inmate is given a security designation. An inmate's
     security level is determined by a scoring instrument that scores criminal history, present
     offense and sentence, amount oftime served, and institutional behavior.

     Some factors include age, nature of crime, total bond or no bond amount, and current or past
     escape charges/convictions. Your classification score will determine the unit in which you will
     be housed.

     Classification is also the process by which every inmate housing and job/program placement is
     made. All work assignments, education assignments, self-help activities, and other program
     participation require classification team action.

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     Classification
     Classification is an ongoing process of managing an individual inmate's progress through the
     criminal justice system. It is the policy of TDOC and CORECIVlC to place an inmate in the least
     restricted custody appropriate.

     1.   Elements of Classification

          a.    Investigation of all factors affecting the inmate (past records, institutional record,
                etc.)
          b.    Evaluation of the ability of the inmate to deal with present circumstances.
          c.    Assigning the inmate to the environmen t best suited to meet his needs, insure the
                security of the institution and safety for inmates and staff.
          d.    Monitoring the inmate's behavior in his assigned environment.
          e.    Control of inappropriate behavior.

     2.   Recl assification Sch eduling

          a.   Reclassification review may be scheduled in the following instances:
          b.   The receipt of new information or circumstances which may warrant a change in
               custody level or facility assignment (such as new convictions or detainers, or pre-
               release eligibility.
          c.   An inmate has completed a recommended program and requires updated
               recommendations.
          d.   The warden or CD directs review of an inmate's status for administrative purposes.
          e.   An inmate's current disciplinary conviction record suggests the need for increased
                supervision.
          f.    Reclassification shall occur as often as necessary, but no less frequently than once
                every (12) twelve months.

    3. Classification Hearing

          a.    An inmate must receive a forty-eight (48) hour notice before being
                classified/reclassified. Notice will be given to the inmate by the inmate's case
                manager.
          b.    If necessary, an inmate may request or be requested to waive his forty-eight (48)
                hour notice by initialing the appropriate section on the summary sheet.
          c.    The classification panel, as a rule, consists of the Chief of Unit Management,
                Classification Coordinator, Case Manager, Mental Health Coordinator and Senior
                Correctional Officer.
          d,    The classification panel will review an inmate's institutional record, discuss
                questions pertinent to placement/custody, consider an inmate's input, and make
                custody/inst itutional placement recommendations upon the factors considered.
                Inmates may appeal their classification per TDOC 401.05. A copy of the approved re-
                class is required to appeal.

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     4. Institutional Transfer

     Regular transfer shall be undertaken only for essential inmate movement to effect
     appropriate programmatic, population management, and security assignment. Transfer
     based solely on inmate preference, convenience in visitation, or proximity to home is
     considered non-essential and should not occur.

     Each inmate has a designated case manager and sergeant-inmate relations, who are members
     of the housing unit management team. There is also a unit manager that supervises the unit
     officer, sergeant-inmate relations, and case manager. You can speak to any member of the unit
     management team daily during his/her rounds.

     Case managers and/or sergeant-inmate relations interview and work with their assigned
     inmates regarding all assignments and security changes. Case managers and/or sergeant-
     inmate relations monitor inmate progress, legal status, program participation and institutional
     adjustment.

     The classification process begins at intake and continues throughout your incarceration at
     CORECIVIC-TTCC. You will be evaluated within 30 days by medical staff, mental health, and
     educational staff to develop your institutional program.

     Privileges, work assignments, treatment opportunities, housing, and vocational training depend
     on your continuing classification, behavior and motivation toward self-improvement.

     Case managers and/or sergeant-inmate relations are in the housing units daily. You may also
     submit an inmate request form stating information that you may need from your case manager
     or sergeant-inmate relations. Do not hinder sergeant-inmate relations and case managers not
     assigned to your housing units; you must address needs, wants, and concerns with your
     assigned unit management team members.

     Classification Appeals
     Should the inmate/resident disagree with any factual information used in any factor score, a
     request for justification may be made (utilizing the facility's inmate request form) to the
     classification supervisor/coordinator or designee for review . The request must be submitted
     Within seven days of the classification/re-classification date. The classification supervisor may
     deny the request when proper justification for the denial exists. This will be documented in the
     inmate/resident's classification record.
     Any inmate needing to contact the foreign consultant needs to contact the unit case manager.
     This information may also be obtained in the facility library.

     Reclassification reviews are done annually unless approved for a reassessment by the
     classification coordinator. Inmates are given 48 hours' notice prior to the review by the Unit
     Team but may be waived by the inmate if desired. If an inmate wants a review of the assigned

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     custody level, the inmate will put in an inmate request to the classification coordinator
     requesting for a review and/or appeal of the assigned custody level.

     Unit Managem ent
     TTCC operates under the Unit Management concept. This concept is designed to ensure that as
     many of your needs and issues as possible can be addressed by staff in the unit where you are
     assigned. Included in the unit team are a unit manager, case managers, sergeant-inmate
     relations and correctional officers. Inmate request forms are available in all housing units.
     These informatio n forms are used to request to discuss any issues that an inmate feels needs to
     be addressed

     If you feel you cannot live with your cellmate you should speak with a member from your unit
     management team. This initiates the documentation necessary to begin intervention. If it is
     during hours when the unit management team members are unavailable, notify the shift
     captain on duty to assist in a resolution.

     You must report maintenance problems within your cell or any issues you may have with you
     unit toilets, sinks, electrical plugs, lights, etc., to the officer or member of the unit management
     team.

     Unit Manager-The unit manager supervises his/her assigned staff and all activities inside
                                                                                               or
     related to the unit. She/he must evaluate the unit team on the performance of their duties,
     communication of responsibilities, their ability to provide leadership, and their efforts to ensure
     accountability.
         • She/he must maintain daily contact with staff as this is essential for the safety, security,
             and sanitation of the unit.
         • Offenders are assigned to a unit according to classification, job assignment, or other
             program needs.
         • The unit management team members are responsible for the continuous monitoring of
            an offender's progress.
        •   Correctional counselors and case managers report directly to the unit manager and
            assist in the unit programs, assessment of offender needs, and provision of
            recommendations.
        •   Perform liaison functions throughou t the facility
        •   The unit manager must make recommendations concerning personnel matters to
            include post assignments, promotions, and staff discipline .
        •   Delegate problem solving to correctional counselor and case manager.
        •   Makes daily rounds through the unit evaluating operations, talks with staff and inmates,
            and makes rounds through other areas in the facility where unit inmates may be
            temporari ly housed, programmed or work.

     Case Manager-The case manager's responsibilities in a functional unit include all of the
     traditional duties required to move an offender through a correctional institution .

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         •   The case manager must maintain an awareness of corporate/facility policy, possess the
             technical expertise to assess correctness of reports, have a working knowledge of the
             parole board procedures as well as the legalities involved, and take an active role in
             direct treatment intervention.
        •    The case manager is the first contact for issues such as time computation, property
             coordination and is the liaison between the offender and the public regarding legal
             issues.
        •    Develop treatment plans.
        •    Functions as the assistant to the unit manager.
        •    She/he will not only function as a member of the unit team in all aspects of the
             programming process as it relates to offenders and their caseload, but will also conduct
             counseling sessions or other treatment modalities which make up the unit therapeutic
             approach.
        •    Fills in for other unit staff members when necessary commensurate with their training.
        •    Relieves other members of the unit team for meals and rest room breaks.
        •    Will help ensure that the sanitation of the unit is upheld.

     Sergeant-Inmate Relations-The Sergeant-Inmate Relations is responsible for addressing daily
     living issues of inmates before they expand into incidents and ensures that services and
     programs are delivered to inmates assigned to the unit at the time and manner as designed.
          • The first line supervisor is the correctional officer assigned to the unit team.
          • Has the primary role in maintaining security controls in accordance with established
              policies, post orders and unit rules, and enforces handbook rules.
          • Supervises both staff and offenders and assists the unit manager in the daily operations
              of the unit.
          • In the absence of the unit manager, the Sergeant-Inmate Relations may serve as acting
            unit manager.
        •   Is the primary contact between the offenders and the rest of the unit and the
            institution?
        • The role includes being a direct implementer of the agreed-upon treatment modalities,
            a fully functioning member of the unit team, a liaison between outside-the-unit
            activities and their implication for the unit team is the organizer and monitor of
            recreation and leisure-time activities and so on.
        • In general, the Sergeant-Inmate Relations will have the most immediate, prolonged and
            intensive relationship with many of the unit's offender, and any member on the unit
            staff.
        • The Sergeant-Inmate Relations supports and promotes compliance with the inmate's
            program plan.
     Shares supervision of caseload of inmates with the case manager




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     Correctional Officer-
        • Has the primary role in maintaining security controls in accordance with established
            policies and consistent with the therapeuti c nature of the functional unit's program, and
            enforces handbook rules.
        • ls among the most influential in setting the "tone" present in the functional unit
            because of their day-to-day interaction with the unit's offenders. The correctional
            officer is a central figure in the establishment and efficient functioning of the
            therapeuti c community.
        • The correctional officer should be viewed as a valuable contributo r to the unit team for
            informatio n about the offender.
        • The correctional officer answers inmate inquiries or directs the inmate to the
            appropriate staff for resolution.
        • The correctional officer must be oriented to the mission and goals of the unit and should
            be viewed as a valuable contributo r to the unit team of informatio n about an offender's
            level of progress.
        • The correctional officer must exercise care to ensure that shift rotation is conducted in
            such a manner that it is not disruptive to the program's integrity. That is, an orderly,
            consistent pattern should be established, (e.g. relief, morning, day, evening).
     The correctional officer must comply with all policies, procedures, and post orders.

     Inmate Council
     On an annual basis each unit manager will conduct an election to select an inmate
     representative and an alternate from each pod in their unit. These representatives will
     comprise a unit council, which will meet with their unit manager each month. Within seven (7)
     days of the pod representative election, an election for inmate council representatives will be
     held. An inmate council representative for each wing will be selected from the pod
     representatives in each unit. The inmate council representatives will present issues of an
     institution al nature which could not be resolved at the unit council meeting. A prepared
     agenda from each housing wing shall be forwarded to the Warden through the Unit Manager
     and/or Chief of Unit Management prior to the council meeting.

     Protective Services
     Inmates believing they are in need of protection should notify the unit manager and/or shift
     supervisor immediately. Be prepared to share with them why you feel you need protection and
     be prepared to fill out the required written documentation. You will be given specific
     instructions on what to do and what forms to complete. Requests will be forwarded to the unit
     manager or shift supervisor. Any staff person who believes an inmate may be in need of
     protective services may also initiate such a request without the inmate's request.

     Should the unit manager or shift supervisor determine the request is warranted, the inmate will
     be placed in segregation Pending Protective Custody Investigation (PCI). An investigation by
     designated staff should be completed within seven (7) working days following the inmate's
     placement in PCI whenever possible. When the investigation is completed, the inmate shall
     meet with the Protective Custody Review board. The board member shall recommend if
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     Protective Custody is necessary or if the inmate should be returned to the general population.
     This recommendation is then forwarded to the Warden and TDOC Commissioner Designee for
     approval/denial. The Unit Manager shall then be responsible for ensuring the final decision by
     the Warden and Commissioner Designee is implemented. Once Protective Custody placement
     is approved the inmates behavior and adjustment will be reviewed every seven (7) days during
     the first sixty days of placement and then monthly thereafter for the duration of the placement
     or until the inmate is transferred.

     CHAPTER 3
     INFORMATION AND GUIDANCE FOR INMATES

     General Rules of Conduct
     Rules of acceptable conduct are a normal part of life, whether you are an inmate or are in
     society. This facility is no exception. These rules are important to the necessary management
     and control of a correctional facility. There are general rules of conduct that apply at
     CORECIVIC-TTCC in addition to policies. These general rules include:

     You will be held responsible for your conduct.

     There is GENERAL RULES OF CONDUCT that applies at TTCC in addition to the policies and/or
     previously documented. These general rules include:
     1.      Inmates cannot loiter/linger/delay in any part of the institution.
     2.      Inmates cannot body punch, horse play, or wrestle with any inmates at any time.
     3.      Inmates cannot create or participate in any disorderly conduct in the institution.
     4.      Inmates cannot use abusive nor vulgar language.
     5.      When   talking to employees, volunteers, or attorneys, inmates will address them as Mr.,
             Ms., Officer (Last name or use their title). Inmates will not call staff by their first names
             or by nick names. Inmates will show respect when talking with employees, volunteers
            and attorneys.
     6.      During fil!_movement all inmates will walk single file down the right side of the hall/walk.
     7.      Inmates will be properly dressed at all times. Outside the housing units: Shirts should
            be tucked in. ID badges must be clipped to the left side of shirt. No long john
            sleeves/thermals should be visible or no pants should be rolled up. Pants should be
            pulled up to the waist, no shower shoes should be worn. In the dayroom: Uniform
            pants, shirts, and shoes should be worn.
     8.     Inmates will be in possession of their I.D. card at all times and must show their I.D.,
            upon request, to any staff member.
     9.     You are responsible for your I.D. card. (And will be charged a $5.00 replacement fee),
            and your housing wristband (you will be charged $15.00 replacement fee). Replacement
            fees will be charged to you should wither the ID card or the housing wristband become ,
            lost, broken, ripped or cut, intentionally damaged and need to be reissued the appropriate
            replacement cost will be charged to you. Should it become lost, broken, or need to be
            reissued for identification purposes there will be a $5.00 replacement cost charged to
            you.

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     10.   No jewelry items other than one watch and one wedding ring are permitted. The value
           of each allowable jewelry item cannot exceed $50.00.
     11.   Running is not allowed in the institution or on the outside walk.
     12.   No radios are allowed at work or on the walks, unless going to and from the large
           gymnasium/recreation yard. Radios must be in the off position. Radios are only allowed
           out of the housing units by written directive from the warden or assistant warden; this
           does not include housing unit recreation yards if the housing unit rules allow.
     13.   There will be no personal property transaction between inmates, including, but not
           limited to, selling, loaning, trading or giving as a gift.
     14.   No food or drink, including coffee, is allowed outside of the housing units.
     15.   Smoking and/or the possession of tobacco products is strictly prohibited.
     16.   Inmates must place trash only in trash cans.
     17.   Inmates cannot spit in shower areas, sinks, and water fountains, on floors, sidewalks,
           trashcans, furnishings or people.
     18.   Inmates cannot alter, disfigure, damage or destroy any facility property.
     19.   Inmates cannot gamble.
     20.   Inmates must obey the directives and orders of staff and officers at all times.
     21.   Inmates cannot interfere with staff and officers in the performance of their job/duties .
     22.   Inmates cannot remove, alter or damage informatio n posted on the bulletin boards
           throughou t the institution .
     23.   Inmates cannot enter unauthorized areas.
     24.   Inmates are not allowed in work or school areas except during normal hours as
           assigned, unless they have been specifically authorized by the shift captain or higher
           authority due to special circumstances.
     25.   Inmates are expected to be dressed and ready when called for work, school or
           appointments such as medical, classification, and so forth. Tardiness can result in the
           loss of the appointme nt, etc.
     26.   Inmates must present themselves and their property to be searched by staff at any time
           when requested or ordered to do so.
     27.   Jnmates cannot store cleaning supplies, plastic trash bags (empty nor filled with water)
           and/or sanitation equipmen t in their cells or dormitorie s
     28.   Inmates cannot have cardboard boxes in their cells or dormitories.
     29.   Inmates cannot circumvent the administrative regulations of the institution , to include
           but not limited to personal property, visiting, telephone use, mail, recreation, food
           service, classification, commissary and laundry.
     30.   Inmates will be held responsible for learning and following the written policies,
           procedures, rules and posted signs in the institution .
     31.   Inmates cannot tuck their pant legs inside of socks
     32.   Inmates cannot roll pant legs into a cuff around their ankles or lower leg.
     33.   No walking on the grass and no spitting on the concrete.
     34.   Noise must be kept at a reasonable level outside of the housing units. Yelling and
           screaming across the yard at inmates or staff is prohibited. Horseplay and wrestling are
           not permitted on facility grounds. Running on facility grounds, with exception of the
           gymnasiums and outside recreation cages, is prohibited.
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     35.    Security Threat Groups (STG) activity is unauthorized and prohibited.
            Engaging in STG activities may result in disciplinary actions.

     INMATES DO NOT HA VE CONTROL OVER AN.Y INMATES
     The responsibility for the supervision of inmates belongs solely to staff of nee and cannot, nor
     will be delegated to inmates. No inmate or group of inmates will be given control or authority
     over any inmate. Staff will not designate an inmate supervisor nor assign an inmate
     work/program detail, give preferential treatment to another inmate, or show favoritism toward
     an inmate at any time. (Inmates participating in the RDAP treatment program will at some point
     during the program will be afforded an opportunity to assume a leadership/mentoring role.)

     During court and/or any outside transports:
      1. Inmates should have one pair of socks, one pair of underwear, one t-shirt (no long- john
          shirt or pants), one pair of pants, and one shirt only. All inmates are required to wear the
          approved or state issued shoes. Your TDOe- issued I.D. badge is a part of your uniform and
          you must have that to go on an outside transport.
      2. No KOP medicine except an inhaler or Nitroglycerine.
      3. No paperwork other than that which is necessary for their court case. No pictures,
          personal phone numbers, personal mail, or religious materials of any kind will be kept by
          the transportation officer; we will not take responsibility for unauthorized items.
      4. No hair combs or hygiene items of any kind.
      5. Inmates are not allowed to return to housing units to retrieve any documents from their
          units once they are released from the housing unit.

     Cell/Dorm Expectations
     Each inmate is assigned to a specific housing unit and bed assignment. Inmates cannot change
     bunks without permission, including bunk moves within individual cells. Once assigned to a unit
     you are not allowed to visit another unit. IF IT IS DISCOVERED THAT YOU HAVE MOVED
     WITHOUT PERMISSION , DISCIPLINARY ACTION S WI LL FOLLOW. Only a Shift Commander/Unit
     Manager or above can authorize bunk or cell moves.
         1. Inmate Housing/cells/buriks and dayroom areas are expected to be ready for
            inspection/tour ready Monday through Friday during the hours of 8:00a.m. to 4:30p.m.
         2. Inmate Housing cells/bunks and dayroom areas may be inspected daily by Administrative
            Duty Officers, Unit Team Members, various TTCC supervisor staff members, and TDOC
            officials.
         3. Inmates will greet the inspectors as they enter the units. "Good morning ma'am, good
            morning sir. Unit_ is ready for inspection" An announcement will be made to
            prepare for inspection and inmates will have five (5) minutes to prepare for their unit
            inspection. After the inspection, the inmate will be given an order to resume normal
            activity.
         4. Inmates are to be outside of the cells, standing at attention, hands down to their sides
            and not in pockets, no beverages or food in hands during inspection, also no leaning or
            feet propped on the walls.
         5. Inmates are not allowed to talk to each other during inspection.

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       6. Posted in each housing unit dormitory will be a clear diagram of how cells are to be
          organized, beds made, property storage, where appliances are to be placed, how
          clothes are to be folded and placed on shelves and where shoes are to be. Cell furniture
          shall be kept clean at all times.
       7. Inmates shall place all dirty laundry in their laundry bag and will place it in such a
          manner so as not to interfere with visibility.
       8. Inmates shall not cover air vents so as to interfere with the free circulation of air.
       9. Inmates shall not hang items from sprinkler systems, walls, lights, and ceilings in their
          cells. Items shall not be placed over any windows, etc. as to obscure vision or impede
           security.
       10. Pictures displayed (not hung) in rooms shall be no larger than 8" X 10". Obscene or
           offensive pictures will not be allowed. No pictures, etc. shall be attached to cell walls, or
           doors and will be only in approved area t o post fami ly/friend pictures.
       11. All lights, televisions, and radios will be turned off by the inmate prior to leaving his cell.
           Failure to comply may result in disciplinary action.
       12. All inmates are responsible for cleaning up after themselves when using common areas
           such as day room, tables, etc.
       13. When moving out, an inmate is responsible for cleaning his cell. All cells will be checked
           by an officer for damage and sanitation BEFORE the inmate physically moves out of the
           assigned housing location. Damage to a room caused by an inmate is grounds for
           disciplinary action and may result in reimbursement for repair costs by the offender.
       14. Inmates must use their radios, televisions, tape players, etc. with earphones. Makeshift
           radio or television antennas are not allowed (no wires may be visible.)
       15. Light fixtures/bulbs will not be shaded under any circumstances. You cannot put
           homemade covers, shades or other items on lights in living areas
       16. Items cannot be placed, stored or hung on the windows, on walls or in front of vents.
       17. Do not attach pictures, photos, washcloths, towels, paper, or toilet paper to any air
            vents or light fixtures.
       18. You cannot hang towels, blankets, clothing or other items in living areas anywhere (not
          on door knobs, doors, windows, lights, stair case, rails, tier rails, tables, chairs etc) other
           than the designated hooks. Clotheslines are unauthorized and strictly prohibited.
       19. Homemade extension cords and hangers are prohibited. Only authorized surge
            suppressers may be used.
       19. Inmates are not allowed to loan, sell, buy, or barter property or inmate goods with
           other inmates. This includes passing of any products, such as commissary items, clothing
           and/or any meals provided by the food service department.
       20. Inmates must be in their unit at least thirty (30) minutes prior to any count. Inmates
           must be in their cells with doors locked and shut during each count. Prior to the
           morning and evening count inmates must stand up or sit on their bed during count.
       21. Inmates are responsible for the cleanliness of their cells. Books, magazines, and
           newspapers must be neatly arranged. Only personal property, excluding legal materials,
           equaling a total of six (6) cubic feet is allowed. Exceptions to the six cubic feet personal
           property requirement are the following: legal materials, prescribed medical equipment,
           fan, television, approved musical instruments, and state-issued linen. All personal

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            property must be kept neat and orderly. All property must be folded and stored neatly
            in the issued storage containers under the lower bed.
        22. You cannot use a bunk or tote that is not assigned to you.
        23. Beds must be made when not being used for sleeping.
        24. Trash is to be removed from cell daily. Cells are to be swept and mopped daily. Beds
            must be made prior to the inmate leaving the cell.
        25. Inmates will not alter the decor of their rooms. There will be no unauthorized
            marking/painting, writing, drawing, hanging, or taping anything on the walls, ceilings,
            floors, doors, fixtures, shelves, vents, or sprinkler heads. Inmates who damage or
            destroy CoreCivic property are subject to disciplinary action, and/or reimbursement or
            repair costs. (Family/friend pictures will be the only items taped to cell wall in approved
           area)
       26. Inmates will not flush anything other than toilet paper down the toilets.
       27. You cannot throw trash or other items on the floor in or outside your living area. Trash
           will be put into trash cans.
       28. You cannot urinate in the showers. Shower times vary by unit. Kitchen werkers wi ll be
           authorized a shower before and afte r repo rting to work. Cardboard is not allowed in the
           cells.
       29. All arts and craft projects must be mailed home upon completion. These items are not
           allowed to remain in the inmate cells. Violations of this rule are grounds for disciplinary
           action. (only allowed to work on one craft at a time)
       30. All cleaning supplies will be kept in a locked area of the unit. Inmates wanting to obtain
           cleaning supplies must check them out. Disciplinary action may be taken if cleaning
           supplies are found in an inmate's cell.
       31. Inmates are responsible for any and all items in their cell. Any item found in their cell,
           which is not allowed by institutional and/or departmental policy, and procedure will be
           considered as contraband. It will be confiscated and disciplinary action will be taken. If
           two (2) inmates occupy the cell, both shall be charged.
       32. Noise must be kept to a minimum in the housing units. Loud talking, horseplay, and
           wrestling are not permitted.
       33. Inmates are to respond promptly to authorize call-outs.
       34. Inmates are not allowed to visit other inmates in the cells, work assignments, programs
           building, medical waiting room, commissary, laundry, property rooms, intake area, nor
           other housing units.
       35. Inmates are not allowed to be in a complete state of undress unless they are in the
           shower. Inmates are not permitted to be undressed while going to and from the
           shower. Inmates must have on at least a T-shirt, shorts (not underwear) and shoes
           while in the day room. Inmates must have their IDs visible on their person at all times.
       36. Inmates will not be allowed out of their cells after 9:00 p.m. with the exception of
           assigned third shift workers unless approved by the Unit Manager or above.
       37. Inmates are not allowed to take commissary or personal items out of the unit without
           permission from the unit manager/designee (i.e. personal drinking cups/mugs cannot be
           taken out of the unit).


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       38. Showers will be allowed at designated times. Inmates cannot urinate in the shower.
           Inmate food service workers will be allowed to shower when they return to the unit
           after work.
       39. All inmates leaving the unit will be dressed in State issued blue clothing and hands will
           be visible at all times. Inmates in route to an authorized recreational activity may wear
           leisure clothing as defined by policy. Shirts will be tucked in at all t imes. Pants will be
           worn on the waistline, Pants will not be worn sagging at any time. Caps, toboggans,
           are prohibited on the walkways at any times. Religious headgear may be worn per
           TDOC policy 118.01, Religious Programs. Religious items shall be carried to and from
           religious services only. Necklaces will be worn under clothing and shall not be visible
           except during scheduled religious services. Coats may only be worn to and from
           recreation and dining facility when weather permits, otherwise, there will be no coats
           worn outside the housing unit. No coats, toboggans, nor gloves are to be worn during
           the months of April 1 through October 1.
       40. Tobacco products are prohibited throughout the entire facility.
       41. Inmates will not be allowed to bring kitchen food or supplies into the unit unless
           authorized by the medical department.
       42. Radios are not permitted outside the cells. Walkman-type radios with earphones are
           allowed outside the cell, to recreation activities only.
       43. Horse playing or excessively loud noises are prohibited.
       44. Wagering or the use of wagering devices is not allowed.
       45. Inmates must follow the approved and posted Tier Management Schedule. The Tier
           Management Schedule will be strictly enforced. It is the responsibility of the inmate to
           secure their legal mail, personal property, commissary etc. when leaving their cell.
           During designated tier time, ALL cell doors must be secured. During Tier Management
           cell doors will only be opened during the "red zone" times which will allow the Inmates
           on tier time to go back into or come out of their cells. At no time will Inmates scheduled
           out of their cells during tier management be allowed to talk to, pass notes, or any other
           items to other inmates through the cell doors when inmates are confined in their cells.
       46. Only approved fire retardant rugs may be used as religious rugs (applicable religions) per
           fire and safety requirements. All rugs must have a non-skid backing and factory labels
           must be attached. The rug will be considered contraband and it will be confiscated if
           the rug does not contain a non-skid backing and/or a factory label.
       47. Intercoms located in inmate cells are for communication purposes only. Any inmate(s)
           found tampering with, covering or causing damage to an intercom will be subject to
           disciplinary action.
       48. When exiting the housing area, inmates will walk to the right hand side behind to the
           right of the hall inside of buildings which includes the rotunda and hallways. This will
           help avoid congestion and encourages inmates to maintain a low level of noise at all
           times. When outside inmates will walk single file to the right of the red painted line on
          the sidewalk/walkways. Inmates will walk in a single file line with their hands to their
          sides not in pockets. Inmates will not be allowed to walk in the grass.




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         49. Inmates are not permitted to congregate {grouped or clustered together) on or
             underneath stairways, catwalks, or rotunda areas in the housing units. These areas
             must remain clear at all times.
         50. You are not allowed to visit other housing units, cells or dorms that you are not
             assigned. You cannot loiter or congregate in the hallways. If you are assigned to work in
             the hallways you are expected to work and not sit nor congregate in the hallways.
             Inmate workers delivering meal trays must not go past the sally port. The inmate worker
             is to push the trays into the sally port and leave.
         51. Inmates are not permitted to sit on top of any tables or stairs anywhere at TTCC.
         52. Inmates entering the chow hall will be dressed in State issued TDOC uniforms. Inmates
             will not carry coats (during unauthorized times) or any other items into the chow hall.
             Inmates will not be allowed to carry condiments to or from the chow hall.
         53. No items will be left outside of the cell at any time. You must keep your living areas
            clean, neat and free of contraband.
        54. Inmates will follow verbal or written orders from all CoreCivic staff and/or authorized
            facility contract employees. Violation of this may result in disciplinary action.
        55. Inmates will not lean or sit on the hand rails in the housing units, chow halls, pill call,
            nor back dock.
         56. You are not permitted to leave your housing unit without the permission of your unit
            officer.

     Maltiple -Inmate Cells
     If you are assigned to a multiple-inmate cell, all inmates living in the cell will be held
     accountable for an infraction that occurs within the confines of such cell unless you can
     establish a lack of involvement in the infraction.

     Dayrooms are provided in each housing unit area for leisure-time activities. Televisions are
     provided in each day room, except segregation. Choice of program is based on majority rule
     and all inmates are expected to be cooperative in this regard. If problems develop with
     program selection, the television may be turned off and the persons involved will be subject to
     disciplinary action.
     Other leisure activities including games such as checkers, chess, dominoes, and cards will be
     provided by the recreation department and these games may be played in the dayroom area.

     Each unit has published "House Rules;" these unit rules are different from one unit to another.
     You are responsible for knowing your unit rules and complying with them.

     Sanitation
     You are responsible for ensuring that your personal living area is kept clean and orderly at all
     times and that your personal property is secured in your tote. You are expected to make your
     bed upon waking and to help keep the common areas of your dormitory/cellblock clean.
     Your unit may have to undergo daily and/or weekly inspections. Failure to participate in
     housing inspection may lead to disciplinary action. Failure to comply with these rules will result
     in disciplinary action.

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    laundry Procedures
                                                                                             cleaning of
    Trousdale Turner Correctional Center will operate a central laundry service for the
                                                                   their dirty clothing/ bedding  into their
    all inmate clothing, bedding, and linen. Inmates will place
                                                                                  Laundry  will be picked
    laundry bag (tagged with their TDOC number) and tie the bag securely.
                                                                                             es.   Clothing,
    up and returned to each unit in accordance with the posted schedule and procedur
                                                                                            schedule. The
    bedding, and linen exchange will be accomplished in accordance with the posted
    schedule denotes the time, weekday     , and particula r item (clothing  or bedding).
                                                                                                    le for
    For the best washing results fill your laundry bag with 15 items or less. You are responsib
    putting your name and TDOC # on your laundry bag.

                                                                                        list at which
    Unit staff members needs to verify that the inmate actually needs the items on the
                                      sign off on the request. Inmates can  then place laundry
    time the unit staff member should
                                                                                        hall.
    request/exchange forms in the BLUE mailboxes which are located next to the chow

                                                                                        with other
    Blankets are not to be included in the laundry bag. If blankets are placed in a bag
    laundry, the entire bag will be returned unwashed.

                                                                                       be charged for
     If clothing has been altered by an inmate they will need to receive a DR and also
                                                                        ted on the request form that
    the replacement of the altered clothing which should be documen
    the inmates fills out.

                                                                                              Any
    Inmates will not go to laundry to have their orders filled or to pick up their laundry.
                                                    be sent  back  to their housing  unit without the
    inmate sent to laundry to request clothing will
    order being filled.

                                                                                      involving
    The Sergeant - Inmate Relation is the primary unit team member to resolve issues
                                        be specific with any issues they have and documen t any
    inmate laundry. The inmate should
    items lost or not returned from the laundry.

    Rules Governing Inmate Moveme nt
    Moveme nt within the institutio n is monitore d and controlled for safety, security,
                                                                                            or a large
    accountability, and orderliness. Mass moveme nt is the moveme nt of all inmates,
                                                      housing unit to another location  such as programs.
    number of inmates, at the same time from a
                                                                        to another.  All inmates  will walk
    Individual moveme nt is one inmate traveling from one location
                                                                                     either individua  l or
    in a single file line on the right side of hallways/walkways/sidewalks during
     mass movements.

                                                                                             : such
     1.   Inmate moveme nt inside the facility will be controlled through a building schedule
          as meals, recreation, facility programs, work call, and religious services.


          •   Appointm ent passes will be issued by medical services, disciplinary, and grievance
              boards.



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           •   For other appointments (job coordinator, etc.) the appropriate staff will notify the unit
               officer or work supervisors so that the inmate can be granted authorization to travel
               to his appointment during scheduled movements.
           •   During visitation hours, the Unit Officer will issue the inmate a visitation pass when
               notification is received. The inmate will be allowed to travel to the visitation area at
               that time. The pass will be reissued to the inmate upon completion of his visit to
               return to his assigned housing unit.

     2.   Any inmate found in violation of these rules will be considered, "Out of Place" and will be
          subject to disciplinary action.

     During all movement Inmates will must be fully dressed, shirts tucked in, have their pant s
     pu Ued up (no sagglng}, and no socl<s fucked int o pants.
     All inmates will avoid loud ta lking and placing t heir hands in their pants. Inmates will avoid
     stopping by unscheduled and/or unauthorized areas.

     Telephones
     Trousdale Turner Correctional Center provides telephones for inmate use. Telephones are
     available in each housing unit for you to make personal calls. Upon your arrival to the facility
     you were issued a telephone pin number. Your pin number is your CoreCivic identification
     number plus the last four of your social security number. Inmates without a social security
     number will be issued a random pin number

     The phones can be used between the times of 6:00 a.m. and 8:00 p.m. or according to the
     posted schedule within the facility. At no time will except during count. Inmate phones are
     located in each pod. All telephone calls shall be limited to thirty (30) minutes. Toll free
     800/900 numbers are not permitted.

     You are expected to conduct your telephone conversations in an acceptable manner. Obscene,
     loud or threatening language will not be permitted and can result in the termination of the call
     and suspension of telephone privileges. Three-way calls are not permitted . You may face
     disciplinary action if you engage in three way phone calls. Telephone calls are monitored and
     recorded by the facility personnel.

     Telephones are programmed to cut off automatically after a specific amount of time. Each
     inmate may make only one call and then must allow the next inmate to use the telephone in a
     timely matter. Prolonged telephone use will not be permitted .

     Each inmate will make his own calls. No inmate will make calls for another inmate. Inmates
     cannot use another inmate's pin number to make a telephone card. Only one inmate at a time
     may use a telephone; no interchanging of the phone or group call is allowed . Abuse can result
     in disciplinary action and loss of telephone privileges.



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     Any abuse of the telephones by an inmate shall be cause for disciplinary action. This includes
     but not limited to pulling phone cords past their limitations or slamming phone against hard
     surfaces. If the system detects a three-way call in progress, the number will automatically be
     disabled.

     CONVERSATIONS ON INMATE TELEPHONES ARE SUBJECT TO MONITORING AND RECORDING
     WITH THE EXCEPTION OF APPROVED ATTORNEY CALLS.

     THE INMATE PHONE SYSTEM WILL BE SHUT OFF AT 2000 {8:00 p.m.) EACH NIGHT AND WILL
     BE TURNED ON AT 0600 (6:00 am) EVERY MORNING

     Core Civic-nee will not be responsible for any unpaid telephone bills. Blocked telephone
                                                                                                      is
     numbers will not be accessed by Core Civic staff. If you feel that one of your phone numbers
     blocked these are automated systems and Core Civic-nee        does not place blocks  on inmate
     phones unless the phone customer has called here and requested one. Any blocked number
     can be sent to the facility investigato r by inmate request form. Also advise friends and family
     members to contact their phone company to have any unwanted blocks removed from their
     end.

     Telephone access is a privilege, not a right. If the rules for use are abused, the privilege will be
     lost. Inmates housed in Special Managem ent Housing Units telephone calls are based on your
     custody status. No inmate is allowed to use the telephone during any headcount procedure.

     Special phone calls will be permitted by request only in the case of death or serious injury.
     Requests to use the phone in the case of an emergency will be sent to the Chaplain. Any inmate
                                                                                                   n
     needing to contact the foreign consultant needs to contact the unit manager. This informatio
     may also be obtained from the facility library.

     Inmates with hearing and/or speech disabilities, and inmates who wish to communicate with
     parties who have such disabilities, are afforded access to a Telecommunications Device for the
     Deaf (TDD), or comparable equipmen t. A Telecommunication Device for the Deaf (TDD) is
     available for those inmates who are hearing impaired. Inmates shall submit a written request
     to a member of their unit team for such assistance .

     Core Civic-MDCDF Policy 16-100, entitled Inmate Access to Telephones, is available for you to
     read in the inmate library.

     Inmate's Allowed Telephone Number (ATN) list
     During the orientation period inmates must complete and Allowed Telephone Number List form
     and submit it to a member of their unit team. The ATN list allows each inmate to list 10
     telephone numbers of friends and family they want to contact by telephone. The ten numbers
     cannot be a business, 800, or 900 telephone number with remote call forwarding services.
     Attorney and Clergy numbers are not recorded or monitored , they are considered private.


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     Inmates will be given an opportunity to make changes to the ATN list 4 times a years
     determined by the quarterly schedule determined by the Warden and/or designee.

     Inmate's Allowed Attorney Telephone Number List
     During the orientation period inmates must complete an Attorney Telephone Number List form
     and submit it to a member of their team. This list allows each inmate to list 10 telephone
     numbers of licensed attorneys, to call. The inmate must actually be a client of the attorney.
     The Unit Management staff will call and verified the attorney license and that the inmate is
     actually a client. Attorney numbers are not recorded or monitored, they are considered
     private.

     Inmate will be given an opportunity to make changes to the Attorney Telephone list when
     applicable.

     Recreation
     Recreation programs at Trousdale Turner Correctional Center are offered on the recreation
     yards, in the gym, and in housing unit day rooms (table games only). The following organized
     activities are offered to the inmates at Trousdale Turner Correctional Center, as well as times
     when inmates are not in school, programs, work, etc.: basketball, hobby crafts (in cell only),
     weight lifting, and other activities as deemed appropriate.

     Recreation may be restricted for disciplinary reasons. A schedule is posted in each housing unit
     listing these opportunities. A recreation program exists for your use with planned activities year
     round. A sports program includes, but is not necessarily limited to, basketball, volleyball and
     weightlifting. Additional recreational/leisure-time activities will periodically be provided.

     Monthly schedules of recreation activities are posted in the housing units and in the gym.

     While additional rules governing the recreation program and use of the gym and equipment are
     posted in the gym, the following general rules apply to the gymnasium and outside recreation
     yard:
     a.     The gymnasium and outside recreation yard is a multi-purpose area for recreation and
            special activities. During gym periods, appropriate gym clothing and athletic shoes must
            be worn .
     b.     For activities other than regular gym, the standard dress code will be in effect.
     c.     There will be no glass containers in the gymnasium and outside recreation yard.
     d.     No extra clothing or blankets will be taken to the gymnasium and outside recreation
            yard.
      e.    Entering and leaving the gymnasium and outside recreation yard will be as directed and
            in an orderly fashion.
     f.     During regular gym periods all inmates who go to the gymnasium and outside recreation
            yard will remain in the gym and recreation cage until the conclusion of that period.
     g.     Inmates in general population may take their radios to the gymnasium and outside
            recreation yard. Consistent with established policy inmates are not to borrow, trade,

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            swap or steal another inmate's radios. Radios (in the off position) may be taken from
                                                                                                   be
            your housing unit directly to the recreation yard. Radios (in the off position) should
            returned directly to your unit (in the off position). Radios are not allowed anywhere
                                                                                                      in
            else; they cannot be taken to the visiting room or health services should you be called
            from the yard. You must return to your unit with your radio before you will be allowed
            to go to another area of the institutio n.
    h.      Legal papers, religious literature , etc. are not allowed in the gymnasium and outside
            recreation yard.
                                                                                                le
     i.     Equipment will be issued to an inmate by taking his I.D. card. Inmates are responsib
            for the equipment checked out to them.
    j.      All inmates entering or leaving the gymnasium and outside recreation yard are subject
            to I.D. check and shakedown.
                                                                                             orderly
    k.      Moveme nt to and from the gymnasium and outside recreation yard will be in an
            manner.
    L       There will be no formation of groups larger than four inmates permitte d in the
            gymnasium and outside recreation yard, other than those groups engaging in an
                                                                                                 or
            authorized sporting event. There will be no military drills, martial arts, wrestling
            horseplay in the gymnasium and outside recreation yard.
     m.     There will be no hand wraps or anything that could be used to conceal items of
            contraband in the gymnasium and outside recreation yard.

                                                                                         tucked in,
    Upon completion of recreation you are to line up in a single file line with shirt(s)
    hands behind your back, quiet and remaining on the right side of    any hallway   entered.


    Inmate Grievances Procedures
                                                                                       required to
    The facility has a system in place where inmates can air a complaint. Inmates are
                                                      unless an emergen cy exists (immedia te threat
    attempt to resolve all issues at the lowest level
    to your health and/or personal safety).

                                                                                       to resolve the
    It is encouraged that prior to utilizing the written procedure you should attempt
                                                                                           the
    complaint through discussion with the individual responsible fo r the action causing
                                                         the matter with  your unit managem   ent team.
    grievance. If this attempt fails, you should discuss
                                                                        remains  unresolve d you
    They may be able to quickly resolve your concern. If the concern
    should begin the steps listed below.

     Each inmate at Trousdale Turner Correctional Center has the right to utilize the grievance
                                                                                         which inmates
     procedure without fear of reprisal. The grievance procedure provides a forum in
                                                                         personal ly affect them and
     may formally raise their concerns over incidents or conditions that
                                                                                     nal and  TDOC
     allows these complaints to be considered and addressed at both the institutio
     central office level.

                                                                                         should be
     Grievance forms are available in the housing units and in the library. Grievances
                                                                     housing unit and  in front of each
     deposited in any locked grievance deposit box located in each
                                                                                    cy  grievance s
     dining facility. The grievance box is emptied daily, Monday - Friday. Emergen
                                                                                             33 IP a g c




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     should be forwarded to the unit manager who will ensure the grievance chairperson receives it
     by the end of the business day. Whenever the chairperson is not available for immediate
     attention, it should be forwarded to the Shift Supervisor for immediate attention. If the matter
     is deemed a non-emergency, then it will then be processed through normal procedures.
     All grievances must be filed within seven (7) days of the occurrence or most recent in a series of
     occurrences giving rise to the grievance, with the exception of a Title VI complaint. All Title VI
     complaints must be filed within 180 days of the occurrence of an alleged discriminatory act.
     The grievance committee is made up of staff and inmate members that are elected yearly.
     Results will be posted in all housing units and the grievance office.

     TDOe Policy 501.01, the grievance handbook, and nee procedures regarding hearings,
     election, and emergency grievances are located in the legal library for additional information
     concerning inmate grievances. The review of these materials by inmates is encouraged due to
     the fact that some complaints are inappropriate to the grievance procedure and have other
     means of appeal. If you have any questions concerning the grievance process, you may contact
     the grievance chairperson via information request.

     An emergency grievance pertains to situations involving personal injury or irreparable harm.
     When the grievance is of an emergency nature please immediately contact the next available
     staff member. In the event it is necessary to file the emergency grievance on weekends or
     holidays, the sealed envelope will be given to the shift supervisor. The shift supervisor will
     ensure the administrative duty officer (ADO) is notified upon receipt of the emergency
     grievance.

     Unit Management Team
     Verbal meeting to address concern



     Grievance level one
     Must be completed with 7 days of event
                                                ~
     Grievance level two: Hearing                 I
     Hearing held and board recommendation given to Warden
     Appeal must be completed by offender within 5 days of notification of
     Warden decision.




     Grievance level three: Commissioner          I
     The Commissioner has 25 days upon receipt of grievance to render a decision.
     All level three decisions are final and not subject to appeal.




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     CHAPTER4
     FOOD SERVICE

     Meals
                                                                                        housing
     Three meals are served daily. Unit procedures regarding meals are available in the
                                                                    ed health standards and meet
     units. Each meal will be prepared in accordance with establish
     daily nutritiona l requirements

                                                                                              These
     All meal items provided by Trinity Food Services must be consumed during meal times.
                                                           tion later. If found these items will be
     meal items may not be hoarded or saved for consump
     discarded.

     Special Diets
                                                                                             verification
     Special diets are provided with written approval by the health care staff. A written
                                                       r in the forms  of a special medical diet.  If an
     must be presented to the food service superviso
                                                                    on the  menu,   the inmate may
     inmate's religious faith precludes his eating any meat items
     choose the alternate entree for each meal. The chapla_in is available to assist in religious
                                                                                                to sign
     diet/men u selection counseling. If you are receiving a special diet you will be required
     for the receipt of your diet during meal time.

     West Chow Hall /Dining Room Procedures
        •    Inmates from Education (Building M) A, B and E Buildings will enter the west dining
                                                                                                 hall
             on the left side.
        •    Inmates will receive a food tray from tray window. Inmates will not be allowed to
             exchange food from trays at any time.
        •    Inmates will be seated on the table being seated at the time of dining. Inmates will
                                                                                                    not
             skip a table .
        •    After eating, inmates will be released to return their tray according to their seating
                                                                                                    row.
        •    Inmates will then be release back to housing or Education

                                                                                            g room.
     All inmates must wear TDOC uniform before being allowed to enter the chow hall/dinin
                                                                            socks and shoes (no
     Shirts will be buttoned and tucked into pants. Inmates must also wear
                                                                                          ds,
     shower shoes/flip flops), Shoes will be laced and tied. No hats, bandannas, sweatban
     sunglasses etc., will be allowed in the chow hall/dinin g room.

     East Chow Hall/Dini ng Hall /Procedures
         •  Inmates from C, D, F and W Building will enter the east dining hall on the left side.
         •  Inmates will receive food tray from tray window. Inmates will not be allowed to
             exchange food from trays at any time.
         •   Inmates will be seated on the table being seated at the time of dining. Inmates will
                                                                                                     not
             skip a table .
         •   After eating, inmates will be released to return their tray according to their seating
                                                                                                    row.
         •   Inmates will then be release back to housing.

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     All inmates must wear TDOC uniform before being allowed to enter the dining room. Shirts will
     be buttoned and tucked in pants. Inmates must also wear socks and shoes (no shower
     shoes/flip flops). Shoes will be laced and tied. No hats, bandannas, sweatbands, sunglasses,
     etc .... will be allowed in the dining room

     CHAPTER 5
     RIGHTS AND PRIVILEGES
     Rights
     As inmates of the Department of Correction, you have certain rights and privileges. You also
     have certain responsibilities. Listed below are those rights, privileges, and responsibilities:

     1.   You have the right to expect that as a human being, you will be treated respectfully,
          impartially, and fairly by all departmental personnel.

     2.   You have the right to be informed of the rules, procedures, programs, and schedules
          concerning the operation of the institution. You will have access to all institutional
          programs and services without regard to your race, religion, national origin, political views
          or physical handicap.

     3.   You have the right to freedom of religious affiliation and voluntary religious worship.

     4.   You have the right to health care which includes nutritious meals, proper bedding, and
          clothing; a laundry schedule for cleanliness of the same; an opportunity to shower
          regularly; proper ventilation for warmth and fresh air; a regular exercise period; toilet
          articles; medical and dental treatment.

     5.   You have the privilege to visit and correspond with family members and friends and
          correspond with members of the news media in keeping with the facility rules and
          schedules. You have the right to uncensored and un-inspected outgoing correspondence
          with members of the news media through the prisoner's mailbox system.

     6.   You have the right to unrestricted and confidential access to the courts by
          correspondence on matters such as the legality of your conviction, civil matters, pending
          criminal cases, and conditions of your imprisonment.

     7.   You have the right to legal counsel from an attorney of your choice by interview and
          direct correspondence.

     8.   You have the right to participate in the use of law library reference materials, paper, and
          typewriter, to assist you in resolving legal problems.

     9.   You also have the right to receive help when it is available through a legal assistance
          program (i.e ... law library aides, Lexis Nexis).

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                                                                                                 , and
    10.    Failure to abide by facility of Departmental rules and regulations, abuse of resources
           misuse of privileges may result in disciplinary action and/or loss of privileges.

    11.    You have the right to protection from personal abuse, corporal punishment, personal
           injury, disease, property damage, or harassment.

    Privileges
                                                                                      privileges
    Privileges are defined as a special advantage enjoyed by a person. There are many
    granted and earned by inmates.
    The privileges include:

               a. Visitation;
               b. Commissary;
               c. Some recreational activities; and
               d. Regular use of the telephone.

                                                                                            opportunities
    You have the privilege, if qualified, to participate in education programs and work
                                                                                      status  and
    as resources are available and in keeping with your interests, needs, custody
    abilities.
                                                                                                  .
    Abuse of these privileges or facility misbehavior will result in the loss of these privileges

     Your Responsibility
     With these rights and privileges come certain responsibilities of the inmates.
    NO CONTRABAND
    NO DISORDER
    NO ESCAPES
    NO GANG/ THREAT GROUP ACTIVITY
    Any of the above will result in facility and/or criminal charges.

    Employee/Offender Relationshios
                                                                                               to
    Social relationships between staff and inmates are prohibite d, including but not limited
                                                                      sexual harassme   nt or sexual
    emotional, sexual or romantic attachments. Sexual misconduct,
                                                                                        any staff
    abuse by any person will not be tolerated and should be reported immediately to
     member.


     Title VI of the Civil Rights Act of 1964
                                                                                                  or
     Trousdale Turner Correctional Center will not discriminate on the basis of race, color,
                                   of its provision of services.  You  may  have access  to all institutio nal
     national origin in any aspect
                                                 entitled or eligible regardless of race, color,  or national
     programs and services for which you are
     origin.



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     Title VI of the Civil Rights Act of 1964 states that "No person in the United States shall, on the
     ground of race, color, or national origin, be excluded from participation in, be denied the
     benefits of, or be subjected to discrimination under any program or activity receiving Federal
     financial assistance."



      •   Offenders in TDOC custody should use the established inmate grievance process (Policy
          #501.01). All Title VI complaints must be filed within 180 days of the occurrence of an
          alleged discriminatory act. Only one subject or incident will be addressed in a grievance. All
          copies of the form must be legible and intact. Use of the TDOC grievance procedure is not a
          prerequisite to the pursuit of other remedies.
     •    Visitors and other individuals shall submit details of alleged violations via letter or direct
          communication to the respective Title VI Site Coordinator. No special forms are required to
          file a Title VI complaint.
     •    Any individual may file a Title VI complaint with the below listed entities. It is preferable,
          but not required, that complaints be registered at the local level first to expedite complaint
          investigation and resolution.


     ***If any other protected classes are listed (i.e., sex, age, physical handicap) they should be
     removed. The only protected classes that should be listed are the above highlighted (race,
     color, or national origin) ****

     Additionally, these following addresses must also be included:
                                                                      i
     Tennessee Human Rights Commission                    U.S. Department of Justice
     Office of Title VI Compliance                        Civil Rights Commission
     312 Rosa L. Parks, Avenue, 23 rd Floor               Federal Coordination and Compliance
     Nashville, TN 37243-1102                             Section, NWB
     Phone: 615.741.5825 Fax: 615.253.1886                950 Pennsylvania Avenue, N.W.
     E-mail: titlevicomp liance@tn.gov                    Washington, DC 20530
                                                          1-800-848-5306 (Toll free voice & TTY)
     P.R.E.A


     Prison Rape Elimination Act of2003 42 U.S.C. § 15601
     In 2003, Congress passed the Prison Rape Elimination Act requiring all prisons and jails to
     communicate certain information to its inmates regarding sexual
     abuse/misconduct/harassment. Specifically, inmates engaging in consensual or non-consensual
     sexual conduct with other inmates will be subject to disciplinary sanctions within the realm of
     the facility disciplinary system in addition to any criminal charges that exist. Additionally,
     employees and civilians are prohibited from engaging in sexual conduct with inmates regardless
     of consensual status. Any employee/volunteer/contract staff in violation will be subject to
     administrative and criminal charges.




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                                                                                      ts of a sexual
    This facility also prohibits staff and inmates making verbal statements or commen
                                                                                          d,
    nature as well as profane or obscene language or gestures. This includes all complete
    attempte d, threatened or requested      sexual acts including indecent exposure.

                                                                                               ent to any
    Inmates should immediately report incidents of sexual abuse/misconduct/harassm
                                                                                        immedia     tely
    employee even if you are not involved. If you witness incidents of this nature,
    report it to any staff member. All reports or alleged reports of sexual
                                                                                             to the Warden
    abuse/misconduct/harassment will be taken seriously and immediately reported
                                                         be documen   ted  and  remain   confiden    tial.
    and investigated. Results of the investigation shall
    Appropriate medical evaluation and/or treatmen t protocols    will  be followed   including
                                                                                            sexual act or
    counseling. As an inmate you have the right to be protected from any unwanted
                                                                                                   sexually
    threat of a sexual act. If you are ever approached, threatened, or physically assaulted
                                            by reporting the incident  to any  staff member      or  you may
    you must report this. You may do this
                                                            91 on any   inmate   phone.   If you  wish   to
    call the P.R.E.A. incident reporting number, by dialing
    report anonymously to an outside agency, *453
     on the inmate phones will connect you with the National Sexual Abuse Hotline.

                                                                                        manager
    You should report alleged or actual incidents, of P.R.E.A. immedia tely to the unit
                                                         discuss  and write down  the events  on an
    and/or the shift supervisor, be prepared to verbally
                                                                prepared to verbally discuss the
    incident statement. If you are unable to read or write be
                                                                                               If you
    events of the incident so that it may be documented in yt,ur words in a written format.
                                                                                     will connect  you
    wish to report anonymously to an outside agency, *453 on the inmate phones
    with the National Sexual Abuse Hotline.

    nee will then initiate procedures to protect you from further harm or from any retaliation.
    nee will also provide medical and mental health services. If possible it is important not to eat,
                                                                                        will also
    drink, brush your teeth, and bathe as to preserve evidence. Our mental health staff
    provide or establish for your support services.

    Sexual Abuse Prevention & Response
    It is Trousdale Turner Correctional Center's mission to provide a safe, humane and
                                                                                            by
    appropriately secure environment, free from threat of sexual assault for all inmates,
                                                                                              of all
    maintaining a program of prevention, detection, response, investigation, and tracking
                                                                                        within the
    alleged sexual assaults. nee has a zero tolerance   for incidents of sexual assault
     facility.

                                                                                                d. There is
     Sex in correctional settings such as prisons, jails, and detention facilities is prohibite
                                                                                              You can help
     no consent to sexual activity. Any act makes you either a perpetra tor or a victim.
                                                    it happens you can  help  prevent   it from happening
     prevent sexual misconduct in this facility. If
     again.

                                                                                              which
     Dial 91 for immediate assistance leave your name, housing unit location, and situation
                                                                                         by forwarding
     you have determined to be of a sexual nature by verbally telling any employee or
                                               "confiden tial." If you wish to report anonymo  usly to
     a letter to the warden sealed and marked
                                                                                                39 j pa g C




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     an outside agency, *453 on the inmate phones will connect you with the Nashville Sexual
     Assault Center Hotline.

     What do I do if I am a victim or know of someone that is a victim of a sexual assault, abuse, or
     misconduct?

         •   Do not shower or otherwise clean yourself, or if the assault was oral, do not drink or
             brush teeth, or otherwise take any action that could damage or destroy evidence.

         •   Report the incident immediately to any employee or

         •    Call the PREA Hotline Number by dialing 91 on the inmate's phone for an immediate
             method to report. Leave your name, housing unit location, and situation which you
             have determined to be of a sexual nature by verbally telling any employee or by
             forwarding a letter to the warden sealed and marked "confidential." If you wish to
             report anonymously to an outside agency, *453 on the inmate phones will connect you
             with the Nashville Sexual Assault Center Hotline.

         •    Or contact: Nashville Sexual Assault Center
             101 French Landing Drive
             Nashville, TN 37228
             615-259-9055
             *453 (from inmate phone system-free call)

     A Victim Support Coordinator will provide counseling and assistance to any inmate reported to
     be a victim of a sexual assault. The "on duty" mental health provider and/or the Chaplain are
     designated as the Victim Support Coordinators at TTCC.

     Any inmate who displays behavior for potential victimization may be referred to a member of
     the mental health staff for screening and identification for consideration of protective custody
     by any staff member. Counseling staff shall meet with each inmate identified and offer
     counseling if desired.

     Any inmate who displays predatory behavior may be referred to a member of the mental
     health staff for screening and identification as a high risk sexual predator by any staff member.
     Counseling staff shall meet with each inmate identified as high risk for the purpose of
     reviewing, monitoring behavior and offer counseling if desired. Mental health referrals may
     also be made in accordance with TDOC Policy 113.82 .

     Third Party PREA Rep01ting Method(s):
     External parties (such as inmate family members or other outside contacts) can call the Ethics
     Hotline at 1-866-757-4448 or they can report a PREA allegation directly by calling the facility at
     615-808-0416.
      ' lffCIVI · 11 adgu:.irtcrs (Facilit y Sup rt cni ' r , 10 Burton Hills Blvd, Nashville, TN
     37215 I Phone: 1-800-624-2931

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                                                                 PageID #: 2270
     Warden's Office, 140 Macon Way, Hartsville, TN 370741 Phone: 615-808-0416
     Nashville Sexual Assault Center: 101 French Landing Drive Nashville, TN 37228 I Phone: 1-
     800-273-8712
     TD) ' PRL,1\ Tip line 320 Sixth Ave North, Nashville, TN 37243-0465 I Phone: 615-253-8178
     National Sexual Assault Hotline at 1-800-656-4673
     For the inmate population: Calling *453 from the inmate phone system will direct them to the
     Nashville Sexual Assault Center. Inmates can call 91 from the PREA hotline from the inmate
     phone system, verbally inform any staff member, send a confidential letter to the Warden, and/or
     mail a letter to the Managing Director at the Facility Support Center.

     CHAPTER6

     VISITATION

    Searches
    You are subject to search at any time. Searches of inmates, inmate housing units, and other
    areas of the facility shall be conducted in a manner which will avoid unnecessary force,
    embarrassment or indignity to those whose person and/or belongings are being searched.

     Searches of your person, property and assigned living space are required to control contraband.
     Searches are made randomly and for cause. When directed, you are required to submit your
     person and/or your property for search. You are permitted, although not required, to be
     present during a living area search as long as you conduct yourself in an orderly manner. Care
     will be taken to prevent any damage, abuse or loss of your property. If necessary you may
     submit a loss of property claim for investigation. The maximum allowable reimbursement for a
     loss of property claim is $50.00.

    Times and patterns of searches shall vary as dictated by institutional needs. Strip searches are
    authorized by the Warden/designee and conducted for the purposes specified by institutional
    policy such as, but not limited to, returning from transportation runs, visitation contact, and
    work details.

     An inmate who refuses to be searched will be charged with a disciplinary infraction. He may be
    forcibly searched upon prior approval of the Warden or ranking security staff. Inmates who
    refuse a search may be temporarily housed in a dry cell with prior approval of the warden/duty
    officer and commissioner's designee.

    All inmates will be searched prior to contact visits. Upon completion of a contact visit you will
    be unclothed, searched, and placed back into uniform.

    All visitors and vehicles on the facility grounds are subject to search.




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     Visitation Rules
     Visits from your family, friends and others are conducted in the visitation area. Because visits
     are an important part of an inmate's life, we try to conduct visits in an informal and relaxed
     atmosphere, while at the same time maintaining order.

     Inmates and visitors should remember that visiting is a privilege, not a right. Inmates can lose
     their privilege to receive visits, and visitors can lose their privileges to visit.

     Falsification of identification by impersonating an authorized visitor may disqualify the
     approved visitor from future visits and may be considered an attempt by the inmate to
     circumvent visiting privileges. You will be subject to disciplinary action if an investigation
     reveals you knowingly conspired with a visitor to circumvent regulations.

     The rules of the visiting area are included in your handbook. You and your visitors are expected
     to behave in a responsible and mature manner, respecting not only yourselves, but also other
     visitors and staff. You and your visitors are required to follow the directives of the visitation
     area officer at all times.

     You and your visitors are expected to follow the rules posted in the lobby area and in the
     inmate handbook. Violation of these rules will result in termination of the visit with the
     possibility that visiting privileges will be suspended or revoked.

     Visits by clergy are cleared through the Chaplain and Chief of Security. Your lawyer may come
     and confer with you here at any time, excluding count and meal times.
     Each attorney must present bona fide evidence of his/her license to practice law, to include a
     state bar membership card and matching identification, e.g. driver's license. These visits are in
     addition to regular visits and are not counted against your regular visits.

     Each inmate has the responsibility to be properly clothed while visiting. You must wear
     CORECIVIC-issued clothing for visits. You are not allowed to wear hats, bandannas, headbands
     or religious head gear during visits. Inmates who are improperly dressed will not visit.

     Inmates cannot wear jewelry, except for a wedding ring to the visiting area. It is your
     responsibility to leave your jewelry secured in your housing area. Jewelry, other than the
     wedding band, will be considered as contraband and will not be returned to you prior to your
     release from nee.

     Visitation policies, are available in the inmate library.

     The visitation schedule is posted in the housing units.

     Trousdale Turner Correctional Center visiting days are on Saturday, Sunday, Monday, and
     designated holidays. Scheduled visiting hours are subject to change. The current visiting


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                                                                                         boards. It will
    schedule will be posted at the pedestrian checkpoint and on institutio nal bulletin
    be the inmate's responsibility to provide his visitor with the designated visiting hours.

                                                                                           in the visit
     Inmates must remain seated at all times during visiting. Failure to do so will result
     being terminated.

                                                                                              Requests for
    Special visits will be strictly limited and will require strong supporting justification.
                                                                                               tion.
    special visits must be submitte d to the Assistant Warden of Operations for considera
    Visitors may not bring any property items to an      inmate  during visitation .


    The visitor approval process is as follows:

                                                                                                 defined in
     •   Upon approval of applications, all members of the inmate's immediate family (as
         TDOC policy) and up to eight (8) additional adults   may be  listed  on the  inmate's visitation
         list at one time.
                                                                                                    the unit
     •   To add people to a visiting list, inmates should request a visitation application from
                                                                                                it in its
         staff. The visitation application should be sent to the visitor who must complete
                                                              The Warden/     designee   will make  the
         entirety and return it to the Visitation Supervisor.
                                                                         visitor is either approved   or
         decision to approve or disapprove the application. When a
                                                                                           responsi bility to
         disapproved, written notice shall be given to the inmate. It is the inmate's
         notify the visitor that he/she has been approved/disapproved. If an inmate has the
         maximum allowable number of visitors on his list, he must request one (1) to be deleted
         before one (1) can be added.
     •   Facility staff will not disclose the status of a visitor application over the telephone.
         Visitation information will only be released to the affected inmate.
     •   Any omissions or falsifications of the visitation application and failure to notarize
         applications for minors will result in denial of the application form.

                                                                                       All money must
     Inmate's visitors are not permitte d to bring wallets nor purses in the facility.
                                                                                        cards may be
     be applied to a debit card in the lobby area before clearing checkpoint. Debit
     purchased in the front lobby of the facility prior to entering the visitation gallery.
                                                                                            gallery
     All food and beverage purchases from vending machines inside the authorized visitation
     will be purchased by the use of a debit/che ck debit card.

                                                                                            baby feeding
     Visitor(s) will be permitte d to bring in the following baby items: two (2) plastic
                                                       not to exceed for two (2) feedings .  Diapers (3)
     bottles, factory sealed powder baby formula
                                                                      to  accomm   odate three   diaper
     three (3) maximum, Baby wipes (adequate number of wipes
                                                                              tion  and are  allowed  car
     changes, plastic spoon and a pacifier. Visitor(s) must bring identifica
     key, glasses, wedding ring, (1) other ring and ear ring(s).

                                                                                             transparent
     Visitors must wear appropriate undergarments at all times. No spandex material,
                                                              at all times. Cut  off shorts   are not
     or tight fitting clothing is allowed. Shoes must be worn
                                                                            leg is covered    to within
     permitted . Shorts or skirts/dresses are permitte d provided that the
                                                                                     slits, or  zippers
     three (3) inches above the knee in the standing position. No splits, buttons,
                                                                                                 43 j pa g   C




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     from the hem line are allowed. No wrap-around skirts are allowed. No sundresses, backless or
     low cut clothing is allowed. The chest and midriff must be covered at all times. Clothing with
     logos that contain pictures, slogans or vulgarity, or sign/symbols of security threat groups is not
     permitted. No halters, tube or tank tops are allowed; all apparel must have sleeves. No sweat
     pants, stirrup pants and/or leggings are allowed.

     Protective Custody inmates will receive non-contact visitation, behind glass, in accordance
     with TDOC policy 507.01.1, Non-Contact Visitation.

     All visitation schedules are subject to change. Visitors will not be allowed to visit between the
     hours of 9:15 a.m. and 11:30a.m. due to mandatory count procedures.

     VISITATION SCHEDULE
     Scheduled hours will be provided to the inmates and posted at the pedestrian checkpoint.
     Inmates shall be responsible for notifying their visitors of schedule changes.

     No visitor will be permitted on the premises for visitation until 1 hour prior to the start of
     visitation.

     Monday evening visitation for all inmates is only allowed if the visitor has not already visited on
     the weekend. This visiting period is provided for those whose work schedules preclude
     weekend visits, not as an additional visiting period.

     Visitation to all inmates in restrictive housing (pending hearing, pending investigation,
     administrative segregation, protective custody, and punitive segregation shall be non-contact.
     Punitively segregated inmates will not be allowed to visit.

     VISITOR CLOTHING RESTRICTIONS
        1.   ALL shirts must be tucked in during the entire visit
        2.   NO skin tight nor sagging shirts or pants
        3.   NO patches or holes in pants
        4.   NO leggings or jeggings
        5.   NO¼ sleeve tops or sleeveless shirts. Sleeves must reach mid-bicep. No low cut,
             revealing tops or see-through shirts
        6.   NO open toe or open back shoes. Shoes must be tied or strapped during the entire visit
        7.   NO hats, wallets, purses, coats, shorts, hooded shirts, jackets, hoops/dangling earrings
             (posts or studs only)
        8.   NO entry devices or key rings, gum, candy and paper
        9.   Children 1 year of age and older must have shoes on




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      SATURDAYS, SUNDAYS, AND DESIGNATED
      STATE HOLIDAYS
     Saturday
     Bravo, Charlie and Echo Unit     7:00 AM-12:00 PM
     Delta, Fox and Whiskey Unit     1:00 PM - 6:00 PM

     SUNDAY
     Delta, Fox and Whiskey Unit     7:00AM - 12:00 PM
     Bravo, Charlie and Echo Unit     1:00 PM - 6:00 PM


      MONDAY EVENING
    (Segregation/PC-Non-Contact-By Appointm ent)
    To make an appointm ent call 7 days in advance from 8 am-5 pm at (615) 808-0400 EXT 80432.
    Segregation-N/C & Protective Custody: 9:00AM-1 1:00AM (Monday's ONLY)
                                                                                        Visit.)
    General Population: 4:30 PM - 6:30 PM (Monday and W ednesda·y ONLY, if no weekend

     **Times are subject to change based on facility counts and facility needs.

    GENERAL VISITATION RULES
          1.   Present and former CORECIVIC employees are not allowed to visit. Tennessee
               Department of Corrections employees must have the written authorization of the chief
               deputy to request approval to visit. If a visit or is a fo rmer federal, st at e or local
               inmate, he/she must have been released form incarceration for at least one year prior
               to requesting approval to visit unless authorized by the warden. Visit ors on parole or
               probation must be an immediat e family member and must present a letter from their
               parole/ probation officer.
          2. All inmates will be searched prior to entry and before leaving the visitation area.

          3. Visitation cannot be cancelled by a correctional_officer; only a supervisor can terminate
             a visit. Also, a correctional officer cannot add or remove a name from the inmate's
             visitation list.

    GENERAL RULES OF CONDUCT
    The following Rules of Conduct have been designed to provide a high level of safety and
                                                                                                   of
    security and to restrict behavior that is offensive to visitors and their children. Regardless
    the rules, you are always required to follow the instructions of the visitation officer.
     1.        Persons who are under the influence of alcohol, drugs, or controlled substances, or who
               are unruly in any manner will not be allowed to visit and will be requested to leave the
               premises. Abuse may result in the permanen t removal from the visitation list and may
               result in prosecution.
     2.        This is a tobacco-free facility. All tobacco products must remain in the visitor's parking
               lot and must be secured in your vehicle or a locker. Tobacco and lighting materials are
               considered contraband and will be subject to confiscation.



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     3.      Physical contact between inmates and visitors is restricted to a brief kiss and embracing
             at the beginning and the end of the visits. Such displays of affection will be kept within
             the bounds of acceptable social behavior. During the course of the visit all other contact
             is prohibited.
     4.     Small children must be kept orderly and under control by the inmate and/or visitors at
             all times. Failure to do so may result in termination of the visit. Small children may be
             held in the laps of visitors or inmates. Inmates may not hold other inmates' children.
     5.      Inmates' hands will be kept on top of the table at all times. Failure to do so will result in
            the cancellation of the visit.
     6.     At no time will anything be passed between the visitor and the inmate.
            lf visitors or inmates are found passing items the visit will be terminated and the
            visitation privilege may be suspended. This includes chips, candy and soda not
            purchased in the visiting area.
     7.     The visitation room officer will assign seating for the inmate and visitors. Once seated,
            there will be no changing seats without the permission of the visitation officer.
     8.     Neither inmates nor visitors will be loud, boisterous, unruly, or disruptive during visits.
     9.     The inmate will remain seated at all times, unless approved by the visitation officer.
     10.    Inmates and visitors are required to follow the directives of the visitation officer at all
            times.
     11.    Violation of visitation rules may result in the termination of the visit, with the possibility
            of visiting privileges being suspended or revoked.
     12.    The shift captain will interview any visitor who is found in possession of contraband.
            The visitor's visitation privileges may be suspended Indefinitely and a determination will
            be made concerning whether or not to file criminal charges. Any re-instatement of
            visitation privi leges must be grant ed by t he wa rd en or his/her designee.
     13.    Any inmate found with contraband from visitation or if it is determined that contraband
            was brought in to him/her through visitation, can have his/her visitation privileges
            suspended for a period of six months and up to indefinitely with whomever the visitor(s)
            was at the time of the visit.
     14.    Inmates shall be strip-searched before returning to the unit whether the visitor shows
            up or not.
     15.    Selected food items must be eaten in the visiting room only.
     16.    Inmates' and visitors' hands must be visible at all times.
     17.    Plastic bands are prohibited and cannot be worn on facility grounds.

     During visitation, inmates should have one pair of socks, one pair of underwear, one t-shirt
     and/or bra (no long john shirt or pants), one pair of pants, and one shirt only. All inmates are
     required to wear the orange CORE CIVIC issued tennis shoes to visit. Your TDOC-issued I.D.
     badge is a part of your uniform and you must be in your possession during visitation.

     SPECIAL VISITS
     A special visit is a visit which requires the visitors travel 200 miles out of town. An inmate must
     submit an inmate request form/special visit form to the unit management team at least one (1)
     week in advance, requesting date, time and name of visitor(s). This visit will count as the

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                                                                                            either
    inmate's weekly visit. The request for a special visit/extended visit will be returned
    approved or denied by the Warden/Designee.        If the time requeste d is already reserved
                                                                                           must have
    another time must be requested . If the inmate is submittin g for the weekends he
                                                                                  week.   ALL SPECIAL
    the inmate request form/special visit form in by Thursday of the previous
                                                                          TO HIS/HER
     AND EXTENDED VISIT REQUESTS MUST BE MADE IN WRITING BY THE INMATE
                                                                    VISIT WI LL COU NT AS
     UNIT MANAG EMENT TEAM AT LEAST ON E (1) WEl:K IN ADVANCE. THIS
     THE INMATE' S WEEK LY VISIT.


     CLERGY & ATTORNEY VISITS
                                                                                               with you
     Visits by Clergy are cleared through the Warden/designee. Your lawyer may confer
                                                    times. Each attorney  must  present  bona   fide
     here at any time, excluding count and meal
                                                                      bar members   hip card  and
     evidence of his/her license to practice law, to include a state
                                                                                              visits and are
     matching identification, e.g. driver's license. These visits are in addition to regu_lar
     not counted against your regular visits.

     VIS/TA TfON RESTRICTIONS
                                                                                                involving
     In addition to any sanctions imposed by the disciplinary hearing officer, all incidents
                                                                            for six months, followed     by
     contraband or violence will result in the suspension of all visitation
                                                                                           will  result in
     six months of non-contact visitation. Additionally any violation of visitation rules
                                             as determin ed  by the Warden   or  his designee . Visitation
     the suspension of visitation privileges
     privileges are solely determin ed by the Warden  or  his designee .


     CHAPTER 7
     MEDICAL AND MENTAL HEALTH SERVICES
                                                                                             range of
     Full-time health care professionals are employed by the institutio n to provide a full
                                                                          is operated for  sick call,
     comprehensive medical, dental and mental health services. A clinic
                                                                                          service  at a
     scheduled appointments and emergencies. Should it be assessed that you require
     hospital, you will be transferred to an offsite hospital.

                                                                                               nals as
     All newly admitted inmates will be assessed by the appropriate health care professio
                                                                                      will  not be
     part of the intake process. Inmates who refus~ to allow the intake screening
     classified into general population for health and safety reasons.
                                                                                                   k,
     Informat ion regarding access to health care shall also be included in the inmate handboo
                                                        acknowle  dgement   of receiving   informati on
     posted in all housing units and inmates shall sign
     during intake screening .


     Clinic Schedule:
     Monday- Frid ay
     Clinic hours: 6:00 a.m.-3:30p.m.
     Chronic Care Clinic: 8:00 a.m. - 3:30p.m.


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     Dental Clinic: 8:00a.m.-3:30p.m.
     Mental Health Clinic: 8:00a.m.-3:30p.m.
     Sick Call: Open
     Lab clinic: 4:00a.m.
     Diabetic call out should be 30 minutes prior to scheduled meal times.

     *Clinic schedules are subject to change bases on facility count and facility needs.*

     KOP Pick-Up Schedule:

     Monday         0630-0930       Whiskey
                    1100-1330       Charlie
     Tuesday        0630-0930       Delta
                    1100-1330       OPEN
     Wednesday      0630-0930       Charlie
                    1100-1330       Whiskey
     Thursday       0630-0930       Echo
                    1100-1330       Bravo
     Friday         0630-0930       OPEN
                    1100-1330       CLOSED


     Access to Care:

     ACCESS FOR GENERAL POPULATION:
     1. Sick Call will be conducted at least 5 days a week, excluding holidays, in the East side gym
     exam room for inmates desiring routine health care services (medical, eye, dental, psychiatric,
     etc.). Sick call will begin at 0700 hours for the following units: Charlie, Delta, Fox, Whiskey,
     Echo, and Bravo.
     a. The am call-outs are initiated at the designated times. The pod officer will make a sick call
     announcement during count. When the count clears, the walk sergeant announces over the
     radio to place all sick call, blood pressure, etc. on standby. Staff will escort any inmate
     requesting to go to sick call. Inmates must have their ID and will bring their completed sick call
     request form with them. If they do not bring a sick call slip, the slips will be available in the gym.
     b. Dental complaints shall be presented at the regular sick call. The nursing staff shall assess
     dental complaints and refer directly to the facility dentist, who shall evaluate the complaints
     and provide treatment according to established clinical protocols.
     c. The medical drop box will be used mainly for Mental Health/Dental requests although
     medical requests will not be rejected.
     d. It shall be the inmate's responsibility to report for open sick call at the scheduled times.

     2. For appointments scheduled by staff:
     a. Medical call-outs will be posted in all housing units the night before the appointment.

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     b. The inmates will be called when their appointme nt time has arrived, and will be required to
     report to medical immediately.
     c. Inmates will be required to give their ID to the medical officer immediately upon arrival.
     d. Any refusal to show or arrive at medical for a scheduled appointme nt may result in a
     disciplinary. Inmates who wish to refuse their appointme nt, must do so in person.

     ACCESS FOR RESTRICTIVE HOUSING AND PROTECTIVE CUSTODY INMATES:
     1. Medical staff will visit and conduct sick call for Restrictive Housing and Protective Custody
     inmates 7 days a week including holidays. Sick Call slips will be available upon request. Nursing
     staff will collect the slips during the daily visit.
     2. If medical evaluation indicates, inmates shall be escorted to the clinic for evaluation.

     Emergency Care
     Health Services personnel are available on-site 24 hours per day to handle emergencies should
     they occur. However, medical and dental conditions which could be handled through sick call
     will not be dealt with as an emergency situation outside of sick call hours. If you feel you are
     experiencing a medical emergency, advise the unit officer. The unit officer will then call
                                                                                                  the
     medical staff. If deemed necessary, the inmate will be escorted  to  the medical  departmen   t for
     further examination and treatment . *Inmate workers are to immediate ly report       any injuries
     they may incur to their supervising staff.

     Special Conditions

     If a special medical appliance (such as crutches) is ordered, the inmate will be given a copy of
     the order to show authorization to security, as necessary. The inmate is expected to return the
     item by the expiration date or ask at a sick call appointme nt for an extension of the time to use
     the item .

     Only the physician can order or approve a medical diet. The initial request should go through
     sick call procedure or will be ordered during the chronic care visit.

     GENERAL RULES OF THE HEALTH CARE SERVICES DEPARTMENT
     1. Sick call and medication will be conducted during posted hours. All other non- emergency
     visits will be by appointment. Co-payment charges will be applied in accordance with TDOC
     Policy 113.15.
     2. Headgear will not be worn in the medical clinic.
     3. No food or drink will be permitted in the medical area.
     4. No loud or unruly behavior is allowed in the infirmary.
     5. Passes and ID cards are required
     6. All inmates will be properly clothed in TDOC uniform.
     7. All posted rules will apply.
     8. An inmate who becomes ill after reporting for work/school must report his illness to the
     supervisor/teacher. He/she will then be sent back to the housing unit by the


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     supervisor/teacher. The unit officer will then call the lieutenant who will in turn contact health
     services.

     Refusal of Medical Care or Scheduled Appointment
     Inmates who have requested sick call or have an appointment and refuse to be seen will be
     given a refusal form to sign, which will be placed in their medical records.

     Outside Medical Appointments

     If a provider determines a specialist needs to be consulted, approval must come from the
     corporate Medical Doctor. Once approved, the facility medical department must wait for the
     outside specialist to schedule ao opening for an appointment once they have one in their office.
     *For security reasons, you will not be informed of the date and time of outside
     appointments.*

     Co-Payments
     In accordance with TDOC Policy 113.15, Inmate Co-Payment for Health Services, there will be a
     $3.00 charge for all self-initiated visits to medical. Staff initiated visits (Chronic Care, physicals,
     labs, TB Screenings, etc.) will not be charged a co-pay. The procedure will be as follows:

     1. A TDOC CR-2727 (Personal Withdrawal Request) will be completed prior to being seen by
     medical staff with the exception of mental health referrals. This includes sick call at the
     segregation and protective custody units. If an inmate refuses to sign the slip, but wishes to be
     seen by medical staff, he will not be refused medical care but a $3.00 charge will be deducted
     from his account for this visit.
     2. After sick call hours and all emergencies will be charged a $5.00 co-payment charge.
     3. Work related injuries or injuries during school participation would have no charge.
     4. If inmates are brought to medical as a result of an assault, no fee will be assessed. There will
     be no charge for initial medical checks prior to placement in segregation.
     5. There is no charge for nursing or physician visits to inmates in the infirmary or on suicide
     watch.
     6. If an inmate is seen for chronic clinic and presents to the nurse an additional problem, the
     nurse can either have the inmate sign up on nurse sick call or charge the inmate the $3.00 fee
     and treat him at that time.

     Chronic Care Clinic
     Inmates with stable conditions including but not limited to: congestive heart
     failure, diabetes mellitus, hypertension, chronic respiratory diseases, COPD,
     neurological disorders to include epilepsy, Human Immunodeficiency Virus
     (HIV) must be seen no less than every six months by a practitioner, and annually
     by a physician. Inmates with the above conditions whose condition becomes
     unstable shall be seen every three months by a midlevel provider and a physician


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     every six months. If an inmate is seen for chronic clinic and presents to the nurse an additional
     problem, the nurse can either have the inmate sign up on nurse sick call or charge the inmate
     the $3.00 fee and treat him at that time.

     Mental Health Service
     Psychiatric services are available daily Monday through Friday. The mental health coordinator
     evaluates all inmates soon after their admission to nee and makes referrals to the psychiatrist
     as needed. Inmates access psychiatric care in the same manner as medical care. The requests
     are evaluated daily by the medical staff and appropriate referrals are made. Only the
     psychiatrist can order psychiatric medications.

     Mental health services will be provided upon request of the inmate by signing up on the nurse's
     sick call roster or requesting security staff to submit TDOC form CR-3431 (Mental Health
     Referral Form). Only emergency and after hour care will be provided by having security staff
     notify the medical department of the situation. There will be no charge for mental health
     services.

     Optometry
    Inmates requesting to see the optometrist will be charged the $3.00 co-payment fee.
    Optometry services are available. If, in the event it is deemed necessary, through sick call
    and evaluation by the physician, glasses will be ordered. We will provide basic glasses only
    once. Plain lenses only will be provided. Tints and photo gray lenses will not be available.
    Replacement or repair of glasses will be done at the inmate's expense. Sunglasses are not
    provided through the medical department unless it is prescribed in conjunction with medical
    treatment. Contact lenses are not normally provided. There is a $5.00 charge for glasses.

     Dental Care

    Dental care is available at nee. You may fill out a request to see the dentist.
    Dental services are limited to restorative care of teeth or extraction's. Recommencing, relining
    or adjustment of dentures is available, but dentures or other cosmetic devices to enhance
    appearance are not provided. In the event the dentist deems it medically necessary for
    dentures, they will be provided upon justification of such services. There is a $5.00 charge for
    dentures .
            1.     Dental complaints shall be presented at the regularly scheduled sick call.
            2.     Dental examinations bi-annually are no charge unless they are TREATED during this
                   bi-annual visit.



    Medication Administration
    Medication that you receive on a routine basis (both kept on person [kop] and dose by dose)
    will be dispensed during pill call. All prn or pain medication will be dispensed during regular pill

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     call. If, in an emergency, you need a prn or pain medication that has been ordered by the
     physician for you, contact the unit officer, who will, in turn, notify his/her supervisor.


     Diabetics

     Insulin Dependent Diabetic inmates will report to the gym when called according to physician
     orders.


     Pill Call

      Medication schedules are posted in each of the housing units. The housing unit officer will
      verbally notify his/her unit's population that "pill call" is approaching. It is the inmate's
      responsibility to present themselves in an organized manner in a single file line three feet in
      front of the pill call window and/or medical cart and only approach the cart/pill call window
      once called for. Inmates must be fully dressed including shoes, and must have their facility
      identification badge. A visual search of your mouth and hands will be conducted after you have
      swallowed the medicine. Exact times for medication call will vary slightly. It is the inmate's
      responsibility to be alert for instructions from the housing unit officer concerning medication
      calls. Once medications are ordered by medical staff it may take up to 3 days before arrival at
      the facility for formulary. Non formulary medication must be approved by the corporate
      medical doctor (MD). The timeframe from approval may vary. Once approval is granted the
      facility must wait for arrival of medication Narcotics are considered non-formulary and must
      be approved by the facility doctor and by corporate MD.

      Prescribed Medication Keep on Person (KOP) Medication

      Medications prescribed from the physician may be kept on person (KOP) at the discretion
      of the doctor. Medications issued KOP must be secured in your housing unit. An inmate is
      allowed to possess one prescription container of each medication at any one time, and
      all such containers will be clearly marked KOP. Medications must be maintained in their
      original container.

     When the physician has ordered a medication for you, it will be ordered from the pharmacy.
     When it arrives, medical staff will ensure that it is dispensed as authorized.

     lf'you are allowed KOP medication, you will be informed of what the medication is and the
     directions for taking the medication.
             1.      You will be subject to random checks for compliance, administration, and any
                     problems you may be experiencing.

                 2.   If you are found to be non-compliant, abusing KOP, or fail to keep the
                      medication secure, you may lose KOP privileges and disciplinary action may be
                      initiated.



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             3.      No KOP will be re-issued to any inmate unless the previous card is returned. All
                     KOP cards will be returned upon completion or if requested.

             If you must come to the medication line, you are expected to be there at the designated
             times. Failure to pick-up prescribed medication may result in discontinuation of that
             medication and a request that you be evaluated at sick call will be initiated.

                                                                                                             in
      An inmate who is found (a) with more than one prescription container of a single medication
      their possession or (b) medications not   kept  in their original container   will have KOP  privileges
                                                                                                              in
      suspended. The chart within the medical system will identify the packet, how many pills are
      the pack, date, and the nurses' initials. To obtain a re-supply of    KOP   medication   , the inmate
                                                                                                              .
      must inform the nurse, at AM pill call by bringing the blister pack at least 4 days before completion
      The health services departmen t will then verify the prescription, and the re-supply will be
      issued with the exchange of the empty container.

     Over the Counter (OTC) Medicatio n
     Many over-the-c ounter medications (i.e. Tylenol, Advil, cough drops, cough medicine, Pepto
     Bismol, and Maalox) will be available for purchase from the commissary.
     If you need any of these medications, you can be seen at sick call. Health services personnel
     staff may refuse to provide an OTC for clinical reasons which will be explained to you. If you
     dispute this, you may request to discuss it with a provider.

     Pain Medication s (Narcotic, PRN)
                                                                                                      .
     1. The inmates will be fully dressed with shoes and will have their I.D. card in their possession
     2. The inmates will be released to the pill call window when called.
     3. A visual search of mouth and hands will be conducted after you have swallowed the
     medicine.
     4. Upon instruction from the officer you will return to your housing unit.
     5. The exact times may vary slightly. It is the inmate's responsibility to be alert for
     instruction s from the housing unit officer concerning the "pill call" line.
     6. If you miss your scheduled pill call time due to a court appearance or other staff mandated
      reasons, have staff notify medical upon your return to the facility. However, inmates may not
     substitute one scheduled pill call time for another.

     TTCC wants to assure a safe and humane environme nt for all inmates. TTCC has a ZERO
     tolerance for sexual assault and abuse.

     There are many ways for inmates to protect themselves from getting into a situation that will
     make them susceptible to rape: REMEMBER: Accept No Favors. Never gamble, and Never
     accept loans. If a sexua l assau lt occurs immed iately report it to the unit officer. counselor,
     other staff member or dial phone number 91 from the inmate phone located in the housing
     unit, and a medica l and psychologica l assessment with appropria te reforrals will be made.

     Respect yourself, Report the rape, and Reclaim your power.

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